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  Transcript of James Dondero
                              Date: May 10, 2021
Case: UBS Securities LLC, et al. -v- Highland Capital Management, L.P.




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                                                                                                                                                     Transcript of James Dondero                                       1 (1 to 4)

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                                                                                                                                                     Conducted on May 10, 2021
                                                                                                                                                             1                                                                      3
                                                                                        1           IN THE UNITED STATES BANKRUPTCY COURT                         1              A P P E A R A N C E S
                                                                                        2            FOR THE NORTHERN DISTRICT OF TEXAS                           2
                                                                                        3                      DALLAS DIVISION                                    3    ON BEHALF OF PLAINTIFFS:
                                                                                             ---------------------------------X
                                                                                        4    In re                             : Chapter 11                       4         ANDREW CLUBOK, ESQUIRE
                                                                                        5    HIGHLAND CAPITAL MANAGEMENT, L.P., Case No:                          5         SARAH TOMKOWIAK, ESQUIRE
                                                                                        6                           Debtor         : 19-34054-SGJ11               6         KATHRYN GEORGE, ESQUIRE
                                                                                        7    ---------------------------------:                                   7         LATHAM & WATKINS LLP
                                                                                        8    UBS SECURITIES LLC and UBS AG         : Adversary No.                8         555 Eleventh Street, NW
                                                                                        9    LONDON BRANCH,                        : 21-03020-sgi                 9         Suite 1000
                                                                                        10                          Plaintiffs,    :                              10        Washington, District of Columbia 20004
                                                                                        11          vs.                            :                              11        (202) 637-2200
                                                                                        12   HIGHLAND CAPITAL MANAGEMENT, L.P.:                                   12
                                                                                        13                          Defendant.     :                              13
                                                                                        14   ---------------------------------X                                   14   ON BEHALF OF DEFENDANT-HIGHLAND CAPITAL MGMT.
                                                                                        15                                                                        15        ROBERT FEINSTEIN, ESQUIRE
                                                                                        16                  DEPOSITION OF JAMES DONDERO                           16        JOHN MORRIS, ESQUIRE
                                                                                        17          APPEARING REMOTELY FROM DALLAS, TEXAS                         17        GREGORY DEMO, ESQUIRE
                                                                                        18                     MONDAY, MAY 10, 2021                               18        JEFFREY POMERANTZ, ESQUIRE
                                                                                        19                        11:00 A.M. EST                                  19        PACHULSKI STANG ZIEHL & JONES
                                                                                        20                                                                        20        780 Third Avenue
                                                                                        21                                                                        21        34th Floor
                                                                                        22   Job No.: 371141                                                      22        New York, New York 10017
                                                                                        23   Pages 1 - 267                                                        23        (212)561-7700
                                                                                        24   Reported by: Adrienne Mignano, RPR                                   24
                                                                                        25   Appearing remotely                                                   25



                                                                                                                                                             2                                                                      4
                                                                                        1                 Deposition of JAMES DONDERO, held via Zoom              1             APPEARANCES (Continued)
                                                                                        2    videoconferencing, pursuant to Notice, before Adrienne               2
                                                                                        3    M. Mignano, a Registered Professional Reporter and a                 3
                                                                                        4    Notary Public in and for the State of New York.                      4    ON BEHALF OF WITNESS
                                                                                        5                                                                         5         CLAY TAYLOR, ESQUIRE
                                                                                        6                                                                         6         BONDS ELLIS EPPICH SCHAFER JONES, LLP
                                                                                        7                                                                         7         420 Throckmorton Street
                                                                                        8                                                                         8         Suite 1000
                                                                                        9                                                                         9         Fort Worth, Texas 76102
                                                                                        10                                                                        10        (817)405-6900
                                                                                        11                                                                        11
                                                                                        12                                                                        12
                                                                                        13                                                                        13   ALSO PRESENT:
                                                                                        14                                                                        14   Drew Halton - Videographer
                                                                                        15                                                                        15   Jordan Collins - Remote Technician
                                                                                        16                                                                        16   Joshua Tubbs - Remote Technician
                                                                                        17                                                                        17
                                                                                        18                                                                        18
                                                                                        19                                                                        19
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                                                                                                                                                     Conducted on May 10, 2021
                                                                                                                                                             5                                                            7
                                                                                        1                         C O N T E N T S                                 1 The videographer today is Drew Halton,
                                                                                        2                                                                         2 representing Planet Depos. All participants are
                                                                                        3    EXAMINATION OF JAMES DONDERO                       PAGE              3 attending remotely.
                                                                                        4    By Mr. Clubok                                       8                          Would counsel please voice identify
                                                                                                                                                                  4
                                                                                        5
                                                                                                                                                                  5 themselves and state whom they represent.
                                                                                        6
                                                                                                                                                                  6         MR. CLUBOK: On behalf of UBS, it is
                                                                                        7                         E X H I B I T S
                                                                                                                                                                  7 Andrew Clubok, Sarah Tomkowiak and Kathryn George,
                                                                                        8      (Confidential- Not Attached to the Transcript)
                                                                                                                                                                  8 all from Latham & Watkins LLP.
                                                                                        9    DEPOSITION EXHIBIT                         PAGE
                                                                                                                                                                  9         MR. FEINSTEIN: On behalf of the
                                                                                        10   Exhibit 23      Subpoena                           63
                                                                                        11   Exhibit 24      E-mail dated May 6, 2021           66
                                                                                                                                                                  10 defendant, Highland Capital Management, I'm Robert
                                                                                        12   Exhibit 25      Revised unaudited financial       127
                                                                                                                                                                  11 Feinstein from Pachulski, Stang, Ziehl & Jones.
                                                                                        13                   statements
                                                                                                                                                                  12 With me are my colleagues, Jeffrey Pomerantz, John
                                                                                        14   Exhibit 26      One-page Document identifying     163
                                                                                                                                                                  13 Morris and Gregory Demo.
                                                                                        15                   entities connected to Sentinel                       14        MR. TAYLOR: Clay Taylor on behalf of
                                                                                        16   Exhibit 27      E-mail chain                      172                15 Jim Dondero, appearing pursuant to a subpoena
                                                                                        17   Exhibit 28      E-mail                            184                16 issued to a third-party.
                                                                                        18   Exhibit 29      Document Bates stamped            204                17        Just for purposes of a clean record, I
                                                                                        19                   HCMUBS005324                                         18 believe the case number that was identified was
                                                                                        20   Exhibit 30      Document Bates numbered 5322      211                19 the main bankruptcy case number rather than the
                                                                                        21   Exhibit 31      Letter from McKool Smith dated    231                20 adversary number, and that probably needs to be
                                                                                        22                   October 19, 2018                                     21 corrected.
                                                                                        23                                                                        22        THE VIDEOGRAPHER: Sir, if you have
                                                                                        24                                                                        23 that available, would you mind reading that into
                                                                                        25                                                                        24 the record now?
                                                                                                                                                                  25        MR. TAYLOR: Certainly.
                                                                                                                                                             6                                                            8
                                                                                        1          REMOTE TECH: Thank you to everyone for                         1         THE VIDEOGRAPHER: Thank you.
                                                                                        2 attending this proceeding remotely, which we                            2         MR. TAYLOR: One second, please. Just
                                                                                        3 anticipate will run smoothly. Please remember to                        3 pulling it up.
                                                                                        4 speak slowly and do your best not to talk over one                      4         MR. CLUBOK: I believe it is Number
                                                                                        5 another.                                                                5 21-03020-SGJ.
                                                                                        6          Please be aware we are recording this                          6         MR. TAYLOR: Thank you, Andy.
                                                                                        7 proceeding for backup purposes. Any                                     7         THE VIDEOGRAPHER: The court reporter
                                                                                        8 off-the-record discussions should be had away from                      8 today is Adrienne Mignano, representing Planet
                                                                                        9 the computer. Please remember to mute your mic                          9 Depos.
                                                                                        10 for those conversations.                                               10        Would the reporter please swear in the
                                                                                        11         Please have your video enabled to help                         11 witness.
                                                                                        12 the  reporter identify who is speaking. If you are                     12 Whereupon,
                                                                                        13 unable to connect with video and are connecting                        13             JAMES DONDERO,
                                                                                        14 via phone, please identify yourself each time                          14 being first duly sworn or affirmed to testify to
                                                                                        15 before speaking.                                                       15 the truth, the whole truth, and nothing but the
                                                                                        16         I apologize in advance for any                                 16 truth, was examined and testified as follows:
                                                                                        17 technical-related interruptions. Thank you.                            17     EXAMINATION BY COUNSEL FOR THE PLAINTIFF
                                                                                        18         THE VIDEOGRAPHER: Here begins Tape                             18 BY MR. CLUBOK:
                                                                                        19 Number 1 in the videotaped deposition of James                         19     Q Good morning, Mr. Dondero.
                                                                                        20 Dondero in the matter of UBS Securities LLC, et                        20     A Good morning.
                                                                                        21 al. versus Highland Capital Management LP in the                       21     Q Mr. Dondero, you have been deposed
                                                                                        22 U.S. Bankruptcy Court, Northern District of Texas,                     22 before, correct?
                                                                                        23 Dallas Division; Case Number 19-34054-SGJ11.                           23     A Yes.
                                                                                        24         Today's date is May 10th, 2021. The                            24     Q Many times, right?
                                                                                        25 time on the video monitor is 11:05 a.m. Eastern.                       25     A Yes.
                                                                                                                                                   PLANET DEPOS
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                                                                                                                                                  9                                                              11
                                                                                        1      Q And you understand that in a deposition               1      A Yes.
                                                                                        2  we  have  to be careful not to talk over each other,        2      Q Any reason why you can't give fully
                                                                                        3 right?                                                       3 truthful, accurate answers to questions today?
                                                                                        4      A Yes.                                                  4      A No.
                                                                                        5      Q If either of us -- if I find either of                5      Q Okay. Mr. Dondero, you used to be
                                                                                        6 us doing that, like if I start talking before                6 effectively in charge of Highland Capital
                                                                                        7 you're done answering or if you start answering              7 Management until the bankruptcy, correct?
                                                                                        8 before I'm done talking, I may try to stop and               8      A Yes.
                                                                                        9 reset so the court reporter can get a clean                  9      Q And you were also in charge of other
                                                                                        10 record. Do you understand that?                             10 entities besides Highland Capital Management,
                                                                                        11     A Okay.                                                 11 correct?
                                                                                        12     Q And so to that end, if you'd pause for                12     A Yes.
                                                                                        13 just a second when you think I'm done to make sure          13         MR. CLUBOK: Is that noise coming from
                                                                                        14 I'm done, and I'll try to do the same for you,              14 somewhere?      I don't know if you're hearing that.
                                                                                        15 that will help us make sure we don't talk over              15         MR. TAYLOR: Yes, there is an emergency
                                                                                        16 each other as much as possible, okay?                       16 alert that is being issued for this area for a
                                                                                        17     A Yes.                                                  17 severe thunderstorm, and that was what was -- what
                                                                                        18     Q And you know that if you say "uh-huh"                 18 you heard in the background. So to the extent we
                                                                                        19 or "uh-uh" and shake your head or something like            19 have a tornado come through, we'll have to shut it
                                                                                        20 that, that may not be clear on the record, and so           20 down.
                                                                                        21 instead of doing that, you'll try to answer with            21         MR. CLUBOK: I think we had a tornado
                                                                                        22 like "yes" or "no" as opposed to head signals or            22 come through one deposition before that I was
                                                                                        23 "uh-huhs"; is that okay?                                    23 involved with Mr. Dondero, at least one of them, I
                                                                                        24     A Yes.                                                  24 seem to recall. But --
                                                                                        25     Q And if I catch you doing it, I'll just                25         THE WITNESS: It will be a sign from
                                                                                                                                                  10                                                             12
                                                                                        1 say, is that a yes? I'm not trying to be rude. I             1 God that you should stop.
                                                                                        2 just want to make sure you're clear if you're                2         MR. CLUBOK: Yeah, well, we'll take it
                                                                                        3 saying "uh-huh" or "uh-uh" or something. If it is            3 as a sign from the National Weather Service, too,
                                                                                        4 actually a "no," just tell me, no, that meant that           4 that we should stop.
                                                                                        5 was a no. But I may follow up with you if I catch            5         So let us know, Clay, if you do get any
                                                                                        6 you giving a nonverbal answer, okay?                         6  kind of notice like that that says you need to
                                                                                        7      A Yes.                                                  7 take some kind of action.
                                                                                        8      Q And you understand you're under oath                  8      Q By the way, Mr. Dondero, do you have
                                                                                        9 and you have to tell the truth as completely and             9 anything at all in front of you as you're sitting
                                                                                        10 accurately as possible?                                     10 there today?
                                                                                        11     A Yes.                                                  11     A Just the laptop.
                                                                                        12     Q And you understand if I ask you a                     12     Q Just the laptop with the video. Is
                                                                                        13 question that is capable of being answered with a           13 there anything on the laptop other than the Zoom
                                                                                        14 simple yes or no, you will do that, correct?                14 screen for this deposition?
                                                                                        15     A Yes.                                                  15     A Nope.
                                                                                        16     Q And by the way, if I happen to ask --                 16     Q Okay. And you understand you're not
                                                                                        17 sometimes I find -- I have seen in these                    17 allowed to refer to anything -- notes or anything,
                                                                                        18 transcripts where I may ask a double negative. If           18 assistance in answering questions, without letting
                                                                                        19 I said, for example, it's not raining outside, and          19 us know that you're doing that, correct?
                                                                                        20 you are like, no, that could be confusing. And if           20     A Yes.
                                                                                        21 I catch us doing that, if I see us doing that, I            21     Q Okay. Thank you.
                                                                                        22 might follow up and say, it is true that it is not          22        So, sir, one of the other entities that
                                                                                        23 raining outside, right? I'm just doing that,                23 you -- that you're in control of is an entity
                                                                                        24 again, to make sure the record is clear as opposed          24 Called Sentinel Insurance, correct?
                                                                                        25 to unclear. Is that okay with you?                          25        MR. TAYLOR: Objection. Form.
                                                                                                                                        PLANET DEPOS
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                                                                                        1      A I wouldn't use the word "control."                 1     Q Was it more than $1 million?
                                                                                        2      Q Okay. And I think I said the wrong                 2     A Probably, but I don't --
                                                                                        3 name. I think it is technically called Sentinel           3     Q Was it more than $10 million?
                                                                                        4 Reinsurance. Is that the name of the entity?              4     A I don't know.
                                                                                        5      A I don't know the official name. It's               5     Q Was it more than $100 million?
                                                                                        6 Sentinel something.                                       6         MR. TAYLOR: Andy, I'm going to ask
                                                                                        7      Q Okay. And what does Sentinel                       7 that you move on. It's been asked and answered
                                                                                        8  Reinsurance   do?                                        8 four times now.
                                                                                        9      A It's an offshore Cayman-based                      9     A I really don't know, Andy.
                                                                                        10 reinsurance company.                                     10    Q Was it more than $1 billion?
                                                                                        11     Q What does that mean?                               11    A It was less than $1 billion, I'm sure,
                                                                                        12     A As far as I understand, it does some               12 but I don't know how much it was.
                                                                                        13 insurance, it does some reinsurance and it -- I          13    Q Okay. Was it less than $500 million?
                                                                                        14 believe it is conforming and it is in compliance         14        MR. TAYLOR: Objection.
                                                                                        15 with regulations regarding qualification as a            15    A Yes.
                                                                                        16 Cayman reinsurer and it invests its capital and          16    Q Okay. Was it less than $100 million?
                                                                                        17 its premiums.                                            17    A I don't know.
                                                                                        18     Q You own part of Sentinel Reinsurance,              18    Q Okay. Was it less than $250 million?
                                                                                        19 correct?                                                 19        MR. TAYLOR: Objection.
                                                                                        20     A I believe I'm a beneficial holder of a             20    A   Was it less than -- yes.
                                                                                        21 majority of it.                                          21    Q Okay. Was it less than 200 million?
                                                                                        22     Q Okay. You're the beneficial holder of              22    A Yes.
                                                                                        23 the majority of Sentinel Reinsurance, correct?           23    Q Was it less than 150 million?
                                                                                        24     A Yes.                                               24    A Yes.
                                                                                        25     Q And you have been since its founding,              25    Q Okay. Was it less than 125 million?
                                                                                                                                               14                                                           16
                                                                                        1 correct?                                                  1      A Yes.
                                                                                        2      A I believe so.                                      2      Q Was it more than 50 million?
                                                                                        3      Q And, in fact, you are the beneficial               3      A I don't know.
                                                                                        4 holder of approximately 70 percent of the economic        4      Q Was it more than 1 million?
                                                                                        5 interest in Sentinel Reinsurance, correct?                5      A I don't know, Andy.
                                                                                        6      A I believe that's approximately correct.            6      Q Okay. So fair to say -- I thought you
                                                                                        7      Q And the other beneficial holder of                 7 said it was probably more than a million, you
                                                                                        8 Sentinel Reinsurance is Scott Ellington, right?           8 thought.
                                                                                        9      A I believe so.                                      9         MR. TAYLOR: Objection. Asked and
                                                                                        10     Q And you and Scott Ellington are the                10 answered.
                                                                                        11 only two beneficial holders of the economic              11     A Yes.
                                                                                        12 interest in Sentinel Reinsurance, correct?               12     Q Okay. So is there -- so do you have
                                                                                        13     A I -- I don't know. I believe so, but I             13 any ability to narrow the amount of capital you
                                                                                        14 don't know.                                              14 invested in Sentinel Reinsurance in a range that
                                                                                        15     Q And that's been the case since the                 15 is smaller than from 1 to $125 million?
                                                                                        16 founding of Sentinel Reinsurance, to the best of         16     A From 1 to 100 would be the range. And
                                                                                        17 your knowledge, correct?                                 17 I don't have a basis for knowing more specifically
                                                                                        18     A To the best of my knowledge.                       18 than that.
                                                                                        19     Q Did you invest any money in Sentinel               19     Q And you have no idea within that range
                                                                                        20 Reinsurance, invest any capital?                         20 whether it was closer to 1 million or closer to
                                                                                        21     A I believe so.                                      21 100. It's just somewhere in that range and you
                                                                                        22     Q Roughly how much?                                  22 have no further information. Is that your
                                                                                        23     A I don't know.                                      23 testimony?
                                                                                        24     Q Roughly.                                           24     A Yes.
                                                                                        25     A I don't know. I don't remember.                    25     Q When did you put the capital into
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                                                                                                                                                17                                                           19
                                                                                        1 Sentinel Reinsurance?                                      1      A I don't know what the address is here.
                                                                                        2      A I don't know. A half of a dozen years               2          THE WITNESS: Do you know what the
                                                                                        3 ago, I guess. I don't know.                                3 address is here?
                                                                                        4      Q Just at its founding?                               4          Hold on one second. We'll get it for
                                                                                        5      A No. I think there's been other                      5 you.
                                                                                        6 contributions along the way also.                          6          MR. TAYLOR: Well, just for purposes of
                                                                                        7      Q Do you have records of how much you've              7 a clean record, I'm showing Mr. Dondero something
                                                                                        8  invested into Sentinel Reinsurance?                       8 off of my calendar where I have the address
                                                                                        9      A No, I do not.                                       9 written down so that he can refer to it, and it's
                                                                                        10     Q You have no tax records, no records                 10 just a calendar appointment from my phone.
                                                                                        11 with your investment, there is no record at all in        11     A It's 2515 McKinney Avenue.
                                                                                        12 your control that would tell you how much you             12     Q And do you have a permanent office in
                                                                                        13 invested in Sentinel Reinsurance in a closer              13 that location?
                                                                                        14 approximation than 1 to $100 million?                     14     A Yes.
                                                                                        15     A I don't know. All I know is if I was a              15     Q What other entities work in the same
                                                                                        16 tax reporter or if it was offshore income, or if          16 location that are in any way connected to you?
                                                                                        17 it was -- if it was -- however it was supposed to         17     A NexBank, NextPoint and -- I don't know
                                                                                        18 be properly accounted for, I'm confident that it          18 how we're doing the shared services with
                                                                                        19 was. There was no attempt to not comply with              19 SkyBridge. I don't know if SkyBridge is
                                                                                        20 whatever regulation or taxing was relevant.               20 associated with me. So I -- but they're in the
                                                                                        21     Q Okay. But do you keep records of your               21 offices here, too, at the moment. We're getting
                                                                                        22 investments somewhere?                                    22 office space -- we were expecting to stay at
                                                                                        23     A I do not.                                           23 Highland so it's been a bunch -- it's been a -- we
                                                                                        24     Q Does anyone keep records of your                    24 located over here -- relocated over here quickly,
                                                                                        25 investments on your benefit --                            25 but ultimately we'll spread out from here at some
                                                                                                                                                18                                                           20
                                                                                        1         MR. CLUBOK: Strike that.                           1 point.
                                                                                        2      Q Does anyone on your behalf keep records             2      Q And you said -- you named a woman who
                                                                                        3 of your investments, to your knowledge, like an            3 had your personal balance sheets, Melissa -- and
                                                                                        4 accountant, a tax preparer, a lawyer, a financial          4 could you spell her last name.
                                                                                        5 advisor, anyone like that?                                 5      A S-H-R-O-T-H.
                                                                                        6      A The tax department handles all my taxes             6      Q Does she work there in the building
                                                                                        7 domestically, internationally and all the relevant         7 that you're in right now?
                                                                                        8 compliance. My personal balance sheets or assets           8      A Yes.
                                                                                        9 handled by Melissa Schroth in my office.                   9      Q And did she previously work for
                                                                                        10     Q Okay. You said the tax department                   10 Highland Capital Management?
                                                                                        11 handles all your taxes domestically,                      11     A Yes.
                                                                                        12 internationally and all the relevant compliance.          12     Q Does Scott Ellington work there?
                                                                                        13 The tax department of what entity?                        13     A I haven't seen him, but I believe so.
                                                                                        14     A They were formerly of Highland. Now                 14     Q When was the last time you spoke with
                                                                                        15 they're of -- one of the entities over here. I            15 Scott Ellington?
                                                                                        16 don't know if it's NextPoint or SkyBridge or              16     A Last year.
                                                                                        17 whatever.                                                 17     Q Does Isaac Leventon work there with you
                                                                                        18     Q When you say "here," where are you                  18 in that office?
                                                                                        19 physically today?                                         19     A I believe so, but I haven't seen or
                                                                                        20     A In the bank next to the -- in the                   20 talked with him either.
                                                                                        21 NexBank office space across the street from the           21     Q When was the last time you spoke with
                                                                                        22 old Highland offices.                                     22 Isaac Leventon?
                                                                                        23     Q Do you have an office there?                        23     A Last year.
                                                                                        24     A Yes.                                                24     Q You mean 2020?
                                                                                        25     Q What is your business address?                      25     A Yes.
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                                                                                        1      Q Have you in any way communicated                    1 SkyBridge and NexBank and NextPoint.
                                                                                        2  directly or indirectly with Scott Ellington about         2      Q Have you spoken with Katie Irving at
                                                                                        3 anything in 2021?                                          3 all in 2021?
                                                                                        4         MR. FEINSTEIN: Can I just interject                4      A I have not. I believe she is on
                                                                                        5 here for one second, please? This is Rob                   5 maternity leave, still.
                                                                                        6 Feinstein.                                                 6      Q Have you -- when you spoke with
                                                                                        7         So I did want to put a comment on the              7 Mr. Sevilla, did you talk in any way about
                                                                                        8  record  regarding Highland Capital Management's           8 Sentinel Reinsurance?
                                                                                        9 attorney-client privilege as it pertains to this           9      A No.
                                                                                        10 deposition. So I want to be very clear that we            10     Q When was the last time you spoke to
                                                                                        11 are not waiving the privilege in regard to                11 anybody about Sentinel Reinsurance other than your
                                                                                        12 anything with one exception, and that is the              12 lawyers?
                                                                                        13 matters and transactions that are discussed in the        13     A I haven't. I know -- I haven't and I
                                                                                        14 Highland Capital Management motion for approval of        14 have  purposely not tried to refamiliarize myself
                                                                                        15 UBS settlement, and I think, in particular,               15 with anything there.
                                                                                        16 paragraphs 5 to 11, which set forth the facts and         16     Q When was the last time you were
                                                                                        17 circumstances regarding the Sentinel Reinsurance          17 familiar with anything --
                                                                                        18 insurance policy and related transactions, and as         18        MR. CLUBOK: Strike that.
                                                                                        19 to those matters, we are not asserting the                19     Q When was the last time you spoke with
                                                                                        20 privilege.                                                20 anybody about Sentinel Reinsurance prior to 2021?
                                                                                        21 BY MR. CLUBOK:                                            21        MR. TAYLOR: Objection. Form.
                                                                                        22     Q Have you in any way communicated                    22     Q Okay. Let me just ask, other than your
                                                                                        23 directly or indirectly with Scott Ellington about         23 lawyers, who was the last person you spoke to
                                                                                        24 anything in 2021?                                         24 about Sentinel Reinsurance on any matter?
                                                                                        25     A No.                                                 25     A I can't remember specifically. It
                                                                                                                                                22                                                           24
                                                                                        1      Q Have you communicated directly or                   1 would have been -- it would have been Scott
                                                                                        2 indirectly with Isaac Leventon about anything in           2 Ellington. And I -- it would have been sometime
                                                                                        3 2021?                                                      3 last year. And it really would have been in the
                                                                                        4      A No.                                                 4 context of we were trying to get a Cayman bank
                                                                                        5      Q Have you communicated with J.P. Sevilla             5 going, and there was going to be -- there was
                                                                                        6  in 2021 about anything?                                   6 going to be some involvement, I think, from
                                                                                        7      A Yes. J.P Sevilla is actively engaged                7 Sentinel and Matt, but we didn't get the bank off
                                                                                        8 in a lot of Highland- and NextPoint-related                8 the ground last year.
                                                                                        9 activities. Or not Highland, I'm sorry. A lot of           9     Q Is this post bankruptcy?
                                                                                        10 NextPoint-related activities and SkyBridge-related        10    A I don't know. It was either post
                                                                                        11 activities.                                               11 bankruptcy or shortly before.
                                                                                        12     Q Does Mr. Sevilla have an office in the              12    Q Did you ever speak with Jim Seery about
                                                                                        13 same building you're in now?                              13 Sentinel Reinsurance?
                                                                                        14     A Yes. Not in the same floor, but in the              14    A No, I did not.
                                                                                        15 same building.                                            15    Q Did you ever speak with John Dubel
                                                                                        16     Q And when was the last time you spoke                16 about Sentinel Reinsurance?
                                                                                        17 with Mr. Sevilla?                                         17    A No, I did not.
                                                                                        18     A Last week.                                          18    Q Did you ever speak with Judge Nelms
                                                                                        19     Q How about Matt DiOrio? Do you speak                 19 about Sentinel Reinsurance?
                                                                                        20 with him at all?                                          20    A No, I did not.
                                                                                        21     A Infrequently. I think I have spoken to              21    Q Did you tell any of the lawyers at the
                                                                                        22 him once this year.                                       22 Pachulski law firm anything about Sentinel
                                                                                        23     Q When was that?                                      23 Reinsurance?
                                                                                        24     A When we first moved here early March to             24    A No, I did not.
                                                                                        25 set up the shared services agreement between              25    Q Have you ever told anyone at UBS
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                                                                                                                                  Transcript of James Dondero                                  7 (25 to 28)

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                                                                                                                                                25                                                           27
                                                                                        1 anything about Sentinel Reinsurance?                       1     A No. I don't think I ever have.
                                                                                        2      A I do not think so.                                  2     Q How did you know what was in their
                                                                                        3      Q You have spoken with Isaac Leventon                 3 portfolio?
                                                                                        4 about Sentinel Reinsurance in the past, correct?           4     A Ellington would tell me when they had
                                                                                        5      A No, I do not believe I have. I                      5 cash available. It was really when they had cash
                                                                                        6 don't -- I didn't think Isaac was materially               6 available to spend he would be looking for
                                                                                        7 involved with Sentinel before.                             7 suggestions.
                                                                                        8      Q You have spoken to J.P. Sevilla about               8     Q And other than Ellington coming to you
                                                                                        9 Sentinel Reinsurance, right?                               9 for suggestions about how to spend cash that
                                                                                        10     A No. I -- sentinel Reinsurance is not                10 Sentinel Reinsurance had available, you can't
                                                                                        11 something I was intimately involved with on an            11 recall any other specific business issue that
                                                                                        12 operating or day-to-day basis. Ellington is the           12 Scott Ellington ever came to you with -- about
                                                                                        13 only person I remember talking to Sentinel about,         13 with respect to Sentinel Reinsurance?
                                                                                        14 really, ever.                                             14    A Correct.
                                                                                        15     Q The only person you have ever spoken to             15    Q Did you know who were the insurers that
                                                                                        16 about Sentinel Reinsurance, as you can recall             16 Sentinel Reinsurance did business with?
                                                                                        17 sitting here today, other than your lawyers in            17    A No. I mean, I know generally they did
                                                                                        18 this matter, is Scott Ellington; is that correct?         18 some D&O insurance, I think they did some title
                                                                                        19     A Yes.                                                19 reinsurance, and they did some other policies.
                                                                                        20     Q Have you ever spoken with Matt DiOrio               20 But I don't know who specifically was on the other
                                                                                        21 about Sentinel Reinsurance?                               21 side of those policies.
                                                                                        22     A No, I have not.                                     22    Q Do you have any idea about anyone who
                                                                                        23     Q Have you ever spoken with any of the                23 was on the other side of any policy that's ever
                                                                                        24 directors of Sentinel Reinsurance?                        24 been issued by Sentinel Reinsurance?
                                                                                        25     A No, I have not.                                     25    A I have a -- I mean, I have an awareness
                                                                                                                                                26                                                           28
                                                                                        1      Q Have you ever made decisions on behalf              1 of the policy that we're talking about here today,
                                                                                        2 of Sentinel Reinsurance?                                   2 but it's really just a general awareness.
                                                                                        3      A I think from time to time I gave some               3       Q What is your general awareness about
                                                                                        4 investment advice, but that's -- that would be the         4 the policy that you're here to talk about today?
                                                                                        5 extent of it.                                              5       A That it's a -- my recollection is that
                                                                                        6      Q Did you ever make decisions on behalf               6  it's a $100 million, plus/minus, but I think it's
                                                                                        7 of Sentinel Reinsurance?                                   7 a $100 million face policy. And it was done half
                                                                                        8      A Not that I can recall other than, like              8 a dozen years ago, approximately.
                                                                                        9 I said, periodically giving investment advice.             9       Q Who is the insured?
                                                                                        10     Q But you -- when you say you gave                    10      A I don't know -- I don't know. I
                                                                                        11 investment advice, who did you give that advice           11 believe it was -- I don't know what part or which
                                                                                        12 to?                                                       12 entities, but I believe it was -- specifically,
                                                                                        13     A Ellington.                                          13 but HFP was a holding company structure with four
                                                                                        14     Q And that was just advice, it wasn't a               14 or five different subsidiaries. I believe it was
                                                                                        15 directive?                                                15 some part of that organization.
                                                                                        16     A Correct.                                            16      Q You believe that HFP was the insured
                                                                                        17     Q And other than -- and what was that                 17 under the policy that we're here to talk about
                                                                                        18 specific advice you gave, if you can recall?              18 today?
                                                                                        19     A I don't remember. Just that it was,                 19         MR. TAYLOR: Objection. Misstates
                                                                                        20 you know, periodically, infrequently, no more than        20 prior testimony.
                                                                                        21 once -- I would say once a year on average, just          21      A Like I said, I didn't try and refresh
                                                                                        22 advice if they had cash or were repositioning the         22 myself on this. I thought it was either a
                                                                                        23 portfolio.                                                23 subsidiary or holding company or part of or all
                                                                                        24     Q Did you receive any documents about the             24 of -- I don't know -- of that entity, as far as I
                                                                                        25 financial position of Sentinel Reinsurance?               25 know.
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                                                                                                                                   Transcript of James Dondero                                  8 (29 to 32)

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                                                                                                                                                29                                                        31
                                                                                        1      Q Do you know anything else about the                 1     Q Who paid for the policy?
                                                                                        2  insureds  under the policy other than that?               2     A I believe the beneficiary paid for the
                                                                                        3      A No, I do not.                                       3 policy.
                                                                                        4      Q Do you know what the point of the                   4     Q Which beneficiary?
                                                                                        5 policy is?                                                 5     A I don't know. I don't know, whichever
                                                                                        6          MR. TAYLOR: Objection. Vague.                     6 was the beneficiary of the policy I believe paid
                                                                                        7      Q Do you know what the policy is designed             7 for it.
                                                                                        8 to insure against?                                         8     Q And your testimony is that the
                                                                                        9      A I've never seen the policy. I don't                 9 beneficiary is some part of the HFP complex, as
                                                                                        10 know the specific payout triggers and -- no, I do         10 you call it?
                                                                                        11 not.                                                      11    A Yes.
                                                                                        12     Q You have no idea whatsoever, sitting                12    Q And did the -- okay. And did you have
                                                                                        13 here today, what this policy that we're here to           13 any --
                                                                                        14 talk about today was designed to insure against.          14        MR. CLUBOK: Strike that.
                                                                                        15 Is that your testimony?                                   15    Q When did you first hear about this
                                                                                        16     A That's correct. I have never seen it.               16 policy?
                                                                                        17 I don't know the specifics of it.                         17    A I mean, at or about when it was put
                                                                                        18     Q Do you generally know what the policy               18 together. I mean, you know -- yeah, at or about
                                                                                        19 that we're here to talk about today was designed          19 shortly before when it was put together.
                                                                                        20 to ensure against?                                        20    Q Well, was it -- so shortly before it
                                                                                        21     A Again, just really the most general                 21 was put together you were told about it?
                                                                                        22 sense. It was to provide, I believe, cash for             22    A Yes.
                                                                                        23 legal expenses and to defend against any claims, I        23    Q By whom?
                                                                                        24 believe, that -- whatever relevant entity was the         24    A I'm sorry, was there a question there?
                                                                                        25 beneficiary in the HFP complex, to provide them           25    Q I'm sorry, I said, "By whom?" You said
                                                                                                                                                30                                                        32
                                                                                        1 with legal fees and serv- -- cash for legal fees           1 shortly before the policy --
                                                                                        2 and services to defend itself or operate or -- I           2      A Scott Ellington crafted it, and then
                                                                                        3 believe that structure was winding down. And it            3 Sky -- Ellington handled getting it through
                                                                                        4 wasn't really operating as a structure. So I               4 compliance and the insurance company in the
                                                                                        5 think it was meant as a transition policy of some          5 Caymans.
                                                                                        6 sort, but that's all I know.                               6      Q Okay. So you first heard about this
                                                                                        7      Q Do you know -- so I had asked you if                7 policy from Scott Ellington, correct?
                                                                                        8 you generally knew what the policy that we're here         8      A Yes.
                                                                                        9 to talk about today was designed to insure                 9      Q And everything you ever learned about
                                                                                        10 against. You just gave your answer.                       10 the policy came from Scott Ellington; is that
                                                                                        11         Is that the entirety of what you know             11 correct?
                                                                                        12 about  what  the policy was designed to insure            12     A Yes.
                                                                                        13 against, as you sit here today?                           13     Q And you -- and Scott Ellington told you
                                                                                        14         MR. TAYLOR: Objection. Asked and                  14 that he had crafted the policy?
                                                                                        15 answered.                                                 15     A Again, there was a business purpose in
                                                                                        16     A I mean, yes. I wasn't directly                      16 terms of the entities winding down and ceasing to
                                                                                        17 involved with putting the policy together in terms        17 exist. I think they had been completely written
                                                                                        18 of its terms and specifics.                               18 off for tax purposes and the boards weren't in
                                                                                        19     Q So I'm going to ask you one more time               19 existence anymore, and there was no management in
                                                                                        20 very broadly. Is there anything else at all you           20 existence anymore and there was a business purpose
                                                                                        21 know about this policy that you haven't described?        21 to winding it down and crafting it as an insurance
                                                                                        22         MR. TAYLOR: Objection. Vague.                     22 policy.
                                                                                        23     A    I mean, you can ask me some other                23     Q My question was much simpler. My
                                                                                        24 specific questions, but I know very little, but           24 question was, is it true that Scott Ellington told
                                                                                        25 there may be something else I know.                       25 you that he had crafted the policy?
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                                                                                                                                   Transcript of James Dondero                                  9 (33 to 36)

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                                                                                         1      A Yes. I mean, whether it was him                    1 then any -- you know, similarly, any business
                                                                                         2  directly  or him working with reinsurance brokers        2 issues or legacy issues, whether it's around --
                                                                                         3 or him working with third parties, I don't know.          3 you know, UBS or Citibank or Barclays or any other
                                                                                         4 But he was the one that brought it to me or -- and        4 institutions that had conflict with HFP, you know,
                                                                                         5 proposed the policy.                                      5 there's, you know, a chance that that stuff could
                                                                                         6      Q And what did Scott tell you about why              6 be active again.
                                                                                         7 he was proposing the policy?                              7       Q At the time the insurance policy was
                                                                                         8        MR. TAYLOR: Objection. Form. Calls                 8  taken  out, you knew that HFP was in litigation
                                                                                         9 for hearsay.                                              9 with UBS, correct?
                                                                                         10     A I have answered this already, but,                 10      A I don't know if that's true. I don't
                                                                                         11 again, that there was a business purpose that I'd        11 know -- I don't remember. I don't remember -- I
                                                                                         12 said already in terms of it was an illiquid pool         12 don't remember if the UBS litigation was active or
                                                                                         13 of assets that was cash deficient, cash deprived         13 real when the policy was taken out. It could have
                                                                                         14 that needed on a longer term basis liquidity and         14 been -- it might have been -- the UBS litigation
                                                                                         15 an ability to fund legal fees and orchestrate            15 has been out there for a long time, but I don't
                                                                                         16 legal activities. Whether it was defensive or            16 know specifically.
                                                                                         17 offensive, I don't know. But it needed                   17      Q You know the policy was specifically --
                                                                                         18 functionality and it needed liquidity.                   18         MR. CLUBOK: Strike that.
                                                                                         19     Q Did Scott tell you any other purpose               19      Q You know that part of the reason for
                                                                                         20 for why he was proposing the policy other than           20 the policy was specifically to address the UBS
                                                                                         21 what you've just described?                              21 litigation; isn't that true?
                                                                                         22       MR. TAYLOR: Objection. Form.                       22      A I would rather stay with the testimony
                                                                                         23     A That's the purpose as I understood it              23 that I just gave. I understood it to be broadly
                                                                                         24 and remember it.                                         24 based to handle any residual activities on the
                                                                                         25     Q What do you mean by "orchestrate legal             25 litigation or regulatory or tax side.
                                                                                                                                                34                                                           36
                                                                                         1 activities"? What does that mean, as you used             1      Q Did you know at the time the policy was
                                                                                         2 that phrase?                                              2 taken out whether or not, in some part, it was
                                                                                         3      A Well, again, there was no staff and no             3 directed specifically to address the UBS
                                                                                         4 board left and no functioning apparatus at HFP.           4 litigation?
                                                                                         5 So it had no ability to operate or, you know,             5      A I don't know.
                                                                                         6 defend itself or coordinate legal activities or           6      Q You don't know if you knew or you
                                                                                         7 operating activities or if there was any residual         7 didn't know at the time?
                                                                                         8 tax issue or anything. So the policy, like I              8      A I don't know. I don't recall it
                                                                                         9 said, I believe remedied all that and provided            9 being -- I don't recall it being specifically to
                                                                                         10 transition going forward.                                10 UBS so I -- I don't recall that so I don't want to
                                                                                         11     Q Transition to what?                                11 say that.
                                                                                         12     A Transition to going out of business or             12     Q Was there ever any analysis done to
                                                                                         13 ceasing to exist yet handling any residual               13 indicate how the policy could fit into the
                                                                                         14 activities.                                              14 strategy for dealing with UBS in its litigation?
                                                                                         15     Q What were the residual activities of               15     A Not that I saw.
                                                                                         16 HFP at that point?                                       16     Q Did Mr. Ellington ever tell you in any
                                                                                         17     A Again, I understood them just broadly              17 words or substance how the policy could be used in
                                                                                         18 to be regulatory and legal and, you know, some           18 connection with dealing with the UBS litigation?
                                                                                         19 residual operating activities. You know, when --         19        MR. TAYLOR: Objection. Calls for
                                                                                         20 I mean, let's just take the tax thing, for               20 hearsay.
                                                                                         21 example. When you declare something ultimately           21     A Again, my general understanding was to
                                                                                         22 worthless and non-operating so that the investors        22 provide liquidity and capability to wind down
                                                                                         23 can take a write-off, the tax authorities can            23 legal issues that -- I believe, and the way it was
                                                                                         24 question that or challenge that or litigate that,        24 characterized in my memory is that none of the
                                                                                         25 and then you need to be able to defend it. And           25 legal issues were viewed as material. They were
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                                                                                         1 viewed as normal course resolutions of an entity           1 agreement? For instance, would he help you in
                                                                                         2 that was going out of business. So it wasn't --            2 your role as one of the advisors or for Sentinel
                                                                                         3 it wasn't in anticipation or because of one                3 Reinsurance and give those entities counsel also?
                                                                                         4 particular thing. It was to handle liquidity and           4         THE WITNESS: I mean, yeah. I mean,
                                                                                         5 functionality issues that the dead entity had.             5 besides working for various entities, he did give
                                                                                         6      Q That wasn't my question. My question                6 me legal advice often, too.
                                                                                         7 is, did Mr. Ellington ever tell you in words or            7         MR. TAYLOR: So, Andy, based upon that,
                                                                                         8 substance how the policy could be used                     8  we've  got to assert the privilege. I don't know
                                                                                         9 specifically in connection with dealing with the           9 exactly all of the roles Mr. Ellington may have
                                                                                         10 UBS litigation?                                           10 been filling, but if he was filling other types of
                                                                                         11        MR. TAYLOR: Same objection. Calls for              11 roles under a shared services agreement or other,
                                                                                         12 hearsay.                                                  12 that advice could have been to other clients, some
                                                                                         13     A The answer is no. Or no, not -- I                   13 of which are not Highland Capital entity ones, and
                                                                                         14 don't remember -- I have no recollection of it            14 he can't answer those questions.
                                                                                         15 being -- of him having any specific comments or           15        MR. CLUBOK: Okay. Hold on a second
                                                                                         16 thoughts regarding the handling of the UBS                16 here.
                                                                                         17 litigation via the policy.                                17     Q Mr. Dondero, did Mr. Ellington ever
                                                                                         18     Q Did Mr. Ellington, at or around the                 18 give legal advice to Sentinel Reinsurance, as far
                                                                                         19 time the policy was being taken out, talk to you          19 as you know?
                                                                                         20 about a strategy for settling the UBS litigation?         20     A I'm sure he did, actually. I mean, I
                                                                                         21        MR. TAYLOR: Hold on. Before you                    21 think that was part of his role and function in
                                                                                         22 answer that, is Mr. Ellington an attorney at all?         22 Sentinel.
                                                                                         23        THE WITNESS: He is.                                23     Q You think as part of his role and
                                                                                         24        MR. TAYLOR: So I'm going to have to                24 function in Sentinel, he was an attorney in
                                                                                         25 ask that he not disclose -- first of all, it calls        25 addition to a part owner, giving legal advice to
                                                                                                                                                 38                                                           40
                                                                                         1 for hearsay, and, second of all, it invades the            1 Sentinel Reinsurance, a Cayman-based company; is
                                                                                         2 attorney-client privilege and I'm instructing him          2 that correct?
                                                                                         3 not to answer.                                             3      A Yes.
                                                                                         4         MR. CLUBOK: Hold on a second. I                    4      Q And did you ever receive any legal
                                                                                         5 believe --                                                 5 advice from Scott Ellington that was specifically
                                                                                         6      Q Mr. Dondero, Mr. Ellington at the time              6 directed at Sentinel Reinsurance, as far as you
                                                                                         7 was the general counsel of Highland Capital                7 know?
                                                                                         8 Management, correct?                                       8      A I did not receive it, no. I mean,
                                                                                         9      A Yes.                                                9 yeah, no, I don't have specific awareness.
                                                                                         10        MR. CLUBOK: And the privilege, I                   10     Q Okay. So this particular
                                                                                         11 believe, belongs to Highland Capital Management,          11 conversation -- when Mr. Ellington came to you and
                                                                                         12 who is here being represented by Mr. Feinstein.           12 said, we're going to -- came to you to talk to you
                                                                                         13        Mr. Feinstein --                                   13 about the policy, he was not speaking to you as a
                                                                                         14        MR. FEINSTEIN: Right. And we are not               14 representative of Sentinel Reinsurance, correct?
                                                                                         15 asserting it as to conversations that in-house            15     A I don't know. I can't say because --
                                                                                         16 counsel had with anyone on this topic.                    16     Q Well, let me ask it slightly
                                                                                         17        MR. TAYLOR: And just so I'm clear, did             17 differently. When you considered -- you approved
                                                                                         18 Mr. Ellington have any other roles as counsel for         18 the policy, correct?
                                                                                         19 you in any other capacity in non-Highland Capital,        19     A Yeah, I approved of him moving forward
                                                                                         20 other than as a debtor? Did he advise you in any          20 with the policy, yes.
                                                                                         21 of your other roles for --                                21     Q And did you approve on behalf of
                                                                                         22        THE WITNESS: I mean, yeah, he has                  22 Sentinel Reinsurance with Mr. Ellington moving
                                                                                         23 helped  out on a lot of different things. Yes.            23 forward with the policy?
                                                                                         24        MR. TAYLOR: So the record is clear,                24     A No. He just -- he ran it by me as a
                                                                                         25 was Mr. Ellington under the shared services               25 solution and a business idea.
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                                                                                         1      Q Okay. And he ran that by you -- okay.               1 Mr. Ellington was acting on behalf of and that you
                                                                                         2         So as a solution as a business idea --             2 have the right to instruct Mr. Dondero not to
                                                                                         3 so as a solution as a business idea, did                   3 answer. That's what I want to get to. I'm
                                                                                         4 Mr. Ellington tell you in words or substance that          4 looking at this realtime. I don't see any
                                                                                         5 the policy would assist in a strategy for settling         5 specific entities mentioned. You are just saying
                                                                                         6 the UBS litigation?                                        6 you assume that or you generally think that may be
                                                                                         7         MR. TAYLOR: Objection. Calls for                   7 and et cetera.
                                                                                         8  hearsay.  And just because something is a business        8         MR. TAYLOR: It could be Sentinel
                                                                                         9 solution doesn't mean it doesn't have legal                9 Reinsurance, Andy.
                                                                                         10 aspects, Andy. So, again, we have the                     10        MR. CLUBOK: Sentinel Reinsurance -- he
                                                                                         11 attorney-client privilege.                                11 just said that he was not accepting -- he was not
                                                                                         12        MR. CLUBOK: And, specifically,                     12 acting on behalf of Sentinel Reinsurance when
                                                                                         13 Mr. Taylor, what's the attorney-client privilege          13 Mr. Ellington gave him this suggestion.
                                                                                         14 that you are claiming? In what capacity was               14        Do you represent Sentinel Reinsurance?
                                                                                         15 Mr. Ellington acting as an attorney and in what           15        MR. TAYLOR: I do not, but I can't let
                                                                                         16 capacity is Mr. Dondero receiving statements from         16 my client waive their privilege.
                                                                                         17 him that is causing you to assert the privilege on        17        MR. CLUBOK: Okay.
                                                                                         18 this particular line of questioning?                      18     Q Did you -- Mr. Dondero, did you -- by
                                                                                         19        MR. TAYLOR: So it's my understanding,              19 the way, Mr. Dondero, what are you looking at
                                                                                         20 and  Mr. Dondero can correct me if I'm wrong, that        20 right now?
                                                                                         21 Mr. Ellington under the shared services agreement         21     A My thumbnails.
                                                                                         22 not only provided legal services directly to              22     Q No, you weren't looking at your
                                                                                         23 Highland Capital Management but also to other             23 thumbnails. Is that it? You weren't --
                                                                                         24 subsidiaries that are not owned nor controlled by         24        MR. TAYLOR: Andy --
                                                                                         25 Highland Capital as we sit here today, and I am           25     A I was looking at my thumbnails.
                                                                                                                                                 42                                                          44
                                                                                         1 merely asking that Mr. Dondero carefully consider          1         MR. TAYLOR: -- I can represent to you
                                                                                         2 whether any of those services were legal services          2 he is not holding anything in his hands,
                                                                                         3 directed to non-Highland Capital Management                3 electronic, paper or otherwise.
                                                                                         4 entities. That is it.                                      4         MR. CLUBOK: Mr. Dondero -- Mr. Dondero
                                                                                         5         I don't know exactly what might or                 5 has already testified that he received no legal
                                                                                         6  might  not have been said. First of all, it calls         6 advice on behalf of Sentinel Reinsurance from
                                                                                         7 for hearsay, but, second of all, to the extent             7 Scott Ellington. So do you have any others that
                                                                                         8 that there was any legal advice rendered to any            8 you are claiming other than Sentinel Reinsurance
                                                                                         9 non-Highland Capital Management entity that is not         9 that Mr. Ellington supposedly gave advice on
                                                                                         10 controlled by Highland Capital today, I believe           10 behalf of in this conversation that I was asking
                                                                                         11 you have to assert the attorney-client privilege,         11 Mr. Dondero about, that you're instructing on
                                                                                         12 Andy.                                                     12 their behalf Mr. Dondero not to answer?
                                                                                         13        MR. CLUBOK: Okay. So two things.                   13        MR. TAYLOR: I'm just representing
                                                                                         14 First of all, just generally speaking, I'm going          14 Mr. Dondero individually. There could be other
                                                                                         15 to ask you to stop making hearsay objections. You         15 entities. I believe there's three different
                                                                                         16 know those are preserved. You don't have to make          16 entities to whom you directed litigation hold
                                                                                         17 them at a deposition. In fact, you're not allowed         17 letters. I'm not representing those, but to the
                                                                                         18 to under the federal rules. So I'm just going to          18 extent any of those other two -- one of them had
                                                                                         19 ask you to stop continually making hearsay                19 the name Sentinel in them and one did not.
                                                                                         20 objections, please. Those objections, as you know         20        To the extent that any of those
                                                                                         21 well, are preserved. You make form and foundation         21 entities received legal advice from Mr. Ellington
                                                                                         22 objections, other than privilege.                         22 and that was legal advice, he can't answer to
                                                                                         23        Second of all, with respect to the                 23 those entities either. He can't waive their
                                                                                         24 privilege, I am asking you for -- you cannot name         24 privilege.
                                                                                         25 a specific entity that you are asserting that             25        MR. CLUBOK: Okay. What entity -- name
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                                                                                                                                       Transcript of James Dondero                                 12 (45 to 48)

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                                                                                         1 an entity other than -- are you asserting a                1 services agreement with Sentinel Reinsurance and
                                                                                         2 privilege on behalf of Sentinel Reinsurance even           2 any other Highland entity?
                                                                                         3 in light of what Mr. Dondero has testified under           3      A I don't know. I don't know if there
                                                                                         4 oath? Yes or no?                                           4 was a formal one there. There were formal shared
                                                                                         5         MR. TAYLOR: I'm asking him to consider             5 services agreements and then there were informal
                                                                                         6 that he cannot waive those privileges on behalf of         6 shared services agreements.
                                                                                         7 those entities.                                            7      Q Are you aware, sitting here today, of
                                                                                         8         MR. CLUBOK: Okay. You're asking him                8  any  formal shared services agreements with
                                                                                         9 to consider. You're not -- are you instructing             9 Sentinel Reinsurance and any other Highland
                                                                                         10 him not to answer on behalf of Sentinel                   10 entity?
                                                                                         11 Reinsurance? I just -- you did before.                    11     A I don't know.
                                                                                         12        MR. TAYLOR: It's impossible to answer,             12     Q You don't know if you are aware or, as
                                                                                         13 Andy, because I don't know exactly what was told          13 you sit here today, it's true that you're not
                                                                                         14 to him. I don't know --                                   14 aware of any such shared services agreement
                                                                                         15        MR. CLUBOK: Are you instructing him                15 between Sentinel Reinsurance and Highland; isn't
                                                                                         16 not to answer, Clay?                                      16 that true?
                                                                                         17        MR. TAYLOR: I'm instructing him not to             17     A I -- I don't know, meaning I don't have
                                                                                         18 answer if he got any legal advice on behalf of any        18 awareness, but I'm -- and I don't want that to
                                                                                         19 of those entities.                                        19 imply that there is or isn't one. I don't know.
                                                                                         20        MR. CLUBOK: Okay. All right.                       20     Q So getting back to Mr. Ellington, when
                                                                                         21     Q So I'm going to go back to my question              21 he first broached you -- so I want to understand
                                                                                         22 then, Mr. Dondero.                                        22 this. He broached you. At that time you were the
                                                                                         23        Well, first of all, you didn't get                 23 president of Highland Capital Management, correct?
                                                                                         24 legal advice on behalf of Sentinel Reinsurance in         24     A Yes.
                                                                                         25 this conversation with Scott Ellington about              25     Q And you were the sole director of --
                                                                                                                                                 46                                                           48
                                                                                         1 establishing the policy, correct?                          1         MR. CLUBOK: Strike that.
                                                                                         2      A Did I get -- I'm sorry, did I get legal             2      Q You were in control of what was left of
                                                                                         3 advice from Scott Ellington regarding --                   3 Highland Financial Partners and its subsidiaries,
                                                                                         4      Q Was he acting as your lawyer with                   4 correct?
                                                                                         5 respect to Sentinel Reinsurance or was he acting           5      A I don't know if it was me or Highland,
                                                                                         6 as your lawyer with respect to Highland Capital            6  but we were trying to take a leadership role in
                                                                                         7 and the other funds?                                       7 winding that entity down.
                                                                                         8      A I mean, I think he's always wearing                 8      Q You, Jim Dondero, were the decision
                                                                                         9 multiple legal hats.                                       9 maker for what was left of Highland Financial
                                                                                         10     Q Did you think at the time he broached               10 Partners and its subsidiaries at the time
                                                                                         11 this policy with you he was wearing a legal hat           11 Mr. Ellington approached you about this insurance
                                                                                         12 with respect to Sentinel Reinsurance?                     12 policy, correct?
                                                                                         13     A Yes, and with regard to Highland also.              13     A Generally.
                                                                                         14     Q You think -- so you were -- were you --             14     Q And when Mr. Ellington talked to you
                                                                                         15 you were receiving legal advice from Scott                15 about this insurance policy, you say he was
                                                                                         16 Ellington in your capacity as a majority owner of         16 wearing many legal hats. Was one of the legal
                                                                                         17 Sentinel Reinsurance when he first broached you           17 hats he was wearing, to your knowledge, as a legal
                                                                                         18 about this policy?                                        18 advisor to Sentinel reinsurance?
                                                                                         19     A I think he was wearing a hat -- a legal             19     A I believe so.
                                                                                         20 hat from a Sentinel perspective in terms of               20     Q And was one of the legal hats that he
                                                                                         21 structuring and understanding the policy, in order        21 was wearing when he approached you about the
                                                                                         22 to achieve the business purpose that he was trying        22 insurance policy as a legal advisor to Highland
                                                                                         23 to achieve, that he then had to run through               23 Capital Management?
                                                                                         24 Highland compliance.                                      24     A I believe so.
                                                                                         25     Q So wait a second. Was there a shared                25     Q And was one of the legal hats that
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                                                                                         1 Mr. Ellington was wearing when he approached you           1 asserting the privilege. So I'm going to ask the
                                                                                         2 about this insurance policy was as a legal advisor         2 question, given the record that we have just heard
                                                                                         3 to Highland Financial Partners?                            3 one more time and ask, did Scott Ellington, in
                                                                                         4      A I believe so.                                       4 words or substance, ever mention dealing with UBS
                                                                                         5      Q And was one of the legal hats that                  5 as one of the business reasons for entering into
                                                                                         6 Mr. Ellington was wearing when he approached you           6 the insurance policy that we're here to discuss?
                                                                                         7 with respect to this insurance policy was as a             7         MR. TAYLOR: And, Andy, I'm going to
                                                                                         8 legal advisor to all of Highland Financial                 8  make  my  objection but tell Mr. Dondero it's the
                                                                                         9 Partners subsidiaries?                                     9 same objection, attorney-client privilege, but
                                                                                         10     A I -- I believe so.                                  10 subject thereto, given the foundation you laid,
                                                                                         11     Q And was one of the legal hats that                  11 that you can answer subject to my objection.
                                                                                         12 Mr. Ellington was wearing when he approached you          12     A Okay. I'd like to get -- can I have an
                                                                                         13 with respect to the insurance policy a legal              13 uninterrupted 30-second moment to describe
                                                                                         14 advisor to Highland CDO Fund and its subsidiaries?        14 contextually and answer your question in a way
                                                                                         15     A I -- I don't know if that was relevant              15 that I think connects everything together? If I
                                                                                         16 or if I had any -- I don't know if that was               16 can go on --
                                                                                         17 relevant -- we've had a lot of names that are             17     Q You can do that. I may go back and ask
                                                                                         18 similar. I'm not even sure what fund that is, per         18 my question again if you don't answer it, but go
                                                                                         19 se, but I don't remember that one specifically.           19 ahead.
                                                                                         20         MR. CLUBOK: By the way, just for the              20     A Okay.
                                                                                         21 record, I know it is hard to -- in the rough --           21        We filed in October '19. In August of
                                                                                         22 this is CD -- as in David -- O Fund, CDO Fund.            22 '19, Ellington and I believed we had a handshake
                                                                                         23         THE WITNESS: Okay. Yeah, I --                     23 agreement with UBS to settle all outstanding
                                                                                         24         MR. CLUBOK: I think the court reporter            24 issues and get back to most favored nation status
                                                                                         25 heard me say CEO Fund, or at least that's the way         25 instead of our real estate group, that has been
                                                                                                                                                 50                                                          52
                                                                                         1 it came out on the rough.                                  1 growing aggressively and would have nice business
                                                                                         2      Q So I just -- I want to make sure that               2 reasons to do business with UBS -- instead of both
                                                                                         3 you know, Jim, I'm saying Highland CDO Fund. Have          3 firms not doing business together, we believed we
                                                                                         4 you heard of that?                                         4 had a handshake agreement with UBS that, Andy, you
                                                                                         5      A Yeah, I don't remember what fund that               5 were involved in. And we believed that that
                                                                                         6  is.                                                       6 agreement was for 7 million of cash and 10 million
                                                                                         7      Q Are you aware that UBS obtained a                   7 of future business.
                                                                                         8 judgment against two funds that you formerly were          8         And it wasn't that we thought those
                                                                                         9 involved with?                                             9 monies were for justified damages to UBS for
                                                                                         10     A Are you talking about the recent                    10 whatever cases were outstanding in the past
                                                                                         11 judgment?                                                 11 because we truly believed we had paid for releases
                                                                                         12     Q Yes, the recent judgment.                           12 from UBS twice. We felt like we had paid
                                                                                         13     A Yes.                                                13 120 million in securities in 2008 or 2009, and
                                                                                         14     Q And who was that judgment against, do               14 then we felt via the 2015 Redeemer settlement --
                                                                                         15 you know?                                                 15 Redeemer and Credit Strat settlement of 72 million
                                                                                         16     A I do not.                                           16 or $77 million, we felt like we had paid for the
                                                                                         17     Q Do you have any idea who are the                    17 same releases from UBS twice, and we believed that
                                                                                         18 parties that are responsible for the                      18 we had no liabilities whatsoever with UBS, and we
                                                                                         19 billion-dollar judgment that UBS obtained?                19 believed that the ongoing litigation was just a
                                                                                         20     A I do not.                                           20 cloud over the firm's doing business, and it was
                                                                                         21     Q Getting back to Mr. Ellington, I will               21 worth us paying $7 million of cash and 10 million
                                                                                         22 say that, at a bare minimum, if this conversation         22 of future business to put it behind us.
                                                                                         23 was privileged, it was a joint privilege and we           23        So our frame of mind in August of
                                                                                         24 have a representative of Highland Capital                 24 2019 -- our frame of mind, meaning my frame of
                                                                                         25 Management here, who have said they are not               25 mind and Ellington's frame of mind -- was that the
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                                                                                         1 UBS claims were de minimis, but it was worth              1 world that reflect that supposed handshake
                                                                                         2 paying seven of cash and ten million of future            2 agreement?
                                                                                         3 business to put it behind us.                             3      A You know, Andy, I believe -- I know I
                                                                                         4         The case had been dormant for an                  4 heard it from Seery or from UCC -- or not UCC --
                                                                                         5 extended period of time. And when I say "an               5 from independent board members or from the
                                                                                         6 extended period of time," it would be in the years        6 mediators last year, that there was a point in
                                                                                         7 prior to 2019, incorporating when this reinsurance        7 time where you admitted that there was a handshake
                                                                                         8 policy was done at Sentinel. So the reinsurance           8 agreement, but -- on those numbers at that time,
                                                                                         9 policy, when it was done at Sentinel, was done to         9 but that was then and this is now, and now you
                                                                                         10 wrap up the HFP issues in aggregate, including all       10 guys have a different view and you also have a New
                                                                                         11 legal, regulatory, compliance, tax, operating            11 York action.
                                                                                         12 issues, et cetera.                                       12        And I -- so I don't have -- I don't
                                                                                         13        It wasn't done in anticipation of or              13 have anything written that's been put in front of
                                                                                         14 trying  to circumvent or prepare for some big UBS        14 me, but I do believe there are people who will say
                                                                                         15 judgment because at that period of time, we truly,       15 that you admitted that occurred. You were
                                                                                         16 and, I think, UBS truly thought that their claims        16 involved with the Indian guy who came over from
                                                                                         17 were zero or de minimis because as recently as           17 London. You were involved with the meetings with
                                                                                         18 August of 2019 we had a handshake agreement to           18 Ellington. I -- but I don't have anything in
                                                                                         19 settle them for 7 million in cash and 10 million         19 writing to support it.
                                                                                         20 of future business, which is de minimis in the           20     Q My question is, are you aware of any
                                                                                         21 overall scheme of things and de minimis relative         21 document in the world that reflects the supposed
                                                                                         22 to HFP or the Sentinel policy, et cetera.                22 handshake agreement from August of 2019 that you
                                                                                         23        So that's my overall testimony on the             23 just described?
                                                                                         24 subject, and I don't know much more beyond that.         24     A I do not. I do not have such a paper.
                                                                                         25     Q Okay. Let me go back to the question I             25     Q Are you aware of any such documents in
                                                                                                                                                54                                                          56
                                                                                         1 asked you and then we'll cover some of the things         1 the world, even if you don't have them, that
                                                                                         2 you just said.                                            2 reflect the supposed handshake agreement from
                                                                                         3          So, first of all, you're talking about           3 August of 2019 that you just described?
                                                                                         4 October of -- you said, "October of '19 we filed."        4      A I do not. I do not have them and I do
                                                                                         5 You mean you filed for bankruptcy in October of           5 not have awareness of them.
                                                                                         6 '19?                                                      6      Q Now, you claim -- now, you claim that
                                                                                         7      A Highland filed, I think, on                        7 Jim Seery told you that there had been an
                                                                                         8 October 16th of 2019.                                     8 agreement from August of 2019?
                                                                                         9      Q Okay. You -- Highland Capital                      9      A No, no, no. And I'm not sure it was
                                                                                         10 Management filed for bankruptcy on October 16th,         10 Seery or somebody else under --
                                                                                         11 2019, correct?                                           11     Q Let's start with Jim Seery, okay. You
                                                                                         12     A Correct.                                           12 said that -- so did Jim Seery, in words or
                                                                                         13     Q And you claim that in August of 2019,              13 substance, ever tell you that there was a
                                                                                         14 just a few months before that, there was a               14 handshake agreement in August of 2019 along the
                                                                                         15 handshake deal with UBS to settle all outstanding        15 lines that you've just described?
                                                                                         16 matters. Is that your claim?                             16     A It was -- my recollection is it was
                                                                                         17     A Yes.                                               17 either Jim Seery or somebody else on the
                                                                                         18     Q And have you seen any documents that               18 independent board --
                                                                                         19 support that claim?                                      19     Q Okay.
                                                                                         20         MR. TAYLOR: Objection. Form.                     20     A -- said that subsequent, meaning in --
                                                                                         21         MR. CLUBOK: Withdrawn.                           21 sometime in 2020, around the arbitration or
                                                                                         22     Q Have you seen any documents that                   22 mediation, I believe, that you admitted to people
                                                                                         23 reflect that supposed handshake agreement?               23 or to the arbitrators that there was an agreement
                                                                                         24     A No, I have not.                                    24 in principle but it hadn't been finalized or
                                                                                         25     Q Are you aware of any documents in the              25 documented, but that was then and this is now.
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                                                                                         1      Q Okay. The other independent board                   1 or London, but we do have calendar documentation
                                                                                         2  members   were John Dubel and Judge Russ Nelms; is        2 of you guys' meeting, I'm sure we do.
                                                                                         3 that right?                                                3     Q And --
                                                                                         4      A Yes.                                                4     A Andy, listen, I know I can't enforce a
                                                                                         5      Q So it's your testimony that either Jim              5 handshake agreement. You know, my life would be
                                                                                         6 Seery or John Dubel or Russell Nelms told you that         6 easier and we would have a nice residual value to
                                                                                         7 there had been a handshake deal in August of 2019          7 Highland if I could force the handshake agreement
                                                                                         8 along the lines of what you've just described. Is          8 to be reality. I know I can't force it, but what
                                                                                         9 that your testimony?                                       9 I'm trying to just lay the ground work of is that
                                                                                         10     A Yes.                                                10 we never viewed the UBS claims -- prior to you
                                                                                         11     Q And you can't remember which of those               11 getting the judgment out of the judge in New York,
                                                                                         12 three supposedly told you this, correct?                  12 we never viewed the UBS claims as material or
                                                                                         13     A Correct.                                            13 significant until then.
                                                                                         14     Q Okay. Now, other than the supposed                  14    Q Well, prior to then, you knew that if
                                                                                         15 conversation between one of these three directors         15 UBS were to win its case, the consequences for
                                                                                         16 about this supposed deal, had you ever heard of           16 Highland could be catastrophic, correct?
                                                                                         17 that supposed handshake deal before that time?            17    A No, we never viewed them as a material,
                                                                                         18     A Well, from Scott Ellington, who                     18 legitimate claim. We believe we had paid for the
                                                                                         19 negotiated with you and the guy from London.              19 releases twice before. I don't know what happened
                                                                                         20     Q Okay. So Scott Ellington told you that              20 in New York, and I haven't looked at the case. I
                                                                                         21 there was a handshake deal in August of 2019              21 don't know what she actually awarded. I don't
                                                                                         22 whereby you would pay $7 million and $10 million          22 know if we were properly represented or if it was
                                                                                         23 of additional business to resolve all the claims          23 done. I don't know if it's appealable. I don't
                                                                                         24 that UBS had against Highland and the affiliated          24 know what the New York Circuits represents.
                                                                                         25 funds? Is that your testimony?                            25       But I'm just saying that prior to that
                                                                                                                                                 58                                                           60
                                                                                         1      A Yes, correct.                                       1 judgment coming around, we did not believe, and I
                                                                                         2      Q And did Mr. -- when did Mr. Ellington               2 don't believe you believed either in August of '19
                                                                                         3 tell you this?                                             3 that the UBS claims were material up until that
                                                                                         4      A At or about when he came back from the              4 point. But congratulations on getting a big award
                                                                                         5 meeting with you and the guy from India -- or you          5 out of New York.
                                                                                         6 and the Indian guy from London.                            6      Q Your testimony is that prior to the
                                                                                         7      Q And this was in August of 2019?                     7 time the judgment was awarded, you never believed
                                                                                         8      A Yes.                                                8 there was any possibility of UBS obtaining more
                                                                                         9      Q And did Mr. Ellington give you any more             9 than, say, $7 million in total from its lawsuit
                                                                                         10 specifics about this supposed handshake deal?             10 that was pending in New York; is that correct?
                                                                                         11     A Those were the primary business points              11     A That's right, 7, 10, 5, 20, I mean,
                                                                                         12 I remember.    I don't remember others.                   12 something    de minimis, something nominal, you
                                                                                         13     Q Did Mr. Ellington tell you who shook                13 know -- I mean, there's always a risk that it --
                                                                                         14 hands on this deal, supposedly?                           14 you know, just like, you know, we -- Highland went
                                                                                         15     A I don't know the name of the Indian                 15 into bankruptcy and there were 110 million of
                                                                                         16 guy, but I know -- we do have the calendar                16 claims that have now ballooned to 300, you know.
                                                                                         17 meetings that you attended, he attended, the              17 So, you know, things can always go awry, but yes,
                                                                                         18 Indian guy attended, you know, et cetera, but I           18 that was our opinion.
                                                                                         19 don't know his name off the top of my head.               19     Q So your opinion was there was never a
                                                                                         20     Q Sorry, you have calendar meetings?                  20 realistic possibility of the total liability in
                                                                                         21 Where?                                                    21 connection with the UBS legal action in New York
                                                                                         22     A No, no, I mean, they were orchestrated              22 ever being more than, say, 10 or $20 million,
                                                                                         23 meetings,  Andy. I mean, you, Scott, the guy from         23 correct?
                                                                                         24 UBS from -- I think he was from London. I don't           24     A We thought it was something that --
                                                                                         25 remember whether you had the meeting in New York          25 like any other potential or lingering claim from
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                                                                                         1 UBS or Barclays or from Citibank or from                   1 you don't, I'll continue going. So it's up to
                                                                                         2 regulators or from tax authorities, you know, we           2 you.
                                                                                         3 thought they were all normal course of business            3          THE WITNESS: You know what, I have --
                                                                                         4 that would be resolved for not material amounts of         4 at 11:30 I need half an hour. I have got a
                                                                                         5 money, correct.                                            5 half-hour meeting I can't move.
                                                                                         6       Q And when you say "we," who is the "we"             6          MR. CLUBOK: Okay. If that's the case,
                                                                                         7 in that sentence? Are you speaking on behalf of            7 then let's keep going for another 11 minutes.
                                                                                         8 Highland Capital Management, are you speaking on           8          THE WITNESS: Yes.
                                                                                         9 behalf of Sentinel Reinsurance or on behalf of HFP         9          MR. CLUBOK: Okay. Let's continue
                                                                                         10 or all of the above?                                      10 going, then.
                                                                                         11      A All of the above. And I think that was             11         Is that okay, Clay?
                                                                                         12 Ellington's view also, and that's why it made             12         MR. TAYLOR: Yes.
                                                                                         13 sense to transition an otherwise dead entity via          13         THE WITNESS: Yes.
                                                                                         14 the insurance policy.                                     14         MR. CLUBOK: Okay.
                                                                                         15      Q What is the insurance -- okay. So                  15         So -- we're going to just -- I just
                                                                                         16 getting back to my original question, what, if            16 want to show you a copy of the subpoena we issued
                                                                                         17 anything, did Mr. Ellington ever tell you, at the         17 for your testimony today.
                                                                                         18 time the insurance policy was being considered,           18         If you could put that up, and I believe
                                                                                         19 with respect to how it would impact the UBS               19 we'll mark it as Exhibit 23.
                                                                                         20 litigation?                                               20         (Deposition Exhibit 23 marked for
                                                                                         21      A I mean, like I said, there wasn't -- it            21 identification.)
                                                                                         22 wasn't a specific concern regarding UBS. It was           22         REMOTE TECH: Pardon me, Counsel, which
                                                                                         23 to handle the transition of an otherwise dead             23 tab is that?
                                                                                         24 entity that was illiquid that still had operating         24         MR. CLUBOK: It was something
                                                                                         25 issues without a board and without any management         25 Ms. George just sent you, probably the last thing
                                                                                                                                                 62                                                           64
                                                                                         1 team and without any way to pay anybody. It was a          1 she sent you, two documents. One is the subpoena
                                                                                         2 way to transition all issues, but it wasn't                2 and one is Mr. Dondero's response via counsel.
                                                                                         3 anything specific to UBS that I recall at the              3         REMOTE TECH: Please stand by.
                                                                                         4 time.                                                      4         MR. TAYLOR: Andy, why are we -- just
                                                                                         5       Q Okay. So when you -- and we jumped --              5 for my curiosity, why are we starting with 23?
                                                                                         6  you  jumped ahead and started talking about August        6         MR. CLUBOK: Because we're
                                                                                         7 '19, but the policy was taken out, you know,               7 continuing -- we've already marked some exhibits
                                                                                         8 approximately four years or so ago. So let's say           8 in this action. So, you'll see, we'll go through
                                                                                         9 2017.                                                      9 Exhibits 1 and 2 and 3 later, but they have
                                                                                         10      A Okay.                                              10 already been marked in previous depositions.
                                                                                         11      Q Back in 2017, you're saying, the policy            11        MR. TAYLOR: Okay.
                                                                                         12 was  not in any way specifically directed at UBS,         12        MR. CLUBOK: We're just -- we're trying
                                                                                         13 correct?                                                  13 to keep one set instead of starting every
                                                                                         14      A Correct.                                           14 deposition over at 1, which gets very confusing.
                                                                                         15      Q Okay. And the policy back in 2017 was              15 Then you have, like, ten Exhibit 1s.
                                                                                         16 not issued with the UBS litigation in mind,               16        MR. TAYLOR: Understood. Thank you.
                                                                                         17 correct?                                                  17        MR. CLUBOK: Sure.
                                                                                         18      A Yes, that's correct.                               18     Q So here is Exhibit 23. This is Exhibit
                                                                                         19      Q And in -- and Mr. Ellington never                  19 23 for this action. And Exhibit 23 is a copy of
                                                                                         20 raised how the policy could impact the UBS                20 the Subpoena to Produce Documents, Information, or
                                                                                         21 litigation when he gave you the business reasons          21 Objects or to Permit Inspection of Premises in a
                                                                                         22 for taking out the policy, correct?                       22 Bankruptcy Case. Do you see that?
                                                                                         23      A Correct.                                           23     A Yes.
                                                                                         24         MR. CLUBOK: I think this might be a               24     Q And have you seen that subpoena before
                                                                                         25 good time to take a break, if you want one. If            25 today?
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                                                                                                                                        Transcript of James Dondero                                17 (65 to 68)

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                                                                                                                                                  65                                                           67
                                                                                         1      A I believe so.                                        1           MR. CLUBOK: No. I'll have to -- I'll
                                                                                         2      Q And if I could have control of it,                   2  assess    during the break and see if I can get an
                                                                                         3 Jordan.                                                     3 estimate. We have another break that we have to
                                                                                         4         REMOTE TECH: One moment, please.                    4 take, too. What time is the hear- -- is there a
                                                                                         5         All right. Sir, I've given you                      5 hearing still set for today?
                                                                                         6 control. If you could just click on your screen.            6           MR. TAYLOR: 1:30, and yes.
                                                                                         7 BY MR. CLUBOK:                                              7           MR. CLUBOK: Is that substantive or
                                                                                         8      Q And so you say you believe you have                  8  just  a call?
                                                                                         9 seen this Exhibit 23. Are you sure you have seen            9           MR. TAYLOR: We just have to dial in,
                                                                                         10 it?                                                        10 but both of us have to be there, both he and I.
                                                                                         11     A I think it was stapled to -- wasn't it               11          MR. CLUBOK: I'm just saying, it's
                                                                                         12 part of everything else that was sent over? But            12 supposed to be a short meeting, I take it?
                                                                                         13 this is what covers discovery requests, right?             13          MR. TAYLOR: Actually, I think it might
                                                                                         14     Q Correct.                                             14 be  a little  more substantive, but I'm not sure.
                                                                                         15     A Yeah.                                                15 It's a docket call and we do have a motion for
                                                                                         16     Q And, in particular, there was an                     16 continuance which will be argued. So I'm just not
                                                                                         17 attachment or a page that I have got on the screen         17 sure how long it's going to take, 30 minutes to an
                                                                                         18 now. It starts with Roman numeral III. It says,            18 hour, my guesstimate.
                                                                                         19 "Documents to be produced."                                19          MR. CLUBOK: Okay.
                                                                                         20     A Yes.                                                 20          If I can have the control too, Jordan,
                                                                                         21     Q And did you review Roman numeral III                 21 please.
                                                                                         22 and the 12 categories of documents that you were           22          Thank you.
                                                                                         23 under subpoena to produce?                                 23      Q Mr. Dondero, I've got up here an e-mail
                                                                                         24     A Yes.                                                 24 from Roland Schafer to Andrew Clubok and Katie
                                                                                         25     Q And did you make an effort to locate                 25 George, copying Clay Taylor and Bryan Assink, with
                                                                                                                                                  66                                                           68
                                                                                         1 documents responsive to that subpoena?                      1 the subject, "Dondero Subpoena."
                                                                                         2       A Yes.                                                2         Have you seen this document before?
                                                                                         3          MR. CLUBOK: And we're going to put up              3      A Yes.
                                                                                         4 what we're going to mark as Exhibit 24. It is a             4      Q And it's been marked as Exhibit 24. In
                                                                                         5 response that we received to the subpoena last              5 Exhibit 24 Mr. Schafer says that they have
                                                                                         6 week.                                                       6 completed their "search of the e-mail/documents to
                                                                                         7          REMOTE TECH: Please stand by.                      7 which we have access. Keep in mind that
                                                                                         8          (Deposition Exhibit 24 marked for                  8 Mr. Dondero was exclusively on the HCMLP e-mail
                                                                                         9 identification.)                                            9 until December 30th, 2020." He now has a NexBank
                                                                                         10      Q It is a May 6th, 2021 e-mail from                   10 e-mail account and beginning in late March 2021 he
                                                                                         11 Schafer to Clubok.                                         11 moved to NextPoint e-mail. Or he had a NexBank
                                                                                         12         MR. TAYLOR: We're not seeing that,                 12 e-mail account, I should say, in the beginning of
                                                                                         13 Andy.                                                      13 late March 2021. And he said that the only
                                                                                         14         MR. CLUBOK: It will just take a                    14 documents are communications between yourself and
                                                                                         15 second. I think Jordan is putting it up. There's           15 his law firm, and that's it, that in any way are
                                                                                         16 a little bit of a lag with this process. I'm not           16 responsive to the subpoena request we issued.
                                                                                         17 seeing it either, for what it's worth.                     17        I'm paraphrasing, but that's the gist
                                                                                         18         REMOTE TECH: Counsel, I apologize. I               18 of what it said, correct?
                                                                                         19 have to get this downloaded real quick.                    19     A Yes.
                                                                                         20         MR. CLUBOK: No problem. Take your                  20     Q And is that the case, that you have
                                                                                         21 time. I was just explaining to Clay.                       21 absolutely no access to or control over or ability
                                                                                         22         MR. TAYLOR: Andy, for planning                     22 to obtain any document that is in any way
                                                                                         23 purposes    while we wait, do you have any idea how        23 responsive to Exhibit number 23 other than
                                                                                         24 late you're thinking, how many hours more you              24 communications with your attorneys?
                                                                                         25 need?                                                      25     A That is correct.
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                                                                                                                                                 69                                                          71
                                                                                         1         MR. CLUBOK: Okay. Let's see. Thank                 1 I'm just saying as far as business or policies
                                                                                         2  you.  Jordan, we can take that off the screen.            2 that Sentinel issued or was part of, there were --
                                                                                         3 Okay.                                                      3 there were multiple types.
                                                                                         4      Q Let me just see if I can do a couple                4     Q Right. But to be clear, Sentinel Re is
                                                                                         5 more quick things here before your 12:30.                  5 affiliated with you, Jim Dondero, correct?
                                                                                         6         Other than this --                                 6     A If you define affiliate as similar
                                                                                         7         MR. CLUBOK: Well, strike that.                     7 ownership, then yes, yeah.
                                                                                         8      Q   Other than the insurance policy that's            8     Q Okay. And Sentinel Re did issue
                                                                                         9 the subject of this litigation that we have been           9 policies to other entities that have overlapping
                                                                                         10 talking about, I think you said that you                  10 ownership with you, correct?
                                                                                         11 understood that Sentinel had issued policies such         11    A Correct.
                                                                                         12 as D&O insurance and title reinsurance, correct?          12    Q And what were those entities that
                                                                                         13     A Yes.                                                13 Sentinel Re issued policies to that you were in
                                                                                         14     Q For the D&O insurance, who were the                 14 some way connected to?
                                                                                         15 insureds that you are aware of that Sentinel              15    A Like I said, I believe they did some
                                                                                         16 Reinsurance issued policies for?                          16 D&O insurance splitting on some of the private
                                                                                         17     A I mean, some of them were completely                17 equity companies in the portfolio.
                                                                                         18 third party. I think some of them were the back           18    Q Like what?
                                                                                         19 end of related D&O insurance, you know, where             19    A I don't remember, and I don't know
                                                                                         20 somebody like an Aon or somebody would take the           20 which  ones they did, but I remember that was a
                                                                                         21 first, would take 60 percent of premium, would be         21 business line or a business purpose for a few
                                                                                         22 the face of the premium, and take the first X             22 years.
                                                                                         23 dollars of loss, and then Sentinel would take the         23    Q Is there any entity that you can name
                                                                                         24 back half. Or maybe it was the reverse, where             24 here today that Sentinel Reinsurance issued a
                                                                                         25 Sentinel would take the first piece of the loss           25 policy to that you have some beneficial interest
                                                                                                                                                 70                                                          72
                                                                                         1 and Aon would take the back piece. But it was              1 in?
                                                                                         2 splitting -- it was splitting policies with some           2      A You'll have to ask Scott. Scott
                                                                                         3 major carriers.                                            3 Ellington is the right person to ask.
                                                                                         4      Q Sorry. So when you use that phrase                  4      Q How about you? As you sit here today,
                                                                                         5 "completely third party," using that phrase, would         5 are you aware of even a single entity that you can
                                                                                         6 you say that Sentinel Reinsurance is a completely          6 think of -- are you claiming that you don't know a
                                                                                         7 third-party entity?                                        7 single entity that Sentinel Re issued a policy to
                                                                                         8      A No -- is it completely third party, no.             8 that you have a beneficial ownership in?
                                                                                         9 But to be a bona fide reinsurer in Cayman, Cayman          9      A No, I don't remember. I don't remember
                                                                                         10 doesn't want reinsurance companies or banks to be         10 specifically.
                                                                                         11 captive or not be legitimately in the insurance or        11     Q Do you know what proportion of Sentinel
                                                                                         12 banking business. So you have to have a portfolio         12 Re's  business was issuing policies to entities
                                                                                         13 or a certain amount of legitimate insurance and           13 that had some sort of connection to you?
                                                                                         14 reinsurance from a variety of players.                    14     A I do not.
                                                                                         15     Q Okay. But Sentinel Re is an affiliate               15     Q Okay. Well, look, it's 11:30. I will
                                                                                         16 of yours, correct?                                        16 say, we weren't told about this break. We also
                                                                                         17     A Affiliate in terms of similar                       17 obviously weren't told we were going to start a
                                                                                         18 ownership, I guess, you know.                             18 half hour late. So we're going to -- it's going
                                                                                         19     Q If I just asked you generically, it's               19 to end up becoming a long day at a minimum. When
                                                                                         20 Sentinel Re third-party -- how did you use the            20 is the meeting?
                                                                                         21 phrase? I'm sorry. If I said is Sentinel Re a             21        MR. CLUBOK: Let's go off the record.
                                                                                         22 completely third-party entity to you, Jim Dondero,        22        THE VIDEOGRAPHER: Off record. 12:31.
                                                                                         23 you would say no, that's not true, correct?               23        (A recess was taken.)
                                                                                         24     A Well, I would say there is the                      24        THE VIDEOGRAPHER: On record. 1:11.
                                                                                         25 beneficial ownership that we have spoken of, but          25
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                                                                                                                                    Transcript of James Dondero                                    19 (73 to 76)

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                                                                                         1 BY MR. CLUBOK:                                             1 have been natural for me even to sign the policy,
                                                                                         2      Q Okay, Mr. Dondero, Mr. Ellington --                 2 but if I did, I did not read it or have any
                                                                                         3 we've talked a little bit about what Mr. Ellington         3 specific knowledge of what it covered or didn't
                                                                                         4 told you about the insurance policy that was               4 cover.
                                                                                         5 ultimately issued by Sentinel Reinsurance that is          5      Q Did you sign the policy?
                                                                                         6 the subject of today's discussion. Do you                  6      A I don't believe so. I have no
                                                                                         7 remember that discussion before our break?                 7 recollection of that.
                                                                                         8      A Yes.                                                8      Q And you have no recollection of ever
                                                                                         9      Q Okay. At the time you signed -- first               9 actually reading the policy, correct?
                                                                                         10 of all, did you know that the --                          10     A Correct.
                                                                                         11         MR. CLUBOK: Strike that.                          11     Q Do you have a recollection of reading
                                                                                         12     Q Did you know the policy limit of that               12 any ancillary documents of the policy itself, like
                                                                                         13 policy that you signed off on?                            13 any related documents that were about the policy
                                                                                         14         MR. CLUBOK: Strike that. Let me say               14 or connected to the policy in some way?
                                                                                         15 that more clearly.                                        15     A No.
                                                                                         16     Q With respect to the Sentinel                        16     Q At the time Sentinel Re issued the
                                                                                         17 Reinsurance policy that Mr. Ellington spoke to you        17 $100 million policy that you approved, what was
                                                                                         18 about in 2017 and that you approved, did you know         18 the largest policy they had previously issued?
                                                                                         19 the policy limits when you approved it?                   19     A I have no idea.
                                                                                         20     A Just in a most general sense that it                20     Q Had they ever previously issued a
                                                                                         21 was approximately 100 million. I don't know if            21 policy anywhere in the same magnitude as the
                                                                                         22 there were different amounts set for different            22 policy that's at issue here today?
                                                                                         23 items or occurrences. I just remember the policy          23     A I believe they have done multiple
                                                                                         24 being around 100 million bucks.                           24 policies in the millions and tens of millions, but
                                                                                         25     Q And when did you -- how did you learn               25 I don't know the specifics.
                                                                                                                                                 74                                                           76
                                                                                         1 that the policy was $100 million?                          1      Q Can you name one policy that they had
                                                                                         2      A I just remember the policy was -- there             2 done in the tens of millions prior to the policy
                                                                                         3 is really only -- it took lots of twists and               3 that's at issue that we have been discussing
                                                                                         4 turns, I believe, to get it through compliance and         4 today?
                                                                                         5 get it through the reinsurer. I just remember              5      A I wouldn't have specific knowledge.
                                                                                         6 there was a lot of back-and-forth, but I remember          6      Q Well, you said you believed they've
                                                                                         7 generally the policy was targeted to be around             7 done multiple policies in the millions and tens of
                                                                                         8 100 million.                                               8 millions. Did you just make that up, or is that
                                                                                         9      Q How did you learn that the policy was               9 based on something specific?
                                                                                         10 $100 million? Did you learn it by reading it --           10     A Well, like I said, I believe they did
                                                                                         11 reading the policy? Did you learn it because              11 some large title policy sharings that --
                                                                                         12 Mr. Ellington told you? Did you learn because             12     Q You're saying under oath that you
                                                                                         13 compliance said something to you? How did you             13 believe they had previously issued a policy that
                                                                                         14 learn that the policy was $100 million?                   14 was at least $10 million prior to issuing the one
                                                                                         15     A From Scott Ellington. You know, he                  15 that we have been discussing today?
                                                                                         16 handled the interactions with compliance and the          16        MR. TAYLOR: Object to the form of the
                                                                                         17 reinsurer. I don't believe I ever saw the policy,         17 question. Okay.
                                                                                         18 nor was I involved in any of the conversations            18     A I don't know if --
                                                                                         19 with the reinsurer or the -- or Highland                  19     Q Let me ask it again.
                                                                                         20 compliance, that I remember.                              20        Sir, are you testifying that you
                                                                                         21     Q But you approved the policy, correct?               21 believe that Sentinel Reinsurance had previously
                                                                                         22     A I approved the -- yes.                              22 issued a policy that was at least $10 million
                                                                                         23     Q And prior to approving the policy, did              23 prior to issuing the policy that we have been
                                                                                         24 you read it?                                              24 discussing today?
                                                                                         25     A No. I'm not -- I don't think it would               25     A Okay. I don't know if it's prior or
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                                                                                                                                    Transcript of James Dondero                                20 (77 to 80)

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                                                                                         1 subsequent, but I know -- I don't know. I believe          1 having gotten and underwritten significant
                                                                                         2 they have, on some of the big title insurance,             2 insurance in a lot of other companies and a lot of
                                                                                         3 like there was a big $65 million title insurance           3 other places, it's a -- there's a lot of specifics
                                                                                         4 policy that they split with somebody. I don't              4 and a lot of highly negotiated parts to it, in
                                                                                         5 know if it was before or after. But my belief is           5 insurance in general, and I have no awareness of
                                                                                         6 they have or continue to do things in the millions         6 what this policy covered, didn't cover, under what
                                                                                         7 and tens of millions of dollars.                           7 circumstances, et cetera.
                                                                                         8      Q I want you to focus on my question. I               8      Q At the time that you approved the
                                                                                         9 want you to -- there was a time when you approved          9 $100 million insurance policy, did you understand
                                                                                         10 the issuance of this $100 million policy, correct?        10 that part of what was covered by the policy was
                                                                                         11     A Yes.                                                11 legal liability of HFP and its subsidiaries?
                                                                                         12     Q And it was not a title insurance                    12     A I didn't have specific knowledge of
                                                                                         13 policy, right?                                            13 what was covered but an understanding that there
                                                                                         14     A Correct.                                            14 was some coverage of liability or outcomes.
                                                                                         15     Q It was a judgment insurance policy,                 15     Q Okay. You understood that some of
                                                                                         16 correct?                                                  16 the -- the $100 million policy was not just for
                                                                                         17     A I don't know what it covered and what               17 legal fees and expenses, but it was also for some
                                                                                         18 it didn't cover.                                          18 liability or potential liability in litigation
                                                                                         19     Q Well, a $100 million policy covered a               19 with the insureds, correct?
                                                                                         20 lot more   than expected legal fees, correct?             20     A Yes, and that's about as far as it
                                                                                         21     A I believe it covered legal outcomes                 21 goes.
                                                                                         22 also, but --                                              22     Q And did you have any idea whatsoever,
                                                                                         23     Q Okay. So in addition to covering legal              23 when you approved the policy, as to what would be
                                                                                         24 fees, it also was intended to cover against               24 the circumstances whereby that payment obligation
                                                                                         25 judgments that would be entered against the               25 for legal liability would be triggered?
                                                                                                                                                 78                                                          80
                                                                                         1 insureds, correct?                                         1      A I have no idea.
                                                                                         2      A If you say so. Again, I don't have                  2      Q Did you have any idea whatsoever, at
                                                                                         3 specific knowledge.                                        3 the time that you approved the $100 million
                                                                                         4      Q No, I want to know what you say under               4 insurance policy, that a trigger of coverage under
                                                                                         5 oath.                                                      5 the policy would be legal liability of CDO Fund or
                                                                                         6         So you approved this policy and when               6 SOHC to UBS?
                                                                                         7 you approved it, and you knew it was $100 million,         7      A I have no idea. I had no idea then and
                                                                                         8 did you understand that part of the policy was as          8 I have no idea now what's covered, what's the
                                                                                         9 judgment insurance in case the insureds lost at            9 triggers, and if it's -- if there's a bona fide
                                                                                         10 trial?                                                    10 amount due or not. I have no idea.
                                                                                         11     A I did not have that specific                        11     Q What was the amount paid for the
                                                                                         12 understanding.                                            12 policy?
                                                                                         13     Q Did you understand that part of the                 13        MR. CLUBOK: Strike that.
                                                                                         14 $100 million policy's purpose was to pay for any          14     Q The amount paid for a policy is often
                                                                                         15 legal liability of the insureds who paid for the          15 called a premium, right?
                                                                                         16 policy?                                                   16     A Yes.
                                                                                         17     A I didn't have that specific knowledge.              17     Q You are familiar with the term
                                                                                         18 And a word like "any" would be something I would          18 "premium" in connection with an insurance policy,
                                                                                         19 not have any knowledge of. And these insurance --         19 right?
                                                                                         20 any type of insurance and reinsurance things has          20     A Yes.
                                                                                         21 specifics around what's covered, what's not, what         21     Q Okay. What was the premium on this
                                                                                         22 entities, what has to be done in order to collect         22 $100 million insurance policy that you approved?
                                                                                         23 or not collect. And I'm not even saying all this          23     A I -- I don't know -- I've heard -- you
                                                                                         24 from a Sentinel perspective.                              24 know what, I don't know how the -- what I do know
                                                                                         25        I'm just saying from my awarenesses of             25 at the time is the illiquid assets were 70 or
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                                                                                                                                    Transcript of James Dondero                                   21 (81 to 84)

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                                                                                                                                                 81                                                           83
                                                                                         1 80 million bucks. That's what I do know at that            1 are twists and turns, or you specifically know
                                                                                         2 time. I do remember that.                                  2 there were twists and turns connected with this
                                                                                         3         How they were accounted for or how much            3 insurance policy?
                                                                                         4 of it was premium, how much of it was other                4      A There are always twists and turns, and
                                                                                         5 consideration or whatever, I don't know what               5 especially if we're on both sides of a
                                                                                         6 the -- I don't know what the split or the                  6 transaction, there's heightened compliance
                                                                                         7 breakdown was.                                             7 scrutiny and then there's also heightened
                                                                                         8       Q Okay. We'll come back to that answer,              8 regulatory scrutiny. So there's -- A, there's
                                                                                         9 but, first, I want to start with the question I            9 always twists and turns, and there's definitely
                                                                                         10 asked you, which is, what was the premium on the          10 always significant twists and turns if we're
                                                                                         11 $100 million insurance policy that you approved?          11 involved on both sides of it.
                                                                                         12      A I don't know.                                      12     Q And in this case you were involved on
                                                                                         13      Q So you started to say in your answer,              13 both sides of it, correct?
                                                                                         14 "I've heard," and then you caught yourself. What          14     A Yes.
                                                                                         15 had you heard in connection with this question I          15     Q And, as a result, you had to get
                                                                                         16 asked?                                                    16 your -- you had to disclose that involvement on
                                                                                         17      A I was remembering back, and, again,                17 both sides to your compliance people in order to
                                                                                         18 this took lots of twists and turns, and I don't           18 get it approved?
                                                                                         19 even have a basis for saying "I heard." There             19     A Yes.
                                                                                         20 was -- there was -- I don't even have a basis             20     Q And who did you disclose that to in
                                                                                         21 for -- it was a matter of trying to bridge the            21 compliance?
                                                                                         22 illiquid assets to some liquidity and have some of        22     A I wasn't directly involved, but I know
                                                                                         23 it be called a premium and some of it be called           23 Scott Ellington worked closely with Thomas Surgent
                                                                                         24 something else. But I don't even know what -- I           24 on it.
                                                                                         25 don't even know what else or if it was all called         25     Q And who was Thomas Surgent at that --
                                                                                                                                                 82                                                           84
                                                                                         1 premium. The policy took twists and turns through          1         MR. CLUBOK: Or strike that.
                                                                                         2 the regulators and compliance. I don't know what           2      Q What did Thomas Surgent do at that
                                                                                         3 the final structure of the policy was other than           3 time?
                                                                                         4 it was ultimately about $100 million of coverage.          4      A He was our chief compliance officer.
                                                                                         5       Q And these twists and turns that you say            5      Q And how do you know that Scott
                                                                                         6  it took, is the entirety of your information about        6  Ellington worked closely with Thomas Surgent to
                                                                                         7 that from Scott Ellington?                                 7 get approval for this transaction with the
                                                                                         8       A Yes. And -- but I wasn't involved in               8 insurance policy in 2017?
                                                                                         9 the twists and turns. At the time this wasn't              9      A He told me. And ultimately he had -- I
                                                                                         10 that big of a deal. It was something that was             10 know he had to get Tom Surgent's sign-off on it,
                                                                                         11 just trying to help transition a dead entity.             11 which I believe he did.
                                                                                         12      Q Sorry, but you said there were twists              12     Q And you said, "He told me." Do you
                                                                                         13 and turns. How did you know that there were               13 mean Scott Ellington told you?
                                                                                         14 twists and turns?                                         14     A Yes.
                                                                                         15      A I just know there were. I mean,                    15     Q And you -- how do you know that Scott
                                                                                         16 because what they were trying to do, they had to          16 Ellington had to get Tom Surgent's sign-off on
                                                                                         17 get it through both the regulators and Highland's         17 this policy being issued?
                                                                                         18 compliance department, so I -- there's always             18     A I can say unilaterally for at least the
                                                                                         19 give-and-take on their independent views of what's        19 last 15 years we've never done a transaction that
                                                                                         20 the risk, what's the business purpose, what's a           20 we were on both sides of, that didn't have
                                                                                         21 fair structure, et cetera, et cetera. So that's           21 compliance sign off.
                                                                                         22 what I mean by "twists and turns."                        22     Q Okay. So your absolute policy at
                                                                                         23      Q Yeah, but you say you just know there              23 Highland  Capital is for any transaction where you
                                                                                         24 were twists and turns. You mean you were just             24 have a connection to both sides of the
                                                                                         25 imagining it or guessing or because there always          25 transaction, "you" meaning Jim Dondero, you always
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                                                                                         1 get compliance approval, correct?                         1      Q How would Mr. Surgent have learned that
                                                                                         2      A Yes.                                               2  Sentinel Reinsurance was an affiliated entity?
                                                                                         3      Q And is that a policy that Scott                    3      A He would have known as part of Scott
                                                                                         4 Ellington knows about?                                    4 Ellington's presentation to him proposing the
                                                                                         5      A Yes.                                               5 transaction.
                                                                                         6      Q Is that a policy that Thomas Surgent               6      Q What presentation are you talking
                                                                                         7 knows about?                                              7 about?
                                                                                         8      A Yes. It's an industry -- it's a                    8      A Compliance builds -- they definitely
                                                                                         9 post-2008 Sarbanes or Dodd-Frank mandate. Chief           9 have folders and documentation on any transaction
                                                                                         10 compliance officers have the personal liability of       10 that they -- especially any significant
                                                                                         11 a C-suite executive starting in '08 in financial         11 transaction that they approve. They have to keep
                                                                                         12 firms.                                                   12 written documentation for the regulators.
                                                                                         13     Q I see. So if Thomas Surgent did not --             13     Q Sorry, but have you seen a presentation
                                                                                         14        MR. CLUBOK: Strike that.                          14 that Scott Ellington prepared to describe the
                                                                                         15     Q If Thomas Surgent -- well, you had to              15 transaction that he would have shared with
                                                                                         16 get Thomas Surgent's approval because you, Jim           16 Mr. Surgent?
                                                                                         17 Dondero, had beneficial ownership interest on both       17     A I have not seen it.
                                                                                         18 sides of the transaction, correct?                       18     Q Have you seen any presentation that
                                                                                         19     A Not because of -- more of control, not             19 Scott Ellington ever prepared related to this
                                                                                         20 benefi- -- beneficial ownership on the Sentinel          20 transaction?
                                                                                         21 side. You have control on both sides, but, yes,          21     A I have not.
                                                                                         22 it was appropriate to get compliance approval,           22     Q Did Mr. Ellington -- did -- were you
                                                                                         23 which I'm certain we did. I can't imagine -- I           23 ever --
                                                                                         24 can't imagine there is any transaction where, any        24        MR. CLUBOK: Strike that.
                                                                                         25 transaction over the last 15 years that would            25     Q How often do people use PowerPoints
                                                                                                                                                86                                                         88
                                                                                         1 involve affiliated entities that did not have             1 with you back in this time period to describe
                                                                                         2 compliance approval.                                      2 transactions or make it easier to follow them?
                                                                                         3      Q And in this situation Sentinel Re                  3      A Often.
                                                                                         4 insurance would have been an affiliated entity,           4      Q Why?
                                                                                         5 using the phrase the way you just used it,                5      A I mean, just often. I mean, there's
                                                                                         6 correct?                                                  6  process   for investment underwriting, there's
                                                                                         7      A Yes.                                               7 process for trade execution, there's process for
                                                                                         8      Q And HFP and its subsidiaries would have            8 investment monitoring and tracking. Most of those
                                                                                         9 been affiliated entities, using the phrase the way        9 are documentation, you know, based. And there is
                                                                                         10 you just described it, correct?                          10 process and procedures around compliance also, and
                                                                                         11     A Yes.                                               11 those are generally documentation based also.
                                                                                         12     Q Is it your responsibility to ensure                12     Q Would you have received a presentation
                                                                                         13 that compliance measures are adhered to?                 13 for every major transaction that one of the
                                                                                         14     A Yes. I mean, it's every professional               14 affiliated entities did during this time period?
                                                                                         15 in the organization's responsibility, as part of         15     A Not on the compliance side. I'm not
                                                                                         16 the annual compliance review, to run appropriate         16 directly involved in compliance. On most -- on
                                                                                         17 things through compliance. But I would say under         17 most significant investments, generally I would be
                                                                                         18 an abundance of caution, the organization is             18 in an investment committee or be aware or be
                                                                                         19 pretty well trained that anything that's close           19 presented with something, yes.
                                                                                         20 goes through compliance.                                 20     Q And so it would be highly unusual for
                                                                                         21     Q Okay. But you never spoke with                     21 you not to be presented with a PowerPoint, or the
                                                                                         22 Mr. Surgent directly about this transaction,             22 like, sort of presentation if there was a
                                                                                         23 correct?                                                 23 significant transaction being contemplated with
                                                                                         24     A Correct. Scott Ellington was the                   24 one of the affiliated entities at that time,
                                                                                         25 person on this transaction.                              25 correct?
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                                                                                                                                    Transcript of James Dondero                                  23 (89 to 92)

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                                                                                                                                                 89                                                           91
                                                                                         1          MR. TAYLOR: Objection to form.                    1 expected." Sorry --
                                                                                         2      A    If there was a significant investment            2      A Less than 7 or 8 of liquid assets or
                                                                                         3 being made, you know, per se, but, again, that             3 cash is what I would have expected. I would --
                                                                                         4 wasn't the case in what we're talking about. And           4 when I say "preponderance," I would have guessed
                                                                                         5 I didn't see a PowerPoint on the insurance -- on           5 that 90 percent, or I would have expected
                                                                                         6 the insurance product overall.                             6 90 percent or more was illiquid.
                                                                                         7      Q Well, you mentioned before that you                 7      Q Sorry. So do you believe that it was
                                                                                         8  heard  that there were 70 to 80 million dollars in        8  approximately    7 or 8 million dollars in liquid
                                                                                         9 illiquid assets?                                           9 assets that was transferred as part of this?
                                                                                         10     A Correct.                                            10     A No, I'm saying I don't know, but you
                                                                                         11     Q And was it your understanding that all              11 were asking me my expectation of de minimis, and I
                                                                                         12 of those assets were transferred to Sentinel              12 would say that I would have thought that the cash
                                                                                         13 Reinsurance?                                              13 and the liquid portion of the portfolio would have
                                                                                         14     A I believe that was part of the policy               14 been 10 percent or less.
                                                                                         15 or part of the premium, and, again, part of the           15     Q Okay. So if the liquid portion was
                                                                                         16 transition to, you know, provide liquidity and            16 more than 10 percent, that's above what you call
                                                                                         17 some functionality.                                       17 de minimis in a transaction like this, correct?
                                                                                         18     Q And did you understand that in addition             18     A Yeah, I mean, you're asking my
                                                                                         19 to illiquid assets there were also liquid assets          19 expectations, but I don't have specific awareness.
                                                                                         20 that were transferred to Sentinel Reinsurance as          20     Q Okay. Did you -- so getting back to
                                                                                         21 part of the premium?                                      21 Mr. Surgent, how would he have known that this was
                                                                                         22     A I don't remember that. I remember it                22 an affiliated transaction?
                                                                                         23 being almost entirely illiquid assets.                    23     A He would have known from the
                                                                                         24     Q Were there any -- was there any cash                24 presentation, but he also has a high degree of
                                                                                         25 that was transferred as part of the premium               25 awareness of our corporate structures and our
                                                                                                                                                 90                                                           92
                                                                                         1 payments?                                                  1 various entities, and it would have been part of
                                                                                         2      A I don't believe there was anything                  2 his analysis and decision-making process. He
                                                                                         3 liquid or cash other than a de minimis amount.             3 wouldn't have approved it without knowing the
                                                                                         4 That's my recollection. But I never saw a                  4 details and the counterparties.
                                                                                         5 reconciliation or a true-up. But it was never              5      Q And when compliance approves
                                                                                         6 described to me as anything other than a                   6  transactions  like this, is there a formal process
                                                                                         7 preponderance of illiquid assets.                          7 they go to? Is there a way that that approval is
                                                                                         8      Q What would a de minimis amount -- when              8 reflected? Is there a form they fill out? Is
                                                                                         9 you say "de minimis," you're -- in the past, I've          9 there a, you know, group of people they have to
                                                                                         10 learned that your view of de minimis is different         10 copy? Anything like that?
                                                                                         11 than lots of people's view. So when you say               11         MR. TAYLOR: Objection to the form.
                                                                                         12 "de minimis," do you mean less than 1 million,            12     A    I don't know the -- there is some
                                                                                         13 less than 10 million, less than 100 million?              13 formality to the process, but I don't know what it
                                                                                         14 What's de minimus to you in this context?                 14 is.
                                                                                         15     A I would guess that there would be less              15     Q Did you ever see an approval by
                                                                                         16 than 10 percent of any kind of liquid or cash             16 Mr. Surgent --
                                                                                         17 assets. That would be my guess. That would be             17     A No.
                                                                                         18 10 percent or -- well, less than 10 percent.              18     Q -- of this projection?
                                                                                         19     Q Okay. But if it was $10 million in                  19     A I have not.
                                                                                         20 cash, you would consider that to be de minimis?           20     Q Okay. So we got off on a little
                                                                                         21     A I was kind of using 10 percent as a                 21 tangent here, but are you aware of Sentinel Re
                                                                                         22 cutoff. It was 7 or 8 -- 7 or 8 or less of cash           22 ever issuing any other judgment insurance policy
                                                                                         23 or illiquid assets is what I would have expected.         23 in its history?
                                                                                         24     Q Sorry. You said, "It was 7 or 8 less                24     A I -- I don't know, but I know it's
                                                                                         25 of cash or illiquid is what I would have                  25 considered some, and I know it's fought claims,
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                                                                                                                                     Transcript of James Dondero                                 24 (93 to 96)

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                                                                                                                                                  93                                                           95
                                                                                         1 you know, but I don't know for sure.                        1          Are you saying that the main business
                                                                                         2      Q Do you know -- by the way, I've called               2  purpose   of this insurance policy was to do
                                                                                         3 it a judgment insurance policy. Have you heard of           3 something other than act as a legal liability
                                                                                         4 a phrase called "after the event," or "ATE"                 4 insurance policy?
                                                                                         5 policy?                                                     5      A Yes.
                                                                                         6      A Yeah, I mean, like I said, I know                    6      Q And what is that other thing, or what
                                                                                         7 people sell claims and judgments, and after -- I            7 is the other function of this policy other than
                                                                                         8 mean, I have heard the term, yes.                           8 being a legal liability insurance policy?
                                                                                         9      Q Okay. Would you describe this policy                 9      A To transition the residual legal, tax,
                                                                                         10 as an after the event policy?                              10 authority, organizational responsibilities and
                                                                                         11     A No.                                                  11 issues over an extended period of time faced by a
                                                                                         12     Q Why not?                                             12 dead entity that had been unwound as worthless for
                                                                                         13     A I mean, for all the reasons we talked                13 tax purposes and wasn't functioning in and of
                                                                                         14 about    earlier. We viewed all the residual issues        14 itself.
                                                                                         15 at HFP to be things that would be handled in due           15     Q Could you be any more specific than
                                                                                         16 course and they needed liquidity and legal help or         16 that in terms of the purpose of this policy other
                                                                                         17 coordination. And the thought was, over an                 17 than to serve as a legal liability insurance
                                                                                         18 extended period of time, things would be resolved          18 policy?
                                                                                         19 in normal course of business for not gigantic              19     A I just said it, and I've said it, like,
                                                                                         20 amounts of issue.                                          20 five times, so I'm not going to say that again.
                                                                                         21     Q Right, but the insurance policy that                 21 But for transition issues on residual legal,
                                                                                         22 you approved, I think you previously agreed it was         22 regulatory, tax, operating issues and that -- but
                                                                                         23 a -- it could be called a judgment insurance               23 there was a liability component to it also. But
                                                                                         24 policy, correct?                                           24 the expectation was that the liability stuff would
                                                                                         25     A I mean, I think I resisted naming it                 25 resolve itself over time, you know, partly with
                                                                                                                                                  94                                                           96
                                                                                         1 that because I viewed it as much more than that,            1 legal fees and partly with maybe some settlements,
                                                                                         2 but that it did have some liability component to            2 partly with, you know, time lapse on statute of
                                                                                         3 it, but I don't believe that that was the primary           3 limitations, you know, who knows.
                                                                                         4 purpose.                                                    4         And then but what also happens too is
                                                                                         5      Q But you would agree that the policy was              5 things that you don't know or don't expect at the
                                                                                         6  a legal liability insurance policy, correct?               6 time you put a transition policy like this in
                                                                                         7      A No, I don't want to say that.                        7 place, there are things you don't know that end up
                                                                                         8      Q I'm not asking if you want to say that.              8 coming up later, like -- you know, like whatever,
                                                                                         9 I'm asking if it's true. It's true that this                9 like HarbourVest in the Highland case wasn't
                                                                                         10 policy that you approved for -- with a                     10 something that was known or thought about when
                                                                                         11 $100 million potential value was a legal liability         11 filed.
                                                                                         12 insurance policy, correct?                                 12     Q Did this policy cover the HarbourVest
                                                                                         13     A I'm saying my recollection is that it                13 case?
                                                                                         14 had a component of that to it, but that was not            14     A I'm sorry, I got off on a tangent. I
                                                                                         15 the full extent of it or the business purpose of           15 don't think HarbourVest is related to what we're
                                                                                         16 it, per se.                                                16 talking about today.
                                                                                         17     Q You're saying the main business purpose              17     Q Okay. So I want to talk about things
                                                                                         18 of this insurance policy was to be something other         18 that are related what we're talking about, and I
                                                                                         19 than a legal liability insurance policy; is that           19 want to know very specifically -- let's take it --
                                                                                         20 correct?                                                   20 just ask it again clearly.
                                                                                         21         Sorry, that question got garbled.                  21        You're saying -- would you agree the
                                                                                         22     A Yeah, there was --                                   22 main purpose of this policy was to serve as a
                                                                                         23     Q Jim, I'm sorry, let me ask it again                  23 legal liability insurance policy? Would you agree
                                                                                         24 because that question got garbled a little bit the         24 with that?
                                                                                         25 way I said it.                                             25     A No. I believe it was a component of
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                                                                                                                                     Transcript of James Dondero                                25 (97 to 100)

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                                                                                         1 it.                                                        1      Q No, I understand. I'm going to come
                                                                                         2      Q Okay. And so you have testified that                2  back to the main purpose, but as a secondary
                                                                                         3 the main point of issuing this insurance policy            3 purpose, in your view, you would agree that the
                                                                                         4 was to assist in the transition of HFP. Is that a          4 insurance policy, when it was taken out, was
                                                                                         5 fair characterization of what you said?                    5 intended to cover legal liability to UBS for any
                                                                                         6      A Yes.                                                6 of the affiliated entities that signed on to the
                                                                                         7      Q And specifically how? How would this                7 policy on the off chance that such liability
                                                                                         8  policy help -- how was it intended that this              8 arose, correct?
                                                                                         9 policy would help HFP transition other than by             9      A Not particularly, but for all legal
                                                                                         10 being available to satisfy the legal liability HFP        10 liability issues in general. You have to
                                                                                         11 might have with respect to the UBS claims?                11 remember, there were big residual issues with
                                                                                         12     A Again, because it would handle the                  12 Barclays. There was big residual issues with
                                                                                         13 ongoing issues of an offshore Cayman entity that          13 Citibank. There were aggressive worthlessness
                                                                                         14 wasn't functioning but had a tail of legal,               14 deductions taken by some of the investors in there
                                                                                         15 regulatory, tax, operating issues, some of which          15 that could have created a tax audit or regulatory
                                                                                         16 were known and some of which were unknown. And it         16 issues -- not regulatory issues so much as tax
                                                                                         17 didn't have liquidity or staff to handle it on its        17 issues with the IRS.
                                                                                         18 own, and Sentinel would be providing that                 18        And so it was meant to cover all those
                                                                                         19 functionality.                                            19 things and address all those things if the
                                                                                         20     Q Sorry, how? How exactly? What                       20 residual, dormant, dead HFP entity were attacked
                                                                                         21 specifically was anticipated when you signed off          21 by anybody.
                                                                                         22 on this policy that Sentinel would ever do other          22     Q I'm going to come back to the other
                                                                                         23 than cover legal liability with respect to the UBS        23 things, okay, and I want to -- you've said a bunch
                                                                                         24 claim?                                                    24 of other things that you claim the policy was
                                                                                         25     A It would manage all the things I just               25 intended to, but one of the things that the policy
                                                                                                                                                 98                                                           100
                                                                                         1 talked about as transition items.                          1 was intended to cover when you approved it was any
                                                                                         2       Q What do you mean, "manage"? Like                   2 legal liability of HFP or its affiliates to UBS in
                                                                                         3 Sentinel was going to bring people over to manage,         3 connection with the New York litigation, correct?
                                                                                         4 Sentinel was going to pay for something? What was          4      A As long as we use the words "one of the
                                                                                         5 the specific thing that Sentinel was signing up to         5 things," not the main thing, not the primary thing
                                                                                         6 do under this policy other than satisfy legal              6 not the focus of our attention at that point in
                                                                                         7 liability to UBS for its litigation in New York?           7 time. As long as it's just included among the
                                                                                         8       A Again, the UBS litigation in New York              8 litany of other residual things that HFP was
                                                                                         9 wasn't viewed as likely or material at the time.           9 dealing with, yes. But I resist putting any --
                                                                                         10 We went over that earlier. But let's say -- okay.         10 and I won't put any clarifier on it that makes it
                                                                                         11 HFP --                                                    11 seem like it was a main point of contention
                                                                                         12      Q Wait, wait, sorry. Just to be clear                12 because we absolutely, at the time, viewed the --
                                                                                         13 here, you're saying at the time this policy was           13 all the way up through August of '19 viewed UBS as
                                                                                         14 taken out there was no expectation of any material        14 not significant and not a material risk.
                                                                                         15 legal liability for any of your affiliated                15     Q Yes, you've testified to that. So you
                                                                                         16 entities as a result of the UBS litigation,               16 say that this policy was not taken out with a
                                                                                         17 correct?                                                  17 specific eye to UBS, correct?
                                                                                         18      A Correct. I said it four times earlier.             18     A Yes.
                                                                                         19      Q I understand. So getting back to the               19     Q And you say that the main point of this
                                                                                         20 policy, so -- but by the way, would you agree that        20 legal liability insurance policy was not to cover
                                                                                         21 the policy was intended to cover the UBS                  21 liability to UBS, correct?
                                                                                         22 litigation liability on the off chance, from your         22     A Correct.
                                                                                         23 perspective, that there should be liability?              23     Q We'll come back to that. We'll come
                                                                                         24      A Again, it was a secondary not a main               24 back to the other purpose of the policy, but I
                                                                                         25 driver. The business purpose was for transition.          25 just want to focus on it is the case, though, that
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                                                                                                                                      Transcript of James Dondero                                  26 (101 to 104)

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                                                                                         1 you would agree that at least one of what you say           1 what I think Mr. Dondero is fighting on, so I'm
                                                                                         2 are many purposes of this insurance policy was to           2 going to try to keep being more and more specific.
                                                                                         3 cover any legal liability of HFP or its affiliates          3      Q Mr. Dondero, would you agree that at
                                                                                         4 to UBS in connection with the New York litigation,          4 least one purpose of the $100 million insurance
                                                                                         5 correct?                                                    5 policy that you approved was to cover liability to
                                                                                         6          MR. TAYLOR: Andy, this has been asked              6 UBS in connection with the New York litigation on
                                                                                         7 and answered numerous, numerous times at this               7 behalf of HFP and its affiliates?
                                                                                         8 point.                                                      8      A Yes.
                                                                                         9          MR. CLUBOK: Then it's a simple yes.                9      Q Thank you. Okay.
                                                                                         10 Then I would like a simple yes to this question,           10         Now, let's talk about the other
                                                                                         11 Clay. It should be real simple. I'll ask the               11 purposes of the policy. Are you saying that the
                                                                                         12 question again, and I have never gotten a simple           12 policy also covered any losses that HFP or its
                                                                                         13 yes. I've gotten a lot of stuff that the judge             13 affiliates might suffer to Barclays after the
                                                                                         14 doesn't like. So I'm going to ask Mr. Dondero, as          14 issuance of the policy?
                                                                                         15 he said at the beginning, that he'd say yes if it          15     A Again, I haven't seen it, but my belief
                                                                                         16 was a simple answer, and so I'm going to ask the           16 was that it was -- the business purpose was
                                                                                         17 question one more time and then I'll move on.              17 that -- for it to be broad based for things known
                                                                                         18     Q Even though I understand you say that                18 and unknown and include a variety of tax and/or
                                                                                         19 there were other purposes of this insurance                19 legal dispute counterparties.
                                                                                         20 policy, you agree that at least one purpose of the         20     Q But you specifically said Barclays.
                                                                                         21 insurance policy that you approved, that we have           21 That's why -- I didn't -- that came from you, as
                                                                                         22 been talking about today, was to cover any legal           22 an example. And I don't know if you're just
                                                                                         23 liability of HFP or its affiliates to UBS in               23 making that up as an example or if you're saying
                                                                                         24 connection with the New York litigation, correct?          24 that you specifically, when you approved it,
                                                                                         25         MR. TAYLOR: I'm just going to object               25 understood the policy to cover potential liability
                                                                                                                                                 102                                                           104
                                                                                         1 to the form.                                                1 with Barclays. And that's what I'm trying to get
                                                                                         2      A Okay, Andy, I can't say yes because of               2 at. I'm going to ask -- you threw out different
                                                                                         3 what you threw in there on the clarifiers at the            3 names, and I'm trying to just see if you were just
                                                                                         4 end that I don't know the answers to. I don't               4 throwing those out up against the wall or if you
                                                                                         5 know what the terms and conditions and trigger              5 were actually saying, I recall that those were
                                                                                         6 points and I don't know which entities of HFP are           6 things the policy was intended to cover.
                                                                                         7 included in the policy or not included in the               7          So let me -- with that in mind, I'll
                                                                                         8 policy. I don't know. But the general purpose               8 just ask you. When you signed off on this
                                                                                         9 was to cover whatever legal disputes and                    9 $100 million insurance policy, did you believe
                                                                                         10 resolutions HFP would be subject to. I mean --             10 that it would cover liability that HFP or its
                                                                                         11        MR. CLUBOK: Okay, Clay, that's why the              11 affiliates might face to Barclays in the future?
                                                                                         12 question  has not been asked and answered. Every           12     A Yes, to any claim known and unknown. I
                                                                                         13 time I've asked it, there has been a different             13 mean, that -- the history of Highland over the
                                                                                         14 qualification. I'm going to explore this until I           14 last 15 years is resolution of a dispute is not
                                                                                         15 get a direct answer, okay? I'm going to ask you            15 necessarily as much resolution as we thought it
                                                                                         16 not to keep objecting "asked and answered." I              16 was. You know, like I said, UBS -- we thought we
                                                                                         17 will show that clip to the judge, and it's -- I            17 had them settled in '08 and then we paid again in
                                                                                         18 can't stop Mr. Dondero from qualifying things, but         18 2015, and you're back again, right? And then
                                                                                         19 I'm allowed to keep asking until I get an answer           19 Redeemer, we settled with them in 2015, all kinds
                                                                                         20 to my question.                                            20 of accolades and whatever, and then they came back
                                                                                         21        MR. TAYLOR: Andy, here is just                      21 to us with arbitration and award and forced us
                                                                                         22 something for your consideration. You keep on              22 into bankruptcy on the same issues, you know.
                                                                                         23 throwing in the word "any" --                              23         So it's -- the settlements that we had
                                                                                         24        MR. CLUBOK: I understand. I've asked                24 with Barclays, the settlements that we had with
                                                                                         25 different questions, and I'm getting closer to             25 Citibank all could have potentially come back
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                                                                                         1 similarly because their settlements touched HFP            1      A That's my recollection.
                                                                                         2 also, just like your guy's settlements touched             2      Q And that's -- did you ever look at the
                                                                                         3 HFP.                                                       3 assets that were transferred?
                                                                                         4      Q I'm going to ask you to please listen               4      A No.
                                                                                         5 to the questions I ask and answer the questions            5      Q Did you ever review the fair market
                                                                                         6 that I ask, if you can.                                    6 value of the assets that were transferred to buy
                                                                                         7          Are you saying that when you signed off           7 this policy?
                                                                                         8  on this  $100 million insurance policy, you               8      A No. That is how it was presented to
                                                                                         9 believed that it would cover any liability from            9 me, that it was 70 or 80 million of fair market
                                                                                         10 any source against HFP going forward, known or            10 value.
                                                                                         11 unknown?                                                  11     Q Presented to you by Scott Ellington?
                                                                                         12     A That was my belief that it was -- the               12     A Yes.
                                                                                         13 business purpose was primarily, yes, a transition         13     Q Okay. And when you approved that
                                                                                         14 policy.                                                   14 transaction -- I'm trying to figure out what you
                                                                                         15     Q And so, from the time that you signed               15 believed you were buying with all those assets
                                                                                         16 this policy through today, if HFP or any of its           16 that you were moving from one affiliated entity to
                                                                                         17 affiliates have any legal liability, your                 17 another, okay. And by the way, was it an arm's
                                                                                         18 expectation is that it would be covered by this           18 length transaction?
                                                                                         19 $100 million policy, correct?                             19     A Yeah, I -- ultimately getting it
                                                                                         20     A I didn't sign the policy, and the                   20 through   compliance and the regulators, I think
                                                                                         21 insurance policy, whatever it says, it says, and          21 that's one of the standards that compliance and
                                                                                         22 who it covers under what circumstances it will            22 the regulators use, is that it's a
                                                                                         23 cover or dispute, but I don't know the specifics.         23 market-structured -- a market-level transaction.
                                                                                         24     Q Okay. Mr. Dondero, so first of all --               24 That's the whole purpose of compliance when you
                                                                                         25     A The answer is I don't know. If you                  25 have affiliated entities.
                                                                                                                                                106                                                           108
                                                                                         1 don't like my clarifier, then my answer is I don't         1      Q Did you make any effort to ensure that
                                                                                         2 know.                                                      2 it was an arm's length transaction or the
                                                                                         3       Q Well, my questions have been from the              3 equivalent of an arm's length transaction?
                                                                                         4 beginning, when you signed off -- first of all,            4      A No. Again, that would have been the
                                                                                         5 you claim you didn't sign the policy, right?               5 responsibility of compliance and the regulators.
                                                                                         6       A I don't believe I did, no.                         6      Q Did you ever do a market test to see
                                                                                         7       Q Okay. But you at least know that you               7 what the fair market value of the assets were?
                                                                                         8 signed off on the policy. You authorized it to be          8      A I did not, but I'm very comfortable
                                                                                         9 signed, correct?                                           9 organizationally the fair market values at any
                                                                                         10      A Yes.                                               10 point in time are accurate and that's been proven
                                                                                         11      Q Okay. And when you authorized the                  11 for 15 years.
                                                                                         12 signing of a policy for $100 million and the              12     Q Sorry, the fair market values that
                                                                                         13 transfer of roughly that amount or more in assets         13 Highland retains on its books are accurate?
                                                                                         14 from other affiliated entities --                         14     A Very accurate. They are robustly
                                                                                         15        MR. TAYLOR: Object to that                         15 tested, verified, generally third parties. They
                                                                                         16 characterization of the evidence.                         16 are documented. I'm very comfortable our fair
                                                                                         17      Q Okay. Well, would you agree that over              17 market values on liquid, less liquid, and illiquid
                                                                                         18 $100 million in fair market value was transferred         18 securities, whatever buckets 1, 2 and 3, are
                                                                                         19 to Sentinel Re in consideration for this policy?          19 accurate.
                                                                                         20      A My recollection is it was between 70               20     Q So if the documents --
                                                                                         21 and 80.                                                   21        MR. CLUBOK: Strike that.
                                                                                         22      Q You said before -- you think the total             22     Q So where would we go to find documents
                                                                                         23 fair market value of the assets transferred to            23 that reflect the fair market values of the assets
                                                                                         24 Sentinel Reinsurance for this policy was between          24 that were transferred at the time of the
                                                                                         25 70 and 80 million dollars?                                25 transfers?
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                                                                                                                                   Transcript of James Dondero                                    28 (109 to 112)

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                                                                                                                                                109                                                           111
                                                                                         1      A That would all be at Highland.                      1 liability with respect to other entities other
                                                                                         2      Q Where?                                              2 than UBS, Barclays, Citibank that we have not
                                                                                         3      A We keep detailed valuation records                  3 specifically mentioned?
                                                                                         4 going back 20 years.                                       4      A Yeah, or tax authorities or -- yes. I
                                                                                         5      Q In what system?                                     5 mean, that just -- that was part and parcel of it,
                                                                                         6      A I don't know.                                       6 but, again, the terms of the payouts and the -- I
                                                                                         7      Q Who would know?                                     7 have no knowledge of. And I don't know if they
                                                                                         8      A I don't think Highland could be                     8 are specifically addressed or ignored. I don't
                                                                                         9 compliant as a registered investment advisor and           9 know how UBS is handled in the policy. I do not
                                                                                         10 not be able to produce those to you.                      10 have detailed knowledge on the specifics.
                                                                                         11     Q Who would be able to most easily get                11     Q When was the last time you thought
                                                                                         12 those documents, if they are still there, if you          12 about the policy before you got the -- before you
                                                                                         13 know?                                                     13 heard about this adversary proceeding?
                                                                                         14     A DSI is functioning as the back office               14     A I hadn't thought about it at all. I
                                                                                         15 of Highland, as far as I understand it.                   15 wasn't even sure the New York action applied,
                                                                                         16     Q And there would have been fair market               16 honestly.
                                                                                         17 values for each of the assets that were                   17     Q Other than legal liability for either
                                                                                         18 transferred to pay for the insurance policy?              18 attorneys' fees or bad outcomes of litigation, you
                                                                                         19     A Yes.                                                19 have repeatedly used a phrase about "liquidity for
                                                                                         20     Q And we could rely on those fair market              20 transition." I'm trying to understand,
                                                                                         21 values in the Highland books if we wanted to know         21 specifically under what circumstances did you
                                                                                         22 the fair market value of the assets that were             22 think Sentinel Re would ever pay money to handle
                                                                                         23 transferred?                                              23 something that was not lawyer fees or legal
                                                                                         24     A I believe so.                                       24 liability under this policy?
                                                                                         25     Q So when you -- getting back to what you             25     A Well, lawyers' fees, essentially, you
                                                                                                                                                110                                                           112
                                                                                         1 knew at the time, you approved this transaction.           1 know, any other operating or regulatory costs or
                                                                                         2      A Right.                                              2 defenses, and then bona fide settlements and then,
                                                                                         3      Q Did you believe that you were                       3 you know, but -- Andy, I know you know the
                                                                                         4 purchasing liability insurance for all known and           4 insurance world. Bona fide settlements are --
                                                                                         5 unknown claims of Highland Financial Partner and           5 bona fide settlements are getting paid on a
                                                                                         6 its subsidiaries?                                          6 more -- that's a whole industry subset of its own,
                                                                                         7          MR. TAYLOR: Objection to the form of              7 you know.
                                                                                         8 the question.                                              8      Q We'll come back to that. What do you
                                                                                         9      A I didn't have specific knowledge beyond             9 mean by "operating or regulatory costs"? What
                                                                                         10 that it was a transition policy to cover -- to            10 does that mean?
                                                                                         11 provide the liquidity and the management necessary        11     A If there's any regulatory costs for
                                                                                         12 to deal with the conflicts and then probably net          12 operating   in the Caymans, if there is any, like I
                                                                                         13 of those amounts to provide some amounts of               13 said, tax questions on -- or challenges on the
                                                                                         14 liability insurance given certain circumstances or        14 worthlessness deduction when HFP was unwound, I --
                                                                                         15 certain events.                                           15 you know, all those kinds of things.
                                                                                         16     Q Did you believe that you were buying                16     Q You believe that this policy you're
                                                                                         17 liability insurance with respect to the Barclays          17 buying would pay for costs associated with
                                                                                         18 claims that were known or unknown at the time?            18 challenges to the worthless tax deduction that you
                                                                                         19     A Generally, yes.                                     19 took when HFP was declared insolvent?
                                                                                         20     Q Did you believe you were buying legal               20     A Again, I believe there was a transition
                                                                                         21 liability insurance with respect to the Citibank          21 policy. That's how it was presented to me.
                                                                                         22 claims against HFP and its subsidiaries that were         22     Q Are you saying that you believe the
                                                                                         23 known or unknown at the time?                             23 policy that you approved buying, that we have been
                                                                                         24     A Generally, yes.                                     24 discussing today, was expected to pay costs
                                                                                         25     Q Did you believe you were buying legal               25 associated with challenges to the worthless tax
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                                                                                                                                      Transcript of James Dondero                                  29 (113 to 116)

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                                                                                         1 deduction that you took when HFP was declared               1 that.
                                                                                         2 insolvent?                                                  2      Q You remember that you were -- maybe
                                                                                         3      A Yes.                                                 3 without knowing the specific numbers, you remember
                                                                                         4      Q And did Sentinel Re ever pay any costs               4 you faced significant consequences if the
                                                                                         5 associated with that worthless tax deduction that           5 worthless tax deduction you took in connection
                                                                                         6 you took?                                                   6 with HFP was disallowed by the IRS, correct?
                                                                                         7      A I do not know. The administering of                  7         MR. TAYLOR: Same objections.
                                                                                         8  the policy and the payment of expenses and legal           8      A   Yeah, I have no awareness of that,
                                                                                         9 fees, Scott Ellington would have an awareness of            9 Andy. And, listen, the way I understand worthless
                                                                                         10 that. I do not.                                            10 deductions is it's really a declaration at a time
                                                                                         11     Q By the way, that worthless tax                       11 and point that the entity is worthless and no
                                                                                         12 deduction provided a significant tax benefit to            12 longer exists, okay, as a functioning entity. If
                                                                                         13 you personally, correct?                                   13 the tax authorities overturn that position, it
                                                                                         14     A I don't know. I wasn't a majority                    14 doesn't mean you never get that tax deduction for
                                                                                         15 owner in HFP. "A significant tax" -- it was a              15 the loss that's occurred. It just means you get
                                                                                         16 complete wipeout economically, and there was               16 it later.
                                                                                         17 some -- but those are bona fide -- the                     17        So it's not -- it's a timing issue more
                                                                                         18 worthlessness deduction for a dead entity is a             18 than anything else. And, again, it's in no way
                                                                                         19 bona fide -- it's a bona fide tax deduction, it's          19 improper, but I don't remember it being a decision
                                                                                         20 a bona fide policy. But a lot of times the IRS             20 variable as you're describing it.
                                                                                         21 questions it. It doesn't mean that it was in any           21     Q You knew that everyone who was
                                                                                         22 way inappropriate.                                         22 potentially going to be impacted, if the worthless
                                                                                         23     Q But if UBS had lost its litigation                   23 tax deduction was disallowed, would potentially
                                                                                         24 against HFP and its subsidiaries, that worthless           24 have a claim directly against you as the decision
                                                                                         25 tax deduction would have had to be reversed,               25 maker of HFP; is that true?
                                                                                                                                                 114                                                          116
                                                                                         1 correct?                                                    1      A No, that's not true.
                                                                                         2      A I have no knowledge or awareness of                  2      Q Scott Ellington repeatedly warned you
                                                                                         3 that.                                                       3 that there would be significant tax consequences
                                                                                         4      Q You were told specifically that there                4 if the worthless tax deduction were to be
                                                                                         5 would be a significant tax liability for you and            5 disallowed by the IRS, correct?
                                                                                         6 others if HFP and its subsidiaries were to prevail          6          MR. TAYLOR: Object to the form of the
                                                                                         7 in the New York litigation against UBS; isn't that          7 question.
                                                                                         8 true?                                                       8      A I don't remember that, Andy. And just
                                                                                         9      A I don't remember that at all.                        9 because you're a tax partner doesn't make you
                                                                                         10     Q You remember that you were on the hook               10 liable. You do things in good faith, and it ends
                                                                                         11 for over $50 million personally if that worthless          11 up being a timing issue and the IRS delays the
                                                                                         12 tax deduction was overturned by the IRS, correct?          12 deduction. That doesn't necessarily -- that
                                                                                         13        MR. TAYLOR: Objection to the form.                  13 doesn't necessarily create any liability.
                                                                                         14     A I have no specific knowledge on any of               14     Q Scott Ellington repeatedly warned you
                                                                                         15 this, Andy.                                                15 that if HFP were to win the litigation against
                                                                                         16     Q I should say --                                      16 UBS, there would be significant tax consequences,
                                                                                         17     A You can refresh --                                   17 correct?
                                                                                         18     Q -- you remember that you were on the                 18         MR. TAYLOR: Object to the form of the
                                                                                         19 hook for over $50 million personally if the                19 question.
                                                                                         20 worthless tax deduction was disallowed by the IRS,         20     A I don't remember any of that, Andy.
                                                                                         21 correct?                                                   21     Q Scott Ellington tried to get you to
                                                                                         22        MR. TAYLOR: Objection. Lack of                      22 settle the UBS case many times, right?
                                                                                         23 foundation and calls for speculation.                      23     A I -- I mean, again, I remember the
                                                                                         24     A I don't have a -- you can try and                    24 August '19 stuff. I don't remember many times
                                                                                         25 refresh me on it, but I have no recollection of            25 before that. I don't remember a bid ask before
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                                                                                                                                    Transcript of James Dondero                                 30 (117 to 120)

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                                                                                         1 that.                                                       1      Q Well, do you know who the DAF owes that
                                                                                         2      Q Is the DAF -- the DAF is a                           2  $32  million to today?
                                                                                         3 donor-advised fund?                                         3      A No, I do not.
                                                                                         4      A Yes.                                                 4      Q You have no clue whatsoever as to
                                                                                         5      Q And it's a charitable fund that you                  5 where -- as to who is the current holder of that
                                                                                         6 established?                                                6 $32 million note; is that correct?
                                                                                         7      A Yes.                                                 7      A I do not. I'm willing to be refreshed,
                                                                                         8      Q Roughly how much does it have in assets              8  but I don't know. I don't remember.
                                                                                         9 right now?                                                  9      Q Who is responsible for making payments
                                                                                         10        MR. TAYLOR: Andy, that's not at all an              10 on behalf of the DAF of that $32 million note?
                                                                                         11 appropriate line of questioning, and he does not           11     A The -- I don't know, the DAF trustee, I
                                                                                         12 have to answer it.                                         12 guess.
                                                                                         13        MR. CLUBOK: It is, and I'll link it up              13     Q Who is the DAF trustee?
                                                                                         14 here in a second.                                          14     A Grant Scott.
                                                                                         15     Q It certainly has -- well, let me put it              15     Q And does Grant Scott have full
                                                                                         16 this way: You know that HFP and CDO Fund                   16 authority to pay off that $32 million note?
                                                                                         17 collectively had a $32 million note payable from           17     A I believe ultimately.
                                                                                         18 DAF that it transferred to Sentinel as part of             18     Q Do you have any say in the matter?
                                                                                         19 purchasing the insurance policy; isn't that true?          19     A I think we're investment advisor for
                                                                                         20     A I believe there is a note in there from              20 the DAF.
                                                                                         21 the DAF of 32 millionish, but I don't remember how         21     Q Who is "we" in that sentence?
                                                                                         22 it got there.                                              22     A I believe -- that's a good question.
                                                                                         23     Q And did the DAF have enough money to                 23 Probably Sky -- probably SkyBridge, I'm guessing,
                                                                                         24 pay that $32 million?                                      24 has a shared services asset management agreement
                                                                                         25     A It doesn't have the liquidity, but it                25 with the DAF, replacing what used to be done by
                                                                                                                                                 118                                                         120
                                                                                         1 has more than 100 million in assets at this point.          1 Highland.
                                                                                         2      Q Okay. The DAF has more than                          2      Q When was that?
                                                                                         3 $100 million in assets. Has it made any payments            3      A That started when everybody moved --
                                                                                         4 on this $32 million note?                                   4 well, Seery terminated all the agreements, I
                                                                                         5      A I do not know.                                       5 think, at the end of February. When everybody
                                                                                         6      Q Who owns the $32 million note now?                   6 moved over here at the end of February or March,
                                                                                         7      A I do not know.                                       7 the bank and the DAF and other entities redid
                                                                                         8      Q It was held by HFP and CDO Fund                      8 their shared services agreements with SkyBridge.
                                                                                         9 previously, correct?                                        9      Q And you control SkyBridge, correct?
                                                                                         10        MR. CLUBOK: Strike that.                            10     A No, I do not.
                                                                                         11     Q It was held by either HFP or CDO Fund                11     Q What ownership do you have in
                                                                                         12 prior to the Sentinel Reinsurance policy purchase,         12 SkyBridge?
                                                                                         13 correct?                                                   13     A I believe at the moment it's zero and
                                                                                         14     A I believe so.                                        14 we're trying to figure out how best to construct
                                                                                         15     Q And you understand that it was                       15 the ownership there.
                                                                                         16 transferred to Sentinel Reinsurance as part of the         16     Q Who owns SkyBridge?
                                                                                         17 insurance policy, correct?                                 17     A The employees at the moment.
                                                                                         18     A It would make sense that that would                  18     Q Which employees?
                                                                                         19 have been part of the illiquid securities or               19     A I don't know. We're doing an
                                                                                         20 illiquid asset bucket.                                     20 organizational restructure analysis of how that
                                                                                         21     Q And you know it has been transferred                 21 entity should be held. And I haven't seen the
                                                                                         22 since, right?                                              22 final recommendation yet.
                                                                                         23     A I don't have -- I don't have the                     23     Q Who is controlling SkyBridge today?
                                                                                         24 specific knowledge to be helpful here, Andy. I             24     A I -- I don't know. I don't know how
                                                                                         25 don't know.                                                25 much of it is -- it's some combination of Frank
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                                                                                                                                      Transcript of James Dondero                                  31 (121 to 124)

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                                                                                         1 Waterhouse and -- some combination of Frank                 1 all for legal liability insurance, after the event
                                                                                         2 Waterhouse, J.P., probably Isaac and Ellington,             2 insurance or judgment insurance?
                                                                                         3 but I don't want to say for sure Isaac and                  3      A I know they evaluated a lot of the
                                                                                         4 Ellington because I don't know.                             4 policies. I didn't have knowledge of the specific
                                                                                         5      Q And you are saying that you have no say              5 alternative policy that was done like this. I did
                                                                                         6 whatsoever in SkyBridge as of today?                        6 not.
                                                                                         7      A Other than as a client, I'm not an                   7      Q And did you know they had ever
                                                                                         8  owner.                                                     8  evaluated  a legal liability insurance policy, an
                                                                                         9      Q What do you mean, "other than as a                   9 after the event policy or a judgment insurance
                                                                                         10 client"?                                                   10 policy prior to the time they issued this
                                                                                         11     A Well, other than as -- I'm the chairman              11 $100 million policy that you authorized?
                                                                                         12 of NexBank and NexBank is a client, and I'm the            12     A Yes, I believe they have and they do to
                                                                                         13 president of NextPoint and NextPoint is a client.          13 this day.
                                                                                         14     Q Does SkyBridge have full authority to                14     Q Okay, but I didn't ask you about this
                                                                                         15 make a decision as to whether and if or when the           15 day. Stay with me on the questions. It's back in
                                                                                         16 DAF pays off the $32 million note that used to be          16 2017. When you approved the policy, name one
                                                                                         17 held by HFP and CDO Fund?                                  17 policy that they had ever evaluated that was a
                                                                                         18     A I don't know. I don't know -- I don't                18 legal liability policy, an after the event policy
                                                                                         19 know where the responsibilities begin and end on           19 or a judgment insurance policy prior to the time
                                                                                         20 the asset management agreement.                            20 that they issued this $100 million policy that you
                                                                                         21     Q So this is a long detour from when I                 21 authorized in August 2017?
                                                                                         22 first asked you about Sentinel and whether they            22     A I wouldn't have specific knowledge, but
                                                                                         23 had ever issued any other legal liability                  23 I believe they were -- or they did evaluate
                                                                                         24 insurance policies or after -- let me ask it this          24 others.
                                                                                         25 way: I will represent to you that this policy has          25     Q Based on what?
                                                                                                                                                 122                                                           124
                                                                                         1 sometimes been called a legal liability insurance           1      A Their high awareness of this kind of
                                                                                         2 policy, sometimes it has been called an after the           2 policy, how to structure it, how to get it through
                                                                                         3 event policy, sometimes it's been called a                  3 the regulators, how to get it through compliance,
                                                                                         4 judgment insurance policy.                                  4 et cetera. Because I think they had reviewed and
                                                                                         5         I'm going to say other than this policy             5 looked at numerous other policies that were like
                                                                                         6  that we  have been discussing today, has Sentinel          6 this policy.
                                                                                         7 Reinsurance ever issued any policy that you would           7      Q But as far as you know, they never
                                                                                         8 characterize as a legal liability insurance                 8 issued one like this policy before then, correct?
                                                                                         9 policy, an after the event policy or a judgment             9      A I don't know.
                                                                                         10 insurance policy?                                          10     Q And as far as you know, you're unaware
                                                                                         11     A I don't know.                                        11 of them ever actually issuing a policy like this
                                                                                         12     Q When you authorized the issuance --                  12 one prior to this policy being issued, correct?
                                                                                         13        MR. TAYLOR: Andy, can you come to a                 13     A Correct. I don't have specific
                                                                                         14 logical stopping point? We're going to have to             14 awareness.
                                                                                         15 hop off here really soon and get relogged in to            15     Q And you before had said that you
                                                                                         16 the court system.                                          16 believe there had been a title insurance policy of
                                                                                         17        MR. CLUBOK: Yeah, that's fine. I'll                 17 up to $65 million that was issued that at least
                                                                                         18 go no more than about five minutes or so and I'll          18 they had some role in. Are you saying that that
                                                                                         19 find a logical stopping and we'll take a break,            19 was before August '17, that $65 million title
                                                                                         20 maybe five or ten, but not ten to eleven -- five           20 insurance policy you mentioned before? Or do you
                                                                                         21 to seven, or less.                                         21 know?
                                                                                         22     Q Mr. Dondero, when you authorized the                 22     A I don't remember the dates, but it --
                                                                                         23 issuance  of this policy for $100 million, at that         23 it was -- it was on or around that time because it
                                                                                         24 time in your head, were you aware of Sentinel              24 was -- it was a significant number of years ago.
                                                                                         25 Reinsurance ever previously issuing any policy at          25     Q What was the premium for that
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                                                                                                                                      Transcript of James Dondero                                  32 (125 to 128)

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                                                                                         1 $65 million title insurance policy roughly?                 1 the day-to-day to know.
                                                                                         2       A I don't know. A few million -- a                    2         MR. CLUBOK: Okay. Let's go ahead and
                                                                                         3 couple few million bucks. Oh, no, wait a minute.            3 take our break now. Let's convene five minutes
                                                                                         4 I'm sorry. Excuse me. Let me -- it was a                    4 after the Court breaks. Does that work, Clay?
                                                                                         5 $65 million premium. It was on the Cheniere                 5         MR. TAYLOR: Sure. Let's go off the
                                                                                         6 facility in Houston. It was a                               6 record.
                                                                                         7 multi-billion-dollar title policy on their                  7         MR. CLUBOK: Oh, sure.
                                                                                         8 $12 billion facility outside Houston. The premium           8         THE VIDEOGRAPHER: Off record. 2:22.
                                                                                         9 was 65 million, and we shared in some of the                9         (A recess was taken.)
                                                                                         10 premium with some other reinsurance companies, but         10        THE VIDEOGRAPHER: On record. 4:35.
                                                                                         11 the gross amount was in the billions.                      11        (Deposition Exhibit 25 marked for
                                                                                         12      Q Roughly how much of the 65 million                  12 identification.)
                                                                                         13 premium went to Sentinel Reinsurance, roughly?             13 BY MR. CLUBOK:
                                                                                         14      A I don't know. But for each dollar of                14     Q Mr. Dondero, we're about to show you a
                                                                                         15 premium, it was probably 20 times as much title            15 document that's been marked as Exhibit 25. It is
                                                                                         16 insurance face.                                            16 a document that has got "Sentinel Reinsurance,
                                                                                         17      Q Okay. But what was the face of the                  17 LTD" at the top, and it's a cover letter that
                                                                                         18 title insurance that Sentinel Reinsurance issued?          18 says, "Via e-mail" and attaches -- what the cover
                                                                                         19 I'm not asking what all the other insurers or              19 e-mail says are "the revised unaudited financial
                                                                                         20 reinsurers --                                              20 statements of Sentinel Reinsurance as of, and for
                                                                                         21      A I don't know.                                       21 the year ended, December 31, 2016."
                                                                                         22      Q My original question to you was, prior              22        MR. TAYLOR: We can't see that.
                                                                                         23 to issuing this $100 million face value policy,            23        MR. CLUBOK: I understand. We're going
                                                                                         24 were you aware of any other policy that Sentinel           24 to make it more accessible here, hopefully. Okay.
                                                                                         25 Re had issued with a liability of at least                 25     Q Can you see the first page now of
                                                                                                                                                 126                                                          128
                                                                                         1 10 million? You mentioned the 65 one, but now               1 Exhibit 25?
                                                                                         2 you're saying you don't really know how much of it          2      A Yes.
                                                                                         3 was Sentinel Re. So I'm just asking you to be --            3      Q And Exhibit 25 is a document. It's
                                                                                         4 to name any policy that you actually are aware of,          4 entitled "Sentinel Reinsurance LTD." It's a
                                                                                         5 or tell us that you're not really aware of any,             5 letter that on its face says was sent via e-mail
                                                                                         6 that were for more than $10 million that Sentinel           6 to Mr. J.P. Sevilla at SAS Asset Recovery Limited
                                                                                         7 Re had issued prior to issuing this $100 million            7 from Peter Kranz, CPA, at Beecher Carlson
                                                                                         8 policy that you approved in August of 2017.                 8 Insurance Services, LLC, as Manager for Sentinel
                                                                                         9      A I'm going to stay with the Cheniere                  9 Reinsurance, Limited.
                                                                                         10 title policy as my answer, but I don't know the            10        Do you see that?
                                                                                         11 specifics.                                                 11     A Yes.
                                                                                         12     Q And you have no idea how much of that                12     Q Now, first of all, you know who J.P.
                                                                                         13 Cheniere title policy was on Sentinel Re's hands,          13 Sevilla is, right?
                                                                                         14 correct?                                                   14     A Yes.
                                                                                         15     A Correct.                                             15     Q In August 2017 he worked at Highland
                                                                                         16     Q And do you know that that was issued                 16 Capital Management?
                                                                                         17 prior to August 2017?                                      17     A Yes.
                                                                                         18     A I believe on or about, but I don't know              18     Q And he wore several hats, I take it,
                                                                                         19 the dates.                                                 19 for different entities?
                                                                                         20     Q Is there any other example you can                   20     A Yes.
                                                                                         21 think of that even might be a policy that would be         21     Q And one of them was for an entity
                                                                                         22 10 million or more than Sentinel Re has ever               22 called SAS Asset Recovery Limited?
                                                                                         23 issued other than potentially its involvement in           23     A I can't say for sure whether he worked
                                                                                         24 the Cheniere title insurance?                              24 there or not or was just providing services. I
                                                                                         25     A I -- no, I wasn't involved enough in                 25 don't know.
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                                                                                         1      Q Was there a shared services agreement                1 that's -- like I was saying, I don't know if he's
                                                                                         2  between  SAS Asset Recovery Limited and Highland           2 representing SAS. I don't know if it's -- I don't
                                                                                         3 Capital Management?                                         3 know what SAS -- I don't know what Sentinel's
                                                                                         4      A Yes. I mean, it might not have been                  4 relationship or shared services with SAS is. I
                                                                                         5 formal but either informal or formal, but it was            5 don't know if Sentinel owns a piece of SAS. I
                                                                                         6 one of the entities that I believe Highland                 6 don't know the ownership structure and I don't
                                                                                         7 provided services for.                                      7 know what hat J.P. is wearing when he's, you know,
                                                                                         8      Q Do you have an ownership stake in SAS                8 part of this correspondence.
                                                                                         9 Asset Recovery Limited?                                     9      Q Were the activities of SAS Asset
                                                                                         10     A I don't believe so.                                  10 Recovery Limited known to those at Highland
                                                                                         11     Q What is SAS Asset Recovery Limited?                  11 Capital Management?
                                                                                         12     A I think they primarily do litigation                 12     A They would be known to Scott Ellington.
                                                                                         13 financing. Litigation financing, litigation joint          13 I don't know who else besides Scott Ellington
                                                                                         14 venture stuff around the -- around the world.              14 would know the cases that SAS was involved in.
                                                                                         15     Q Who owns SAS Asset Recovery Limited?                 15     Q How do you know that Scott Ellington
                                                                                         16 Or who is the beneficial owner of it, I should             16 would know about SAS Asset Recovery?
                                                                                         17 say.                                                       17     A It was one of the entities he was
                                                                                         18     A I don't know.                                        18 responsible for.
                                                                                         19     Q You have no idea whatsoever as you sit               19     Q How do you know that?
                                                                                         20 here today?                                                20     A I -- I just know it.
                                                                                         21     A Yes, that's correct.                                 21     Q You were -- did you know when SAS was
                                                                                         22     Q Isn't it true that --                                22 set up?
                                                                                         23     A I would -- let me just say that it's                 23     A No.
                                                                                         24 something you could put on the list for us to get          24     Q So do you know anything else about SAS
                                                                                         25 you that information, if it's appropriate for us           25 Asset Recovery other than Scott Ellington was
                                                                                                                                                 130                                                          132
                                                                                         1 to get you that information, but I don't know the           1 involved in it and it was a litigation funder, as
                                                                                         2 answer.                                                     2 far as you know?
                                                                                         3       Q Who would know the answer?                          3      A Yeah, I mean, that's really all I know
                                                                                         4       A I don't know, but I would find out.                 4 about it.
                                                                                         5       Q You have absolutely no idea who has any             5      Q Did you ever receive the financial
                                                                                         6  ownership   interest in SAS Capital -- SAS Asset           6  statements   of Sentinel Reinsurance?
                                                                                         7 Recovery Limited; is that what you're saying?               7      A No. I'm curious what -- when you flip
                                                                                         8       A Correct. It was a complex structure,                8 the page, I'm curious what it's going to say. But
                                                                                         9 and I don't remember how it shook out at the end            9 this was early -- earlier on, I guess.
                                                                                         10 of the day. But like I said, I'm not being                 10     Q So -- all right. Let's flip the page.
                                                                                         11 evasive. If it's -- you know, give us some time.           11 The second page of Exhibit 25 is the table of
                                                                                         12 If it's appropriate for us to give you the answer,         12 contents. The next page, which is also Bates
                                                                                         13 we can get the answer. I just don't know.                  13 labeled, ending with the digits 1069, is the
                                                                                         14      Q Did you ever have any control over SAS              14 Sentinel Reinsurance, Limited, Management
                                                                                         15 Asset Recovery Limited in any way?                         15 Discussion and Analysis, dated December 31st,
                                                                                         16      A I don't believe so. I don't know                    16 2016, or, I suppose, as of December 31st, 2016.
                                                                                         17 throughout its history, but I don't believe so.            17         MR. TAYLOR: Andy, could you blow that
                                                                                         18      Q Was Scott Ellington a beneficial owner              18 up a little? It's a little bit hard for us to see
                                                                                         19 of SAS Asset Recovery Limited?                             19 here.
                                                                                         20         MR. TAYLOR: Objection. Form.                       20     Q Can you see it, Jim?
                                                                                         21      A I don't know.                                       21     A It's tough. My vision is not so good
                                                                                         22      Q Why would SAS Asset Recovery Limited                22 either.
                                                                                         23 have  been getting the unaudited financial                 23     Q Is that better?
                                                                                         24 statements of Sentinel Reinsurance?                        24     A That's better, yeah.
                                                                                         25      A I don't know. I don't know if                       25     Q Okay. And you can see that it says
                                                                                                                                       PLANET DEPOS
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                                                                                                                                    Transcript of James Dondero                                     34 (133 to 136)

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                                                                                                                                                 133                                                           135
                                                                                         1 that "For the 12 months ended December 31st, 2016           1       Q When you approved the $100 million
                                                                                         2 and 2015, Sentinel Reinsurance, Limited had pretax          2  policy  in August 2017, did you know what the
                                                                                         3 income of $4.2 million and $5.1 million,                    3 balance sheet of Sentinel Reinsurance, Limited
                                                                                         4 respectively." Do you see that?                             4 showed?
                                                                                         5      A Yep.                                                 5       A No.
                                                                                         6      Q Did you know that Sentinel Insurance's               6       Q You can see from this document that it
                                                                                         7 pretax income for the years 2016 and 2015 were              7 reports that as of the end of 2016, the cash and
                                                                                         8 approximately a little over 4 million and a little          8 investments totaled $5.9 million.
                                                                                         9 over 5 million, respectively?                               9       A Yes.
                                                                                         10     A I did not.                                           10      Q And you see that there was unearned
                                                                                         11     Q It says the capital and surplus at the               11 premiums of about 1.2 million as of the end of the
                                                                                         12 end of 2016 was about 17.6 million. Do you see             12 year 2016, right?
                                                                                         13 that?                                                      13      A Yes.
                                                                                         14     A Yes.                                                 14      Q Were you aware of any of that
                                                                                         15     Q Did you know that?                                   15 information when you signed off on the
                                                                                         16     A No, I did not.                                       16 $100 million insurance policy that has been the
                                                                                         17     Q Did you have any idea about the income               17 subject of today's discussion?
                                                                                         18 or capital and surplus levels at Sentinel                  18      A No.
                                                                                         19 Reinsurance ever?                                          19      Q Did you -- I'm flipping the next page,
                                                                                         20     A No.                                                  20 which   says, "Sentinel Reinsurance, Limited,
                                                                                         21     Q Do you have somebody in your life who                21 Financial Statements" as of December 31st, 2016.
                                                                                         22 would manage an investment like Sentinel                   22 And then on the next page -- I'll scroll down a
                                                                                         23 Reinsurance, Limited for you, that you had a               23 little so you can see it more easily -- it shows
                                                                                         24 70 percent stake in?                                       24 the balance sheets as of December 2016 and
                                                                                         25     A Scott Ellington.                                     25 December 2015. Do you see that?
                                                                                                                                                 134                                                           136
                                                                                         1      Q Okay. It's entirely Scott Ellington                  1      A Yep.
                                                                                         2 who's responsible for managing Sentinel                     2      Q And do you see where it says
                                                                                         3 Reinsurance and monitoring it?                              3 "Shareholders' Total Equity," and breaks it down
                                                                                         4      A Yes.                                                 4 from contributed surplus, unrealized loss,
                                                                                         5      Q And he's always had that role since its              5 et cetera, and then Total Shareholders' Equity.
                                                                                         6  founding?                                                  6 Do you see that?
                                                                                         7      A Yes.                                                 7      A Yes.
                                                                                         8      Q And is there any one else at all you                 8      Q Does that in any way help you remember
                                                                                         9 know that's involved in Sentinel Reinsurance,               9 roughly how much you invested in Sentinel
                                                                                         10 Limited, other than Scott Ellington?                       10 Reinsurance that narrows the range from 1 to
                                                                                         11     A Not that I'm aware of. If there is, he               11 200 -- sorry, from 1 to 125 million dollars, as
                                                                                         12 would   know.                                              12 you previously testified?
                                                                                         13     Q Did Scott Ellington ever report                      13     A I -- is that -- is that what you're
                                                                                         14 anything about the financials of Sentinel                  14 asking me, is 20 or 30 million dollars between 1
                                                                                         15 Reinsurance to you in any way?                             15 and 100? Yeah, but I didn't know these numbers
                                                                                         16     A I mean, sometimes he would verbally                  16 specifically.
                                                                                         17 talk about it, but -- you know, like the                   17     Q No, I previously asked you how much you
                                                                                         18 transaction we were discussing earlier. But other          18 invested in Sentinel Reinsurance, and you said you
                                                                                         19 than that, there wasn't a formal reporting process         19 didn't really know other than it was somewhere in
                                                                                         20 or -- or I wasn't in the loop on documentation             20 the range of 1 to 125 million dollars. And I'm
                                                                                         21 such as this.                                              21 wondering if, by looking at this balance sheet, it
                                                                                         22     Q Did you ever in your life see a                      22 in any way refreshes your recollection or allows
                                                                                         23 document   that referred to Sentinel Reinsurance,          23 you to better narrow the range of how much you
                                                                                         24 Limited?                                                   24 invested in Sentinel Reinsurance.
                                                                                         25     A I don't believe so.                                  25     A I don't -- was it started in this year?
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                                                                                                                                     Transcript of James Dondero                                   35 (137 to 140)

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                                                                                         1 Was it started in '15? I mean, I don't know when            1 see that?
                                                                                         2 exactly it started, but it's looking like there             2      A Yep.
                                                                                         3 was -- it looks like it was worth 20-odd million            3      Q Any of this ring a bell at all?
                                                                                         4 dollars. I don't understand the dividend lines,             4      A Nope.
                                                                                         5 though. I will say that. I don't remember ever              5      Q But you would expect Scott Ellington
                                                                                         6 getting a dividend out of Sentinel.                         6 would know all about this?
                                                                                         7      Q Would you have records to show whether               7      A Yes.
                                                                                         8  or not  you ever received a dividend from Sentinel?        8      Q And there is no other human being that
                                                                                         9      A I mean, I would know if I did. I don't               9 you can identify who you would expect to know
                                                                                         10 know if Sentinel was part of a holding company or          10 about this?
                                                                                         11 something. Maybe there's a holding company above           11     A No. Yeah, but again, you know, to the
                                                                                         12 this. But I can say for sure -- I can say for              12 extent that Scott needed help or access to other
                                                                                         13 sure I never received 70 percent of 11.5 or 4.0.           13 people, he would know.
                                                                                         14     Q Are you still unable to narrow down how              14     Q Do you know who Andrew Dean is?
                                                                                         15 much you invested in Sentinel Reinsurance to               15     A No.
                                                                                         16 anything more definite than somewhere between              16     Q I'm flipping through the pages here to
                                                                                         17 1 and 125 million dollars?                                 17 the page titled "Summary of All Units," and it
                                                                                         18     A I don't have a recollection. Based on                18 says, "Underwriting Income," "Premiums written"
                                                                                         19 these financials, I would say it's more likely             19 and "Change in unearned premiums." Do you see
                                                                                         20 between 1 and 50. I would say that.                        20 that?
                                                                                         21     Q Okay. I'm flipping to the next page,                 21     A Yes.
                                                                                         22 and it shows the income statements for 2016 and            22     Q And do you see that it says
                                                                                         23 2015. Have you ever seen this before?                      23 "Inception-to-Date," the total premiums written
                                                                                         24     A No.                                                  24 were $6.2 million as of the end of the year 2016,
                                                                                         25     Q Did you have any knowledge of even                   25 correct?
                                                                                                                                                 138                                                          140
                                                                                         1 directionally or approximately the amount of                1      A Yes.
                                                                                         2 income that Sentinel Reinsurance generated in 2016          2      Q And do you remember previous -- and
                                                                                         3 and 2015?                                                   3 then it says there's unearned premiums of
                                                                                         4      A No.                                                  4 $1.228 million. Do you see that?
                                                                                         5      Q I'm showing you the next page, which is              5      A Yes.
                                                                                         6  marked  "Sentinel Reinsurance, Limited, Statements         6      Q So does this information change your
                                                                                         7 of Cash Flow" for the periods of 2016 and 2015,             7 view as to whether or not Sentinel Reinsurance had
                                                                                         8 and it shows "Net income," "Cash Flows from                 8 ever issued a policy for more than -- a single
                                                                                         9 Investing Activities," and "Cash Flows from                 9 policy for more than $10 million prior to August
                                                                                         10 Financing Activities." Do you see that?                    10 of 2017?
                                                                                         11     A Yep.                                                 11     A Well, I mean, we only go through end of
                                                                                         12     Q And do you see where it shows cash                   12 '16  here. I don't know how rapid the growth was
                                                                                         13 balances as well?                                          13 in '17, but it was -- you know, it's clearly --
                                                                                         14     A Yes.                                                 14 it's clearly a start-up but it's on a significant
                                                                                         15     Q And here it refers to significant                    15 trajectory, with the desire probably to have even
                                                                                         16 dividends paid in 2016.                                    16 greater trajectory. So I -- you know, so maybe
                                                                                         17     A Yep.                                                 17 the bigger policies came later.
                                                                                         18     Q And then it says, "Contributed                       18        But, anyway, I -- like I said, I wasn't
                                                                                         19 surplus." Do you have any idea what that refers            19 involved in the day-to-day. I don't have
                                                                                         20 to?                                                        20 awareness, exactly.
                                                                                         21     A I don't know.                                        21     Q Okay. But in 2017, in approximately
                                                                                         22     Q The next page says, "Sentinel                        22 August, you authorized an insurance policy with a
                                                                                         23 Reinsurance,  Limited, Supplemental Schedules" as          23 face value of $100 million, correct?
                                                                                         24 of December 31st, 2016. And the next page shows            24     A Right. But I'm sure a premium value of
                                                                                         25 "Prepaid Expenses and Other Liabilities." Do you           25 much less than 100, right?
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                                                                                                                                   Transcript of James Dondero                                      36 (141 to 144)

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                                                                                         1      Q What was the premium value of the                    1      A Yes.
                                                                                         2  policy  that had the $100 million liability,               2      Q -- to justify the $100 million policy?
                                                                                         3 roughly?                                                    3      A Yes.
                                                                                         4      A I don't know.                                        4      Q But you've made no effort to confirm
                                                                                         5      Q Didn't you previously say you thought                5 that he did that; is that true?
                                                                                         6 it was 70 to 80 million dollars in illiquid                 6      A Other than talking with my lawyers.
                                                                                         7 assets?                                                     7 Like I said, I haven't prepared or refreshed on
                                                                                         8      A No. I said the amount of illiquid                    8 the history here.
                                                                                         9 assets were 70 to 80, but I don't know what the             9      Q Well, as you sit here today, do you
                                                                                         10 premium structure was, like how much of the net 70         10 recall making any effort to ensure that
                                                                                         11 or 80 was premium. Or -- or, you know, you'd               11 Mr. Ellington did any sort of market task to
                                                                                         12 mentioned 110 of asset value, which I never heard          12 ensure that the amount of premium paid for the
                                                                                         13 before, but maybe the 110 less the premium is how          13 $100 million policy was consistent with what a
                                                                                         14 it got to 75 or 80. You know, I don't know the --          14 third-party transaction would have required?
                                                                                         15 I don't know the structure of the policy.                  15     A Not that I recall at this point.
                                                                                         16     Q Why would 70 or 80 million dollars of                16     Q Who negotiated on behalf of Highland
                                                                                         17 assets be transferred to Sentinel Reinsurance in           17 Financial Partners and its subsidiaries in setting
                                                                                         18 connection with the policy other than for a                18 the amount that would be paid for the $100 million
                                                                                         19 premium payment?                                           19 insurance policy?
                                                                                         20     A I don't know. I mean, that's what I'm                20     A Scott Ellington.
                                                                                         21 saying. It's -- but the premiums can take                  21     Q Who negotiated on behalf of Sentinel
                                                                                         22 different forms, where it's like a first-year              22 Reinsurance in that transaction?
                                                                                         23 premium or future premiums, you know, whatever,            23     A You know what, before I say Scott
                                                                                         24 you can segment the premiums. Again, I just -- I           24 Ellington, I -- well, compliance -- I don't know.
                                                                                         25 don't know the structure of the policy, Andy. I            25 All I know is, like I said, we had to go through
                                                                                                                                                 142                                                           144
                                                                                         1 don't know the structure.                                   1 compliance, I know we had to work it through the
                                                                                         2      Q Who decided how much premium would be                2 regulators also. And when you're on both sides of
                                                                                         3 paid for the $100 million face value policy?                3 the transaction, the scrutiny is higher, but I
                                                                                         4      A That would have been the process                     4 don't know if -- sometimes organizationally
                                                                                         5 Ellington went through with compliance and with             5 compliance will require somebody to be
                                                                                         6 the regulators on what was fair and appropriate             6 representing one party and somebody to be
                                                                                         7 for the risk and then what was comparable to                7 representing the other party just to make sure
                                                                                         8 third-party transactions.                                   8 there is some separation. And although Scott
                                                                                         9      Q Did Mr. Ellington do a market check                  9 Ellington coordinated the overall transaction, I
                                                                                         10 against third-party transactions in deciding how           10 don't know if there was somebody separate
                                                                                         11 much premium to pay for the $100 million face              11 representing one side or the other or if he
                                                                                         12 value policy?                                              12 represented both. I don't know, so I shouldn't
                                                                                         13     A I'm sure -- I'm sure that was part of                13 speculate, but -- but he was the overall architect
                                                                                         14 his process and approval in his back-and-forth.            14 of the transaction.
                                                                                         15 I'm sure it was. But I don't have specific                 15     Q Did Scott Ellington represent all the
                                                                                         16 awareness.                                                 16 other parties to the insurance policy other than
                                                                                         17     Q Is that because he told you that's what              17 HFP and its subsidiaries and Sentinel Reinsurance,
                                                                                         18 he did?                                                    18 as far as you know?
                                                                                         19     A It's -- that would have been, I would                19     A "Other parties." I don't know if there
                                                                                         20 have thought, the starting point -- the logical            20 were other parties to the core of the transaction.
                                                                                         21 starting point for discussions with compliance and         21 There might have been approvals from some other
                                                                                         22 the regulators, but I don't have awareness.                22 parties if you're saying there was a DAF note or
                                                                                         23     Q So you assumed that Mr. Ellington must               23 something else. But I believe if there was any
                                                                                         24 have done a third-party check on the amounts of            24 other parties involved, they would have their
                                                                                         25 premium that had to be paid --                             25 own -- their approval would be separate. I
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                                                                                         1 just -- I can't say for sure Ellington represented          1 fall in arrears when the economy weakens and cash
                                                                                         2 both HFP and Sentinel. I can't say for sure.                2 is diverted, but generally they pay -- generally
                                                                                         3      Q You were requested to provide advice                 3 they pay flows or dividends.
                                                                                         4 about the assets of Sentinel Reinsurance and                4      Q Is the Grayson CLO Limited 144A, is
                                                                                         5 what -- how to best maximize their value, correct?          5 that a collection of corporate loans or
                                                                                         6      A Yes -- or, yeah, it would be on the                  6 securitized corporate loans?
                                                                                         7 asset side I would get queried periodically on              7      A Yes.
                                                                                         8 what to invest in.                                          8      Q And what does the 144A refer to, do you
                                                                                         9      Q Okay. I'm going to flip ahead a few                  9 know?
                                                                                         10 pages of this Exhibit 25 to a page that says,              10     A 144A private placement.
                                                                                         11 "Sentinel Reinsurance, Limited, Supporting                 11     Q What does that mean to you?
                                                                                         12 Schedules," as of December 31st, 2016.                     12     A That it's a private placement. It's
                                                                                         13     A Sure.                                                13 not a public bond. It's issued under the 144A
                                                                                         14     Q And then the next page has some assets.              14 private placement exemption the SEC has.
                                                                                         15 I'm going to blow this up a little bit. There              15     Q Do you know how much cash over time
                                                                                         16 are, it says here, "Sentinel Reinsurance, Limited,         16 Sentinel Reinsurance collected with respect to
                                                                                         17 Detailed Investment Schedule," as of                       17 this asset?
                                                                                         18 December 31st, 2016, and there are four CLOs               18     A No idea.
                                                                                         19 listed on this page, which is Bates labeled with           19     Q Do you know how much they paid for this
                                                                                         20 1081 as the last four digits. Do you see that?             20 asset?
                                                                                         21     A Yes.                                                 21     A No idea.
                                                                                         22     Q And the first one is an asset called                 22     Q Do you know where they got this asset?
                                                                                         23 "Grayson CLO LTD 144A." Do you see that?                   23     A No idea.
                                                                                         24     A Yes.                                                 24     Q There are -- there is another asset
                                                                                         25     Q Do you know what that asset is, Grayson              25 here called "Greenbriar CLO LTD" that has a market
                                                                                                                                                 146                                                       148
                                                                                         1 CLO LTD 144A?                                               1 value of 1.4. Do you see that?
                                                                                         2      A I think that was an old CLO that we did              2      A Yes.
                                                                                         3 in the early 2000 period, and -- yes, that's what           3      Q Do you know anything about that asset?
                                                                                         4 it looks like.                                              4      A No. I would say for all four listed, I
                                                                                         5      Q And it said as of that date it had a                 5 would give you the exact same answers. And I
                                                                                         6  value  of $1.7 million. Do you see that?                   6 don't know where they came from. They generally
                                                                                         7      A Yep.                                                 7 produce cash flow, but I don't know in any given
                                                                                         8      Q And it had a -- do you know if that                  8 particular year, and I couldn't even begin to
                                                                                         9 asset was ever monetized?                                   9 estimate how much cash over its life, and I don't
                                                                                         10     A I have no idea.                                      10 know where it came from.
                                                                                         11     Q Do you know if Sentinel Reinsurance                  11     Q You have heard of the Greenbriar CLO
                                                                                         12 still holds that asset today?                              12 Limited   asset recently, haven't you? You've
                                                                                         13     A I have no idea.                                      13 discussed that recently?
                                                                                         14     Q Do you have any idea if it was ever                  14     A Was that the asset that Seery promised
                                                                                         15 sold?                                                      15 to help give to UBS? Was that that asset?
                                                                                         16     A No.                                                  16     Q Well, you heard about an asset called
                                                                                         17     Q Would an asset like that generate cash?              17 Greenbriar that I believe you offered to provide
                                                                                         18     A It would depend on the year.                         18 to UBS in one of your settlement proposals and
                                                                                         19 Generally, yes.                                            19 that is -- also been mentioned in connection with
                                                                                         20     Q Do you know if any cash has been                     20 the UBS settlement with Highland. Does that ring
                                                                                         21 generated in connection with the Grayson CLO               21 a bell?
                                                                                         22 Limited 144A asset?                                        22     A Yes. Yeah, that is -- it may not be
                                                                                         23     A Over its life, for sure, but at any                  23 that  Greenbriar, I mean, or it may not be that
                                                                                         24 given year or any given moment, I don't know.              24 piece, because I think the piece you guys were
                                                                                         25 They generally pay quarterly, but sometimes they           25 talking about was larger, but it's essentially the
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                                                                                         1 same security.                                         1 asset?
                                                                                         2      Q The same security. And that security            2     A I don't believe I ever talked to Seery
                                                                                         3 that you had offered previously to either turn         3 about Greenbriar at all.
                                                                                         4 over or pay the value to as part of a proposed         4     Q Did you tell any of the directors that
                                                                                         5 settlement, is that currently being held by CDO        5 the Greenbriar asset was subject to a
                                                                                         6 Fund?                                                  6 participation letter?
                                                                                         7      A I don't know where it's being held. I           7     A No, I don't think I discussed it with
                                                                                         8  think  -- I don't know. I don't know where --         8  any of them.
                                                                                         9 it's -- I think the only reason why it was the         9     Q Did you discuss that with any of the
                                                                                         10 only asset hanging around is I think it couldn't      10 lawyers at the Pachulski firm?
                                                                                         11 be transferred directly, and so I think it might      11    A No.
                                                                                         12 have been transferred indirectly versus a             12    Q Who was the participate- -- who was the
                                                                                         13 participation letter. I don't know its history or     13 counterparty in that participation letter?
                                                                                         14 where it is exactly.                                  14    A I don't know.
                                                                                         15     Q Sorry, it couldn't be transferred from          15    Q If there --
                                                                                         16 whom to whom?                                         16    A If one exists, Scott Ellington will be
                                                                                         17     A It was going to be transferred at some          17 your person on that.
                                                                                         18 point, somewhere, at some time, and it just -- it     18    Q Anybody else in the world you can think
                                                                                         19 couldn't be transferred directly so I think it was    19 of who would know anything about it, other than
                                                                                         20 transferred indirectly via a participation letter.    20 Scott Ellington?
                                                                                         21 That was my recollection on why the Greenbriar was    21    A No.
                                                                                         22 still sitting somewhere, wherever that was.           22    Q This is the last page I'm turning to
                                                                                         23     Q What's a participation letter, as you           23 now of Exhibit 25. It's a page entitled "Sentinel
                                                                                         24 used that term?                                       24 Reinsurance, Limited, Intercompany Receivables" as
                                                                                         25     A It's like if you didn't want to sell me         25 of December 31, 2016. Do you see that?
                                                                                                                                            150                                                           152
                                                                                         1 your house and go through the change of ownership      1      A Yes.
                                                                                         2 record, redoing a mortgage, whatever, but if you       2      Q And there's relatively small sums that
                                                                                         3 signed a participation letter with me that over        3 date from November 24th, 2014 through, it looks
                                                                                         4 the next five years, whatever appreciation of the      4 like, July of 2016, the total about $114,000. Do
                                                                                         5 house would go to me and I would pay the expenses      5 you know anything about this?
                                                                                         6 of the mortgage for the next five years, where         6      A No.
                                                                                         7 we're essentially transferring the                     7      Q And then it lists some entities at the
                                                                                         8 responsibilities of ownership and you net the          8 bottom, Nimitz, Ltd.; Patton, Ltd. Do you know
                                                                                         9 differences in flows and price at some later date.     9 what those entities are?
                                                                                         10        That's what I thought. That's                  10     A No.
                                                                                         11 typically what our participation letter is and        11     Q Do you know what SS Holdings is?
                                                                                         12 that's what I thought was involved in the             12     A Nope.
                                                                                         13 Greenbriar, but I'm not sure.                         13     Q Given this balance sheet -- and I'm
                                                                                         14     Q Who told you that?                              14 going to go back. And I realize this is as of
                                                                                         15     A Scott Ellington, I believe.                     15 December 2016, but this is being sent -- you can
                                                                                         16     Q When did he tell you that?                      16 see it's -- going back to the first page, it's
                                                                                         17     A I don't know, years ago. Like I said,           17 being sent August 16, 2017. That was around the
                                                                                         18 I think there was always -- there was always some     18 time that Sentinel entered into this $100 million
                                                                                         19 issue with Greenbriar and transferability, I          19 policy that you approved, correct?
                                                                                         20 believe.                                              20     A Yes.
                                                                                         21     Q Did you ever see the supposed                   21     Q And given the information here about
                                                                                         22 participation letter?                                 22 the balance sheet -- and I'm going to go back to
                                                                                         23     A No.                                             23 the balance sheet page, which ends with Bates
                                                                                         24     Q Did you tell Jim Seery there was a              24 number 1071 -- how could Sentinel Reinsurance have
                                                                                         25 participation letter that affected the Greenbriar     25 ever made good on a $100 million insurance policy,
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                                                                                                                                   Transcript of James Dondero                                   39 (153 to 156)

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                                                                                                                                                 153                                                       155
                                                                                         1 given its balance sheet as of December 2016?                1 to make this clear. We're going to have to
                                                                                         2        MR. TAYLOR: I'm going to object to the               2 renegotiate that or renego- -- but it was -- it
                                                                                         3 form.                                                       3 was an extensive process. It wasn't -- it was
                                                                                         4      A Without going over in detail the policy              4 not -- it was not a one-week process. It was a
                                                                                         5 itself, you couldn't make a negative judgment. So           5 multiple-month process. I do remember that. It
                                                                                         6 what you have here is two years of very good                6 wasn't easy.
                                                                                         7 profitability, very good dividend history, very             7      Q You've testified many times today that
                                                                                         8 good earnings history, very good accretion of               8  Scott Ellington was your sole source of
                                                                                         9 value. Without knowing the policy itself, the --            9 information, and only oral, about anything having
                                                                                         10 no insurance company underwrites a policy that             10 to do with Sentinel, but you just said that many
                                                                                         11 they believe has a chance of paying out                    11 people were involved in this process.
                                                                                         12 immediately at full value with no premiums                 12     A Well, just in the office, people
                                                                                         13 received, you know, so there's -- depending upon           13 reporting -- it was primarily -- it was
                                                                                         14 the policy structure, there's premiums, there's            14 probably -- it was primarily Surgent and just
                                                                                         15 cushion, there's whatever, and then there's a              15 people reporting to him were all running around
                                                                                         16 probability associated with the payout and there's         16 for months going back and forth with Ellington and
                                                                                         17 a timing estimate associated with the payout.              17 his group, you know.
                                                                                         18       You can't make a -- I don't believe.                 18     Q Sorry, Surgent -- Thomas Surgent, who
                                                                                         19 You can't make a judgment from this to say what            19 was then the chief of compliance?
                                                                                         20 would or wouldn't be a good, plausible investment          20     A Yes.
                                                                                         21 from here.                                                 21     Q He spent many months analyzing this
                                                                                         22     Q Do you know -- did you endeavor to make              22 transaction?
                                                                                         23 any assessment about the timing of potential               23     A Yes. The back-and-forth with Ellington
                                                                                         24 payments or the likelihood of payments under the           24 and, like I said, also the offshore regulators,
                                                                                         25 policy or the timing of the premiums or anything           25 also.
                                                                                                                                                 154                                                       156
                                                                                         1 like that before you approved the insurance                 1       Q Okay. But let's stick with the people
                                                                                         2 policy?                                                     2 at Highland. So Thomas Surgent went back and
                                                                                         3      A That -- that general underwriting and                3 forth with Ellington many times over several
                                                                                         4 structuring would have been the process that                4 months?
                                                                                         5 Ellington underwent to make it arm's length and to          5       A Yes.
                                                                                         6 also make it compliant with compliance and the              6       Q And you said many people working with
                                                                                         7 regulators.                                                 7 him. Who specifically worked with Thomas Surgent
                                                                                         8      Q And Ellington would have had to go                   8 assisting in this effort?
                                                                                         9 through that both with your internal compliance             9       A See, that's a -- I mean, his area had
                                                                                         10 and in some form or fashion to submit to the               10 people buzzing on this and different people, I
                                                                                         11 regulators; is that correct?                               11 think, sticking their fingers in and whatever, but
                                                                                         12     A Yes.                                                 12 I -- beyond the general buzz of his areas and then
                                                                                         13     Q And do you know -- and the records                   13 to a lesser extent Ellington's area -- I think
                                                                                         14 showing that that occurred, if they did -- if it           14 Ellington was largely handling it for his area.
                                                                                         15 did occur, would it still exist at Highland?               15 But there was a lot of activity. There was a lot
                                                                                         16     A Yes. It -- it occurred, and it was an                16 of -- there was a lot of back-and-forth.
                                                                                         17 extensive multi-month process, and there was a lot         17      Q Who specifically other than Tom
                                                                                         18 of back-and-forth.                                         18 Surgent?
                                                                                         19     Q How do you know that?                                19      A I don't know who they were accessing,
                                                                                         20     A Because people would talk about it --                20 and I don't want to speculate on who on their
                                                                                         21     Q What people?                                         21 teams were working with them. But Ellington and
                                                                                         22     A -- oh, they're still working on this,                22 Surgent were both knee-deep in it.
                                                                                         23 they  are still going with that, compliance needs          23      Q And did you talk to Surgent at any
                                                                                         24 this, the regulators want that, they don't                 24 point while he was knee-deep in efforts to examine
                                                                                         25 understand this, you know, whatever, we're trying          25 the propriety of this $100 million policy?
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                                                                                                                                   Transcript of James Dondero                                     40 (157 to 160)

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                                                                                                                                                 157                                                            159
                                                                                         1      A No. I mean, I -- no. He's very                       1       A Thomas. Thomas. I think he's -- this
                                                                                         2  capable,  very thoughtful. He's a smart -- he's a          2  bankruptcy     process and the way people behave in
                                                                                         3 smart man. He is smart financially even though              3 bankruptcy I think has disappointed him.
                                                                                         4 his background is more on the legal side. He                4       Q What makes you say that if you haven't
                                                                                         5 didn't need my help. And, plus, on these kinds of           5 talked to him?
                                                                                         6 things, it's compliance versus the businessperson.          6       A Well, I just -- from other people who
                                                                                         7 It's better if I don't get involved.                        7 do talk to him.
                                                                                         8      Q Is Scott Ellington trustworthy, in your              8       Q Who?
                                                                                         9 opinion?                                                    9       A Well, the guys -- there are still a
                                                                                         10     A Yes.                                                 10 bunch of guys here that talk to him.
                                                                                         11     Q Is he honest?                                        11      Q Who?
                                                                                         12     A Yes. I think you know that too.                      12      A Does it matter? I -- you know.
                                                                                         13     Q Do you absolutely trust him to handle                13      Q Yeah. Who did you hear from that
                                                                                         14 this honestly and appropriately?                           14 Thomas    Surgent feels this way?
                                                                                         15     A Yes. I mean, and like I said, when I                 15      A You know what, I -- let me think about
                                                                                         16 look at the dividend thing there, those are large          16 it, I'll get back to you. Let me think on it.
                                                                                         17 dividends, and I'm telling you, I didn't get any.          17      Q No, you just said that you have heard
                                                                                         18 So, you know, but I don't sit here -- I don't sit          18 these things that Thomas Surgent is feeling. Who
                                                                                         19 here worried about the fact that the money was             19 did you hear that from?
                                                                                         20 absconded with. I know there's probably a holding          20      A Yeah, let me think. It's one of a
                                                                                         21 company or a funding of some other subsidiary or           21 couple people. Let me boil it down and I'll get
                                                                                         22 something. I know there is an explanation to it.           22 back to you.
                                                                                         23 I trust there is an explanation to it, but I don't         23      Q Who?
                                                                                         24 know what it is.                                           24      A I'll get back to you. I can't remember
                                                                                         25     Q Is Thomas Surgent trustworthy?                       25 exactly who.
                                                                                                                                                 158                                                            160
                                                                                         1      A Yes. I -- honestly, my experience with               1      Q Depositions aren't take-home exams. So
                                                                                         2 him over the years is that he was very                      2 as you sit here today --
                                                                                         3 trustworthy. I think he is one of the half dozen            3      A Okay, but I'm just going to tell -- I'm
                                                                                         4 people whose career has been ruined or corrupted,           4 just going to leave you, then, with I don't
                                                                                         5 corrupted by Seery in the whole process, and, you           5 remember.
                                                                                         6 know, whatever. I think he is more distant and              6      Q Who were you thinking said that when
                                                                                         7 less focused and less interested. But I still               7 you said it? Who were the two candidates?
                                                                                         8 think he is -- even though I think he is in a very          8        MR. TAYLOR: Objection. Form.
                                                                                         9 difficult situation at the moment, I think he is a          9      A I --
                                                                                         10 trustworthy person.                                        10     Q Who are the two candidates in your mind
                                                                                         11     Q Is Thomas Surgent honest, in your view?              11 that might have been the ones who told you that
                                                                                         12     A Yes. Although, again, I just have to                 12 Thomas Surgent was unhappy?
                                                                                         13 draw a distinction from -- I haven't talked to him         13     A I'm not going to go there, Andy.
                                                                                         14 in over a year, and he has been very                       14       MR. TAYLOR: Andy, he doesn't have to
                                                                                         15 discombobulated by the bankruptcy process. He was          15 speculate.
                                                                                         16 the one who was negotiating with Redeemer for the          16     A I'm going to leave it at -- I'm going
                                                                                         17 three weeks before we filed when Mashrum jerked            17 to leave it at I don't remember or I'll get back
                                                                                         18 him on the 50 million at 7:00 a.m. in the morning          18 to you, if you want.
                                                                                         19 in Delaware. And so I'm not sure he's recovered            19     Q You said you would get back to me. Who
                                                                                         20 from that, let alone -- you know, Seery used to            20 were the two names that you were thinking of when
                                                                                         21 work for the estate up until about June, and since         21 you said that there are people who still talk to
                                                                                         22 then, he has been working for the creditors for --         22 Surgent?
                                                                                         23 largely for his own payday. And I think he has             23     A Like I said, I don't want to spec- --
                                                                                         24 been disappointed by that also.                            24 it might be three names. I need to chew on it
                                                                                         25     Q Sorry, who has been disappointed?                    25 some more and think about it but at the moment, I
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                                                                                         1 don't remember.                                             1 person by name who has ever told you anything
                                                                                         2      Q You really have to answer to the best                2 about how Thomas Surgent feels about the
                                                                                         3 of your ability. So who are the names you were              3 bankruptcy, correct?
                                                                                         4 thinking of?                                                4     A Correct.
                                                                                         5         MR. TAYLOR: Andy, he doesn't have to                5     Q So you have no basis for the assumption
                                                                                         6 speculate. He says he can't remember. He doesn't            6 that Thomas Surgent feels a certain way about the
                                                                                         7 have to speculate.                                          7 bankruptcy as you sit here today, correct?
                                                                                         8      Q Well, you testified that somebody told               8     A That's -- that's what I was beginning
                                                                                         9 you something -- well, you testified about what             9 to realize as I was saying it, that I might be
                                                                                         10 Mr. Surgent feels, and you have not spoken to him          10 overlaying too much of my -- too much of my own
                                                                                         11 in over a year, correct?                                   11 views or too much of other people's just general
                                                                                         12     A That's right. And so think about it.                 12 views or just too much -- I might be reading into
                                                                                         13 It was, you know, multiple people giving multiple          13 too much or connecting too many dots. So I don't
                                                                                         14 tidbits. I don't want to -- I don't want to                14 want to go any further down that conjecture.
                                                                                         15 speculate or jump to a conclusion. I'll think              15    Q Okay. Let's close this document,
                                                                                         16 about it some more, but I can't remember or                16 please, and let's open up the next document that's
                                                                                         17 attribute it exactly to one person at this moment.         17 behind Tab 6. It will be marked as Exhibit 26.
                                                                                         18     Q You said there were people who speak to              18        (Deposition Exhibit 26 marked for
                                                                                         19 Thomas Surgent still. Who are they?                        19 identification.)
                                                                                         20     A Well, I mean, it's most -- most                      20    Q Exhibit 26, when it gets put up on the
                                                                                         21 everybody in senior management still speaks to him         21 screen, will be a one-page document that
                                                                                         22 so ...                                                     22 identifies entities that are connected to Sentinel
                                                                                         23     Q Who?                                                 23 Reinsurance. And here we go. We have it up here.
                                                                                         24     A I mean, just most everybody in senior                24        First of all, it says that "Multi Strat
                                                                                         25 management still --                                        25 Credit Fund" -- it identifies Multi Strat Credit
                                                                                                                                                 162                                                           164
                                                                                         1      Q What are their names?                                1 Fund, and it says, "Investor, Sentinel
                                                                                         2      A -- speak to him.                                     2 Reinsurance." Do you see that?
                                                                                         3          You know, you can look up the org                  3      A Yes.
                                                                                         4 chart, Andy. I'm not -- I don't want to speculate           4      Q What does that mean?
                                                                                         5 or point to anybody in particular at this point.            5      A I've never seen this -- I've never seen
                                                                                         6 You know, and really, really part of the reason,            6  this  page before. Or I've never seen this paper
                                                                                         7 too, as I was thinking before -- before I would             7 before.
                                                                                         8 speculate or attribute it to one person, I was              8          MR. TAYLOR: You don't have to
                                                                                         9 going through it in my mind, like, okay, how much           9 speculate.
                                                                                         10 of it is my perception, maybe being a little               10     Q Well, do you know whether or not
                                                                                         11 sensitive to everything he's been through, and             11 Sentinel Reinsurance, Limited is an investor in
                                                                                         12 then how much of it is did someone truly say, and          12 Multi Strat Credit Fund LP?
                                                                                         13 then how much did maybe somebody else put their            13     A I don't know.
                                                                                         14 own spin on it.                                            14     Q In fact, you have seen recently
                                                                                         15         And I just don't want -- I don't want              15 documents that show you that Sentinel Reinsurance
                                                                                         16 to go down the --                                          16 is a redeemer in Multi Strat; isn't that true?
                                                                                         17     Q As you sit here today, you can't                     17     A I'm trying to -- what documents have I
                                                                                         18 identify a single person who has told you anything         18 seen? And I'm willing to be refreshed on that.
                                                                                         19 about how Thomas Surgent feels in 2021; is that            19 Yeah, I'm willing to be refreshed on that.
                                                                                         20 correct?                                                   20     Q You are aware, as you sit here today,
                                                                                         21     A That's correct. It would be best to                  21 that Sentinel Reinsurance is a redeemer in Multi
                                                                                         22 talk to him about it. And, you know, you can --            22 Strat, correct?
                                                                                         23 it would be best to talk to him.                           23     A Okay, I'm willing to be refreshed.
                                                                                         24     Q And as you sit here today, you can't                 24 That sounds -- that sounds plausible, potentially
                                                                                         25 think of one person -- you can't identify one              25 familiar. If -- do you have a redeemer listing
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                                                                                         1 you could show me that Multi Strat is?                      1 is an entity that Scott Ellington is the
                                                                                         2      Q We'll get to that, but I just -- you're              2 beneficial owner of?
                                                                                         3 a 70 percent owner of Sentinel Reinsurance and              3      A Yeah, I mean, it looks like it. And in
                                                                                         4 there has been a lot of discussion in the last few          4 the detail -- the detail below looks like those
                                                                                         5 months about Multi Strat and the redemption and             5 are the names of the entities that have the
                                                                                         6 potential settlements. And it's fair to say that            6 beneficial ownership. That's what this appears to
                                                                                         7 you are aware that Sentinel Reinsurance is a --             7 be.
                                                                                         8 one of the redeemers of Multi Strat Credit Fund,            8      Q So as you sit here today, you have no
                                                                                         9 correct?                                                    9 reason to dispute the fact that you own an entity
                                                                                         10         MR. TAYLOR: He's answered that, and he             10 called Patton, Limited that, in turn, is a
                                                                                         11 said he is willing to be --                                11 70 percent beneficial owner of Sentinel
                                                                                         12         MR. CLUBOK: That's okay. It's okay.                12 Reinsurance; is that correct?
                                                                                         13         MR. TAYLOR: -- refreshed.                          13     A I have no reason to know otherwise. I
                                                                                         14         MR. CLUBOK: You don't need to have a               14 have  no reason to dispute that.
                                                                                         15 speaking objection.                                        15     Q And you have no reason to dispute that
                                                                                         16     Q But Mr. Dondero, it's correct that over              16 Scott Ellington is the beneficial owner of Nimitz,
                                                                                         17 the last few months you have seen information that         17 which, in turn, is a 30 percent beneficial owner
                                                                                         18 demonstrates to you that Sentinel Reinsurance is a         18 in Sentinel Reinsurance, correct?
                                                                                         19 redeemer in Multi Strat Credit Fund, correct?              19     A Correct.
                                                                                         20         MR. TAYLOR: Objection as to the form               20     Q Let's -- did you tell anyone at
                                                                                         21 and it's been asked and answered.                          21 Highland Capital Management ever that you were a
                                                                                         22     A I'm willing to be refreshed. And that                22 70 percent owner in Sentinel Reinsurance other
                                                                                         23 sounds, like I said, plausible and possible.               23 than Scott Ellington?
                                                                                         24     Q It's not just plausible and possible.                24     A Not that I -- not that I remember, not
                                                                                         25 As you sit here today, you know that Sentinel              25 that I recall.
                                                                                                                                                 166                                                           168
                                                                                         1 Reinsurance is one of the redeemers in                      1      Q Do you know what Mainspring, Limited
                                                                                         2 Multi-Strat; isn't that true?                               2 is?
                                                                                         3      A Yeah, I'm trying to remember. It's                   3      A No. I'm willing to be educated, but
                                                                                         4 like they were an investor. Did they redeem, or             4 no, I don't.
                                                                                         5 are they a separate, you know, non-redeemed                 5      Q Why didn't you tell anyone connected
                                                                                         6 investor, or is some of it split -- I'm willing to          6  with Highland, other than Scott Ellington, that
                                                                                         7 be educated. I just can't remember the form of              7 you were a 70 percent beneficial owner in Sentinel
                                                                                         8 their investment.                                           8 Reinsurance?
                                                                                         9      Q Okay. And on this document that's been               9      A It never came up or no one ever asked.
                                                                                         10 marked as Exhibit 26 it talks about Patton,                10     Q When you approved the $100 million
                                                                                         11 Limited being a 70 percent beneficial owner. Do            11 insurance policy, did you ever make an effort to
                                                                                         12 you see that?                                              12 ensure that Thomas Surgent knew that you were a
                                                                                         13     A Yes.                                                 13 70 percent beneficial owner in Sentinel
                                                                                         14     Q Is it true that Patton, Limited is an                14 Reinsurance?
                                                                                         15 entity that you have the beneficial ownership              15     A I'm 100 percent certain that Thomas, in
                                                                                         16 interest in?                                               16 his team in his process, knew that.
                                                                                         17     A Well, I think I mentioned earlier I                  17     Q How?
                                                                                         18 know that I'm a 70 percent beneficial owner of             18     A He would have -- he would have never
                                                                                         19 Sentinel. I never knew the name of the entity,             19 proved it otherwise, and, again, he was asked to
                                                                                         20 and if you're telling me the entity is Patton,             20 prove it because it was two entities related,
                                                                                         21 Limited, and it does resemble 70 percent, I --             21 controlled -- whatever the thresholds are for
                                                                                         22 okay, I'm willing to be educated on that, but I            22 properly running something through compliance that
                                                                                         23 didn't know the name before, but I still don't             23 Ellington was doing, there's no way you would get
                                                                                         24 know the name now.                                         24 through compliance without disclosing fulsomely,
                                                                                         25     Q Okay. Do you know that Nimitz, Limited               25 completely and transparently what the overlaps
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                                                                                         1 were.                                                       1 ownership or the control of Sentinel, he would
                                                                                         2      Q You're assuming all that because that's              2 have never run it through compliance. The only
                                                                                         3 the only way it could have been done properly,              3 reason to take a transaction like this through
                                                                                         4 correct?                                                    4 compliance is because you're being honest and
                                                                                         5      A It's the only way it would have been                 5 forthright about the overlap.
                                                                                         6 done at all.                                                6      Q And if you didn't run it through
                                                                                         7      Q Okay. But you didn't see that                        7 compliance honestly and forthrightly, that would
                                                                                         8  disclosure, you don't have any firsthand knowledge         8 be a huge problem, correct?
                                                                                         9 of that disclosure occurring, you know nothing              9      A If he didn't run it through compliance
                                                                                         10 about that supposed disclosure other than what             10 at all, yes.
                                                                                         11 you're assuming happened, correct?                         11     Q And if he didn't fully disclose to
                                                                                         12     A Yeah, but again, if you go back to                   12 compliance the nature of the affiliation of
                                                                                         13 Dodd-Frank and the personal liability put in for           13 Sentinel Reinsurance, that would be a huge
                                                                                         14 chief compliance officers and the elevation of             14 problem, correct?
                                                                                         15 chief compliance officers to the C-suite, it would         15     A Yeah, but it goes back to my testimony
                                                                                         16 be a -- to do it haphazardly or to do it without           16 that I don't think that would be possible.
                                                                                         17 doing that or knowing that would be a violation of         17     Q Understood. But you have not seen any
                                                                                         18 compliance and regulations, and he would                   18 documents -- you have never seen a document, not a
                                                                                         19 knowingly -- he would be knowingly putting himself         19 single document that shows Mr. Surgent and the
                                                                                         20 in harm's way or liability if he were to do it             20 compliance team being made aware that Sentinel
                                                                                         21 without understanding and knowing the players.             21 Reinsurance was an affiliated entity; is that
                                                                                         22     Q And so would you. You would also have                22 correct?
                                                                                         23 that same liability under Dodd-Frank that you just         23     A Yes. I wasn't involved in the process.
                                                                                         24 described that Mr. Surgent would have, given your          24 But, again, it's not plausible to go to compliance
                                                                                         25 road, correct?                                             25 and say, I have a transaction you need to approve
                                                                                                                                                 170                                                           172
                                                                                         1      A That's right. That's why I don't do it               1 because there's overlap, but I'm not going to tell
                                                                                         2 without doing it correctly.                                 2 you what the overlap is. Sign off on it. There
                                                                                         3      Q So if you didn't ensure that it was                  3 is just no chance of that happening.
                                                                                         4 known that Sentinel Reinsurance was an affiliated           4      Q If Mr. Ellington had not done that,
                                                                                         5 entity, there would be a big problem, correct?              5 that would be a huge problem, correct?
                                                                                         6      A Well, yeah, I mean -- yes, I guess,                  6      A Yeah, there would have to be some facts
                                                                                         7 yes, but there is no reason why it would have               7 and circumstances that I don't understand.
                                                                                         8 been -- if it was going to be obfuscated, it                8      Q Okay, let's look at -- let's look at
                                                                                         9 wouldn't have been pushed through compliance. It            9 Tab 7A. Tab 7A is an exhibit that will be marked
                                                                                         10 was pushed through compliance because we were              10 as Exhibit 27.
                                                                                         11 being correctly transparent about it.                      11        (Deposition Exhibit 27 marked for
                                                                                         12     Q And that responsibility for ensuring                 12 identification.)
                                                                                         13 that it was known that Sentinel Reinsurance was an         13     Q It will take a minute to -- oh, that
                                                                                         14 affiliated entity also fell to Scott Ellington in          14 was fast.
                                                                                         15 addition to you and Mr. Surgent, correct?                  15        Let me try to make it a little bit more
                                                                                         16     A Yes.                                                 16 sized properly so you can see it, hopefully.
                                                                                         17     Q And if Mr. Ellington obfuscated the                  17        Exhibit 27 is an e-mail from you at
                                                                                         18 fact that Sentinel Reinsurance was an affiliated           18 your JDondero@HighlandCapital.com e-mail address
                                                                                         19 entity, that would be a big problem, right?                19 to Tim Cournoyer, also at a HighlandCapital.com --
                                                                                         20     A Yes. But you're missing the point. If                20     A Yes.
                                                                                         21 they -- if Ellington was going to do an insurance          21     Q -- address; Subject: Re: Consent of
                                                                                         22 policy with Aon or Chubb or some third party, he           22 Managers - SeaOne Holdings LLC, dated January
                                                                                         23 could have done it unilaterally in 10 minutes              23 2019.
                                                                                         24 without ever mentioning a word of it to                    24        Do you see that?
                                                                                         25 compliance. If he was going to obfuscate the               25     A Yes.
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                                                                                                                                      Transcript of James Dondero                               44 (173 to 176)

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                                                                                                                                                 173                                                      175
                                                                                         1      Q Who is Tim Cournoyer?                                1 Dugaboy's signature."
                                                                                         2      A He is one of the -- he was one of the                2        And in response to that you say you
                                                                                         3 internal lawyers at Highland on the corporate               3 approve the waiver and are moving forward.
                                                                                         4 side, generally, who didn't come over to the new            4        Do you see that?
                                                                                         5 entities over here but still works for Seery at             5      A Yes.
                                                                                         6 Highland.                                                   6      Q Do you remember this transaction?
                                                                                         7      Q Is he honest?                                        7      A Yes. I mean, generally, yes.
                                                                                         8      A I don't know Tim as well. I don't                    8      Q Describe what you know about it.
                                                                                         9 know -- I can't -- I don't have -- I don't know             9      A SeaOne was a venture capital
                                                                                         10 him as well to have a strong opinion.                      10 investment. The former CEO of EOG had come up
                                                                                         11     Q Okay. And in this e-mail at the top of               11 with a more creative way to ship natural gas
                                                                                         12 the chain you say, "Yes, I approve waiver and              12 around the world using -- essentially making a
                                                                                         13 moving forward." Do you see that?                          13 radiator out of a 42-inch pipeline. It's much
                                                                                         14     A Yes.                                                 14 better, it's much more efficient, much cheaper
                                                                                         15     Q Do you remember this exchange?                       15 than LNG, but it's taking two or three times as
                                                                                         16     A Not specifically, but I can be -- can                16 long, as everybody expected, to get any kind of
                                                                                         17 you enlarge this a little bit? I can be                    17 industry buy-in, so they were frequently doing
                                                                                         18 refreshed, I believe.                                      18 additional capital raises. Some of them were
                                                                                         19     Q Yeah, I'm going to enlarge the e-mail                19 offensive and some of them were defensive.
                                                                                         20 that immediately precedes that to which you're             20       We were an early investor -- an earlier
                                                                                         21 responding to. And the e-mail that you say, "Yes,          21 investor in SeaOne so we had the ability to
                                                                                         22 I approve waiver and moving forward" is a response         22 participate in rights offerings or block any
                                                                                         23 to an e-mail that Mr. Cournoyer -- how do you              23 defensive rights offerings. We just had some
                                                                                         24 pronounce that name?                                       24 shareholder protections as an earlier investor.
                                                                                         25     A Cournin (phonetic) I think is how you                25       And what this back-and-forth here is,
                                                                                                                                                 174                                                      176
                                                                                         1 pronounce it.                                               1 you know, to allow the additional financing to
                                                                                         2      Q How?                                                 2 occur at the company, we had to waive some of our
                                                                                         3      A Cournin. I would have said Tim                       3 rights.
                                                                                         4 Cournin.                                                    4      Q Okay. And you were the decision maker
                                                                                         5      Q Cournin with an "N"?                                 5 for Dugaboy's decision to participate in the new
                                                                                         6      A Yes.                                                 6 offering?
                                                                                         7      Q So the O-Y-E-R is silent?                            7      A Yeah, I want to be careful here. You
                                                                                         8      A Yeah, I think so.                                    8 know, Dugaboy has its own trustee. Sentinel has
                                                                                         9      Q Okay. The person that you call Tim                   9 its own management. But I was on the board of
                                                                                         10 Cournin sent you an e-mail at 7:10 p.m. on                 10 SeaOne, and I was the resident expert as far as
                                                                                         11 January 29th, and it looks like you respond that           11 SeaOne was concerned. So for decisions involving
                                                                                         12 same day, although the time stamp is curious.              12 the credit, people would rely on my expertise as
                                                                                         13 Maybe it's a time zone issue. But in any event,            13 regarding SeaOne.
                                                                                         14 Mr. Cournin, as you say, said, "Jim, I reviewed            14       And that's what -- that's what Tim is
                                                                                         15 the documents that were sent over and left two             15 asking for at the bottom of the letter with the
                                                                                         16 voice mails with Brian Brantley at the Company but         16 underline, you know, so I'll go forward, you know,
                                                                                         17 have not heard back."                                      17 and make that specific recommendation to the
                                                                                         18        And he goes on to explain how "Each of              18 various funds that own it. And he was just going
                                                                                         19 Dugaboy and Sentinel have a preemptive right to            19 through the mechanisms, the signature mechanisms.
                                                                                         20 participate in the new offering." And he said,             20     Q You don't say you're going to make a
                                                                                         21 "Please confirm that you are okay waiving the              21 recommendation to the various funds. You say you
                                                                                         22 right to participate in this round. If you                 22 approve the waiver and moving forward. Do you see
                                                                                         23 approve, please confirm," and he "will work with           23 that?
                                                                                         24 Tara/Sue/Melissa to use your e-signature for the           24     A Yes.
                                                                                         25 Board resolutions and to obtain Sentinel's and             25     Q So you didn't have to go check with
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                                                                                                                                   Transcript of James Dondero                                    45 (177 to 180)

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                                                                                                                                                177                                                            179
                                                                                         1 anyone. You just had the authority to approve the          1 without checking with the Sentinel directors;
                                                                                         2 waiver on behalf of both Sentinel and Dugaboy,             2 isn't that true?
                                                                                         3 correct?                                                   3          MR. TAYLOR: Objection. Form.
                                                                                         4      A No, I'm not saying that. I approved                 4      A I have no comment on that. I was just
                                                                                         5 the waiver and the concept of the waiver, but,             5 approving the company's -- the reasonableness of
                                                                                         6 again, I'm acting as the investment professional           6 the company's amendment request.
                                                                                         7 on this particular investment. It doesn't give me          7      Q I'm going down the e-mail chain here,
                                                                                         8 carte blanche on the funds that they're in -- that         8  and  it started with, it looks like, an e-mail from
                                                                                         9 those investments are in.                                  9 Bart Baker of SeaOne Holdings to you that sought a
                                                                                         10     Q I didn't ask that. My question is,                  10 consent of managers for SeaOne Holdings related to
                                                                                         11 specifically with this transaction, you believed          11 the continuation of the capital raise of that
                                                                                         12 that you had the authority to approve the waiver          12 company, and they asked you to sign the signature
                                                                                         13 of the right to participate in that new offering          13 page. Do you see that?
                                                                                         14 on behalf of both Sentinel and Dugaboy, correct?          14     A Yes.
                                                                                         15     A No. I approve, meaning I agree. You                 15     Q And you then forwarded that to Tim --
                                                                                         16 know, that's why I always use "I approve" -- from         16     A Cournin.
                                                                                         17 board positions or from senior lead, because it           17     Q -- Tim Cournin, as you call him, right?
                                                                                         18 says I approve or I agree with the waiver. But to         18     A Yes.
                                                                                         19 the extent that it's investment advice and there          19     Q And Tim said he reviewed the documents
                                                                                         20 is no reason for a trustee to second-guess me,            20 and  he left voice mails with Brian Brantley and
                                                                                         21 they would trust my investment advice, and that's         21 then he explained the transaction and he notes
                                                                                         22 what Tim is parlaying to the funds themselves at          22 about these preemptive rights that Dugaboy and
                                                                                         23 the bottom of the thing there, but just because I         23 Sentinel have, and asked you to confirm that you
                                                                                         24 approve of the waiver doesn't give me broad               24 were okay waiving the rights to participate in
                                                                                         25 authority at independent entities.                        25 this round on behalf of Sentinel and Dugaboy,
                                                                                                                                                178                                                            180
                                                                                         1      Q Right, but you didn't -- you just                   1 correct?
                                                                                         2 responded to Tim's e-mail. You didn't check with           2      A Yes, overall. And you can see I --
                                                                                         3 anyone before responding. Correct?                         3 again, I'm approving it in general from a business
                                                                                         4      A Well --                                             4 perspective. That's what it says, "Yes, I approve
                                                                                         5      Q Let me break this up. You have never                5 the waiver and moving forward."
                                                                                         6  spoken  to a director of Sentinel, as far as you          6      Q Okay. And you made that statement
                                                                                         7 know, correct?                                             7 without checking in with any director of Sentinel,
                                                                                         8      A That's -- that's correct.                           8 correct?
                                                                                         9      Q So you didn't check in with the                     9          MR. TAYLOR: Objection. Asked and
                                                                                         10 directors of Sentinel before you told Tim that you        10 answered.
                                                                                         11 were okay waiving the right to participate in this        11     A Yeah, correct. I didn't talk to any of
                                                                                         12 round on behalf of Sentinel, correct?                     12 the  -- I didn't, nor would I have, in normal
                                                                                         13     A That's correct. But that's typical.                 13 course, expected to for any accounts that we
                                                                                         14 If you're the investment manager -- like we were          14 manage.
                                                                                         15 saying before, we do portfolios of bank loans.            15     Q And you didn't speak to anyone at
                                                                                         16 Companies need amendments all the time. That              16 Dugaboy either before telling Tim that you
                                                                                         17 would be part of the normal investment process.           17 approved of the waiver on behalf of Dugaboy,
                                                                                         18 We wouldn't call separate accounts or managements         18 correct?
                                                                                         19 at CalPERS to tell them, you know, we were                19     A That's correct.
                                                                                         20 approving an amendment at Caesar's or Toys-R-Us or        20     Q And by the way, previously you said
                                                                                         21 something.                                                21 that in addition to satisfying internal
                                                                                         22        MR. CLUBOK: So move to strike                      22 compliance, you also had to satisfy regulators for
                                                                                         23 everything  after "that's correct".                       23 the insurance policy that was issued?
                                                                                         24     Q My simple question to you is, for this              24     A Yes.
                                                                                         25 transaction, you had the right to approve it              25     Q What specific regulators are you
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                                                                                                                                     Transcript of James Dondero                                    46 (181 to 184)

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                                                                                                                                                 181                                                           183
                                                                                         1 talking about?                                              1 making up for it in growth," you're basing that
                                                                                         2      A The Cayman reinsurance regulators do                 2 solely on the fact that this $100 million policy
                                                                                         3 some of the analysis and underwriting that you              3 was issued and no other information that you have,
                                                                                         4 were speaking of earlier in terms of making sure            4 correct?
                                                                                         5 the structure, the potential paths, and the                 5      A I haven't seen the financials for '17
                                                                                         6 premiums and the assumptions and the probabilities          6 or '18, so I don't know what else they were doing.
                                                                                         7 are reasonable also, especially if it is an                 7      Q Well, you just said, "it looks like
                                                                                         8 outsized policy for a company or if the company is          8  they  were making up for it in growth in 2017."
                                                                                         9 in a high-growth state, which Sentinel was. And             9      A Well, yeah, based on -- based on what
                                                                                         10 so that's why I know Ellington was in                      10 you have been telling me, the policy was done in
                                                                                         11 contemporaneous discussions with them at the same          11 August of '17 and it was a larger policy.
                                                                                         12 time he was getting the transaction through                12     Q When you say "it looks like they were
                                                                                         13 compliance.                                                13 making up for their lack of growth in 2016,"
                                                                                         14     Q So, first of all, this was an outsized               14 you're solely basing that on the issuance of this
                                                                                         15 policy, given Sentinel Re's history, correct?              15 $100 million policy and nothing else that you're
                                                                                         16     A I mean, it's outsized or larger than                 16 aware of as you sit here today, correct?
                                                                                         17 what they had done historically.                           17     A That's right. I haven't seen the '17
                                                                                         18     Q And, second of all, Sentinel Re, based               18 or the '18 or '19 or '20 financials.
                                                                                         19 on the financial statements, we showed was not in          19     Q Okay. But you have seen financials
                                                                                         20 the high growth, but they were actually                    20 that show you they contracted from 2016 as
                                                                                         21 contracting 2016 as compared to 2015; isn't that           21 compared to 2015, correct?
                                                                                         22 right?                                                     22     A Yes.
                                                                                         23     A No. No, they were growing on all                     23        MR. CLUBOK: Let's put up Exhibit --
                                                                                         24 measures. Their capital just shrunk because of             24 the document that is behind Tab 8. It will be
                                                                                         25 the dividends.                                             25 marked as Exhibit 28.
                                                                                                                                                 182                                                           184
                                                                                         1      Q Well, their pretax income was shrinking              1         (Deposition Exhibit 28 marked for
                                                                                         2 from 2016 versus 2015, right?                               2 identification.)
                                                                                         3      A Okay, all right. Yes, okay.                          3      Q This document, when it gets up, is an
                                                                                         4      Q And their balance sheet shrunk between               4 e-mail from Katie Irving to Sam Dawson, Dylan
                                                                                         5 2016 as compared to 2015, right?                            5 Wiltermuth, copy J.P. Sevilla and Matt DiOrio;
                                                                                         6      A Okay, yes, but they are still in the                 6 Subject: Entity restructure - Sentinel, and it's
                                                                                         7 high growth mode.                                           7 dated April 10th, 2019.
                                                                                         8      Q What was one measure that they were                  8         I'll show you the top of that document
                                                                                         9 growing in in 2016 compared to 2015 if it's not             9 so you can see that. Do you see all that at the
                                                                                         10 balance sheet, income, capital? Name one measure           10 top of Exhibit 28?
                                                                                         11 that causes you to say that they were high growth?         11     A Yes.
                                                                                         12     A There's an effort in futzpah, footnote               12     Q Okay. I'm going to skip the e-mail
                                                                                         13 on page 7.                                                 13 part, but I just want to -- there is an attachment
                                                                                         14         MR. TAYLOR: Andy, if you're going to               14 here that says "SAS" and "Sentinel Final Structure
                                                                                         15 ask him about a document, I would ask that you put         15 as of 9 April 2019, a PowerPoint." And that
                                                                                         16 it up in front of him.                                     16 attachment, I'm flipping down, it's a -- the first
                                                                                         17     Q There was a footnote on page 7 of what               17 attachment, which is the structure -- "Offshore
                                                                                         18 document?                                                  18 Fund Structure" of SAS, is on the page that ends
                                                                                         19     A I'm joking. I'm joking, Andy. I said                 19 Bates labeled 3125 of Exhibit 28.
                                                                                         20 it was an effort in futzpah, chutzpah, footnote on         20        Do you see that?
                                                                                         21 page 7. But no, I mean, it was -- that was the             21     A Yes.
                                                                                         22 ambition and that was the plan. If it hit a lull           22     Q And I'm going to try to make it so it's
                                                                                         23 in 2016, it looks like they were making up for it          23 as easy  as possible to read. First of all, this
                                                                                         24 in growth in 2017.                                         24 is an SAS structure not Sentinel, SAS. And do you
                                                                                         25     Q When you say "it looks like they were                25 see where it talks about "USP1," "four USPs" and
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                                                                                                                                   Transcript of James Dondero                                    47 (185 to 188)

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                                                                                                                                               185                                                           187
                                                                                         1 then "USP2" on the right?                                 1 chart, you get to where it says "70 percent" value
                                                                                         2      A Yes.                                               2 for Sentinel Re at the bottom?
                                                                                         3      Q Fair to say that you are one of these              3      A Yes.
                                                                                         4 USPs?                                                     4      Q And USP1 goes down, and there is
                                                                                         5      A No, it's not fair to say. I have no                5 30 percent value. Do you see that?
                                                                                         6 idea.                                                     6      A Yep.
                                                                                         7      Q You have no idea. Okay.                            7      Q And fair to say that under this chart
                                                                                         8        Do you recognize any of the names on               8  Mr. Ellington is USP1 and you are USP2?
                                                                                         9 this org chart for SAS structure as of April 9,           9      A I don't know, and I haven't seen this
                                                                                         10 2019?                                                    10 before.
                                                                                         11     A No, I do not.                                      11     Q Are there any other U.S. partners
                                                                                         12     Q Have you ever heard of Sebastian                   12 invested in Sentinel, other than you and
                                                                                         13 Clarke, Limited?                                         13 Mr. Ellington, to your knowledge?
                                                                                         14     A No.                                                14     A I've never seen this before. I don't
                                                                                         15     Q Did you know that Matt DiOrio was a                15 have an awareness of this, that even USP means
                                                                                         16 director of Sentinel Reinsurance?                        16 U.S. partner.
                                                                                         17     A I did not.                                         17     Q Okay. But you are -- you do have an
                                                                                         18     Q Did you ever speak with Matt DiOrio                18 awareness that Patton was an entity that you owned
                                                                                         19 about Sentinel Reinsurance?                              19 70 percent of Sentinel Re through, correct?
                                                                                         20     A No.                                                20        MR. TAYLOR: Objection. Form.
                                                                                         21     Q Did you -- did you ever speak to Matt              21     A If that's the same Patton as the one
                                                                                         22 DiOrio in the last two years?                            22 that we saw in the Sentinel structure.
                                                                                         23     A I spoke to him a month ago. He was the             23     Q Okay. And you're saying, as you sit
                                                                                         24 point person on some of the shared services              24 here today, you believe you have no relationship
                                                                                         25 agreements with the bank, and so I was working           25 whatsoever with SAS?
                                                                                                                                               186                                                           188
                                                                                         1 with him on those.                                        1 A This is the first time I've seen
                                                                                         2      Q Is he working with you at your new                 2 this -- can you go back to the page before for a
                                                                                         3 venture?                                                  3 second?
                                                                                         4      A He is at -- yeah, he works at whatever             4         (Witness reviewing document.)
                                                                                         5 it's called, SkyBridge, SkyGate, whatever,                5      A Even looking at this, I can't figure
                                                                                         6 whatever it's called.                                     6 this out. Do we get these exhibits as part of the
                                                                                         7      Q So he has an office in the same                    7 deposition?
                                                                                         8 building, although on a different floor, than the         8      Q I don't know. Why do you ask?
                                                                                         9 building you're sitting in today?                         9      A I'd like to spend more time looking at
                                                                                         10     A Yes.                                               10 this.
                                                                                         11     Q Have you ever talked to Matt DiOrio                11     Q Well, as you sit here today, are you
                                                                                         12 about SAS?                                               12 aware  -- are you testifying that as far as you
                                                                                         13     A No.                                                13 know, you have no connection whatsoever to SAS?
                                                                                         14     Q I'm going to turn to the next page.                14     A I mean, that's how I understood it,
                                                                                         15 The next page in this document, Exhibit 28, is           15 which is it looks like this was the older
                                                                                         16 another chart, and this is for the Sentinel              16 structure. I mean, I'm trying to -- I'm trying to
                                                                                         17 structure as of April 9, 2019. Do you see that?          17 figure this out and it's --
                                                                                         18     A Yes.                                               18     Q How do you know it is the older
                                                                                         19     Q Now, here you are USP2, correct?                   19 structure?
                                                                                         20     A I've never seen this before. I don't               20     A Well, because that's how it was
                                                                                         21 know if you can make that statement just from --         21 presented and that's as of '19, and you have got a
                                                                                         22 the Patton, Limited, I guess, is the same Patton         22 proposed structure a page later, right?
                                                                                         23 on the other page, but I don't know how that             23     Q Oh, no, no, this is "SAS Structure" and
                                                                                         24 connects to USP2.                                        24 the next page is "Sentinel Structure."
                                                                                         25     Q Well, when you go down USP2, down this             25     A Right, but isn't the next structure a
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                                                                                         1 combination of the two or no?                               1      Q By the way, on the chart for Sentinel,
                                                                                         2      Q No. It's -- well, yes, it looks                      2  it shows  that you have a 70 percent value, but it
                                                                                         3 like -- ah, it look like SAS Holdings is involved           3 says 91 percent vote. Do you see that?
                                                                                         4 somehow in Sentinel. Actually, now that you                 4      A Yes.
                                                                                         5 mention it, it looks like SAS Holdings is somehow           5      Q Do you know why you have a greater
                                                                                         6 connected. Does any of that ring a bell with you?           6 voting share than your economic benefit in
                                                                                         7      A No, none of this rings a bell. I                     7 Sentinel as it's set forth in this chart?
                                                                                         8  didn't  know it was restructured, and I can't make         8      A No. Like I said, that's why I can't
                                                                                         9 heads of tails out of the prior restructuring.              9 make heads or tails of this. Like I can't --
                                                                                         10 But hold on a second. So in a day or two when we           10 like, look a little further right, where it's
                                                                                         11 get the deposition transcript, aren't the exhibits         11 99 percent of value, 1 percent of the vote. I
                                                                                         12 included or no?                                            12 can't -- I can't seem to add up the value numbers
                                                                                         13        MR. TAYLOR: They are.                               13 or the vote numbers. I must be missing something.
                                                                                         14        THE WITNESS: They are. Okay, good.                  14 I couldn't do it on this chart or the other chart.
                                                                                         15 All right.                                                 15 That's why I would like to review them in more
                                                                                         16     Q It may be.                                           16 detail.
                                                                                         17     A Yeah, Clay is saying they are. I just                17     Q Yeah, but as you sit here today, are
                                                                                         18 want to be able to look at this in more detail             18 you aware generally that you have a greater voting
                                                                                         19 then.                                                      19 interest in Sentinel than you do an economic
                                                                                         20        MR. TAYLOR: Andy, is this a Highland                20 interest?
                                                                                         21 Capital document?                                          21     A No, I would have guessed it was 70/30
                                                                                         22        MR. CLUBOK: It is a Highland Capital                22 for both.
                                                                                         23 document produced by Highland Capital, Bates               23     Q Was there a law firm that helped you
                                                                                         24 labeled.                                                   24 set up Sentinel Reinsurance, that you're aware of?
                                                                                         25     Q So as you sit here today, having seen                25     A I do not know.
                                                                                                                                                 190                                                          192
                                                                                         1 this, as far as you know, you're not aware of any           1      Q Was there ever an analysis done, to
                                                                                         2 connection you had with SAS; is that correct?               2 your knowledge, of how much Sentinel Reinsurance
                                                                                         3      A I thought the ownership of SAS was --                3 would owe if UBS's trial court decision was
                                                                                         4 didn't flow through to Scott and I. I thought               4 upheld?
                                                                                         5 there was some fee, some profitability sharing              5         MR. TAYLOR: I'm just going to object
                                                                                         6 potentially, but I thought the ownership was owned          6  to form.
                                                                                         7 by some -- to avoid operating a business offshore,          7      A I don't know.
                                                                                         8 sometimes I think there's charitable entities and           8      Q Do you know how much total payout there
                                                                                         9 stuff that are the owner for name purposes, and             9 has been from the insurance policy for any of the
                                                                                         10 that's how I thought SAS was structured, where if          10 purposes that you said that the policy was set up
                                                                                         11 there -- it would be possible to get some                  11 for?
                                                                                         12 incentives or compensation out of it but that the          12     A I do not know.
                                                                                         13 ownership wasn't with Scott and I. That was my             13        MR. CLUBOK: I think this is a good
                                                                                         14 memory, but, you know --                                   14 time to take a break.
                                                                                         15     Q Okay. But you believe that you had                   15        MR. TAYLOR: That's good. So we have
                                                                                         16 some economic interest in SAS; is that correct?            16 to take another one at 6:00. Let's go off the
                                                                                         17     A You know, potentially, you know, but --              17 record.
                                                                                         18 I mean, but as far as I know, there hadn't been a          18        THE VIDEOGRAPHER: Off record. 6:03.
                                                                                         19 lot of realizations there.                                 19        (A recess was taken.)
                                                                                         20     Q Have you ever received any economic                  20        THE VIDEOGRAPHER: On record. 6:24.
                                                                                         21 benefit from SAS, as far as you know?                      21 BY MR. CLUBOK:
                                                                                         22     A No, I have not.                                      22     Q Mr. Dondero, we're going to show you
                                                                                         23     Q Has Scott Ellington, as far as you                   23 what's previously been marked as Exhibit 1. It is
                                                                                         24 know?                                                      24 an e-mail from Isaac Leventon to Chris Dunn,
                                                                                         25     A As far as I know, no.                                25 D-U-N-N, dated October 26, 2017, with an
                                                                                                                                      PLANET DEPOS
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                                                                                                                                      Transcript of James Dondero                                49 (193 to 196)

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                                                                                                                                                 193                                                           195
                                                                                         1 attachment called UBS_ATE.PDF.                              1         Do you see that?
                                                                                         2        Do you see that?                                     2      A   Yes.
                                                                                         3     A Yes.                                                  3      Q And that's your signature, correct?
                                                                                         4     Q And Mr. Leventon said -- first of all,                4      A Yeah, or my assistant's, it looks like.
                                                                                         5 who is Chris Dunn?                                          5 It is either my signature or my assistant's.
                                                                                         6     A I believe he is one of the accountants                6      Q Well, it's an authorized signature by
                                                                                         7 who used to work at Highland.                               7 you, correct?
                                                                                         8     Q Okay. And does he work with you now?                  8      A Yes.
                                                                                         9     A I don't believe so. I don't recognize                 9      Q And that's on behalf of one of the
                                                                                         10 that name.                                                 10 insureds, Highland CDO Opportunity Master Fund,
                                                                                         11    Q And Mr. Leventon says to Mr. Dunn --                  11 LP, correct?
                                                                                         12 "Subject: UBS - PRIVILEGED." Do you see that?              12     A Yeah. Do you want me to read the
                                                                                         13    A Yes.                                                  13 signature lines? You'll need to zoom in for me.
                                                                                         14    Q And he says, "Please see attached.                    14 But whoever it's signed for, it's signed for, I
                                                                                         15 Please label all communications related to this            15 guess.
                                                                                         16 project as Privileged as all documents are being           16     Q Okay. And it's also signed on behalf
                                                                                         17 requested of the Legal Team."                              17 of Highland CDO Hold Company, correct?
                                                                                         18       Do you see that?                                     18     A Highland CDO Holding Company, yes.
                                                                                         19    A Yes.                                                  19     Q And again, you signed on behalf of
                                                                                         20    Q And just scrolling down, there's                      20 Highland  CDO Holding Company as another one of the
                                                                                         21 nothing else in the cover e-mail, and I'm going to         21 insureds under the policy, correct?
                                                                                         22 show -- and I take it you have never seen this             22     A I don't know what the involvement is of
                                                                                         23 e-mail before?                                             23 the different entities, if they're all the insured
                                                                                         24    A No. No, I have not.                                   24 or they're just somehow -- somehow involved in the
                                                                                         25    Q Okay. So I'm going to show you the                    25 agreement, but yes, I'm signing for those various
                                                                                                                                                 194                                                           196
                                                                                         1 attachment and see if it refreshes your                     1 different funds.
                                                                                         2 recollection. Let me get this a little bit                  2      Q Well, so you sign this document on
                                                                                         3 smaller here.                                               3 behalf of Highland CDO Opportunity Master Fund,
                                                                                         4          This is a document -- the attachment is            4 LP, correct?
                                                                                         5 the legal liability insurance policy that we have           5      A Yes.
                                                                                         6 been talking about today. This is the first page            6      Q And you sign this document on behalf of
                                                                                         7 of it, where it's called "Legal Liability                   7 Highland CDO Holding Company, correct?
                                                                                         8 Insurance Policy" in blue letters on the first              8      A Yes.
                                                                                         9 page.                                                       9      Q And you sign on behalf of Highland
                                                                                         10         Do you see that?                                   10 Special Opportunities Holding Company, correct?
                                                                                         11     A Yes.                                                 11     A Yes.
                                                                                         12     Q And I want to go -- I'm going to go                  12     Q And you were the sole director of SOHC
                                                                                         13 through some of the policy with you. I'm going to          13 at the time, right?
                                                                                         14 flip first to the very end, the last page, the             14     A I -- I -- probably. I don't know.
                                                                                         15 signature page. And do you see where it says               15     Q And you were the sole director of
                                                                                         16 "Insurer: Sentinel Reinsurance, Limited," and it           16 Highland CDO Holding Company at the time, correct?
                                                                                         17 says, "Andrew Dean, Director"?                             17     A I don't know.
                                                                                         18     A Yep.                                                 18     Q Do you know -- can you name another
                                                                                         19     Q And then do you see where it says                    19 director of Highland CDO Holding Company?
                                                                                         20 "Insureds," and the first insured is Highland CDO          20     A No.
                                                                                         21 Opportunity Master Fund, LP. And it says that you          21     Q And you were -- it says you were
                                                                                         22 are signing on behalf of CDO Opportunity Master            22 president. Is that president of Highland CDO
                                                                                         23 Fund by CDO Opportunity Fund, by CDO Opportunity           23 Opportunity Master Fund, LP?
                                                                                         24 GP, by Highland Capital Management and by Strand           24     A I don't know.
                                                                                         25 Advisors.                                                  25     Q Or is it president of Strand Advisors?
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                                                                                                                                       Transcript of James Dondero                                 50 (197 to 200)

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                                                                                                                                                 197                                                          199
                                                                                         1      A I don't know.                                        1 when making the decision to sign on SOHC's behalf?
                                                                                         2      Q Were you president of Strand Advisors                2      A I don't know. I don't remember.
                                                                                         3 at that time?                                               3      Q Did you believe at the time you signed
                                                                                         4      A Yes, I would have been. Yeah, if it                  4 this document you had fiduciary duties to Highland
                                                                                         5 had a president, yes.                                       5 CDO Holding Company?
                                                                                         6      Q In August of 2017, did you have                      6      A I don't know. I don't remember.
                                                                                         7 authority to sign a document like this on behalf            7      Q At the time you signed this document,
                                                                                         8 of Strand Advisors?                                         8  did you have fiduciary duties to Highland CDO
                                                                                         9      A I assume so.                                         9 Opportunity Master Fund that you took into account
                                                                                         10     Q And in August of 2017, did you have                  10 before you signed it?
                                                                                         11 authority to sign a document like this on behalf           11     A I don't know. I don't remember.
                                                                                         12 of Highland Capital Management?                            12     Q Do you believe that you had any -- in
                                                                                         13     A I assume so.                                         13 August of 2017 the UBS litigation was still going
                                                                                         14     Q In August 2017 did you have authority                14 on, correct?
                                                                                         15 to sign a document like this on behalf of Highland         15     A I think I testified I believe it was
                                                                                         16 CDO Opportunity GP, LLC?                                   16 dormant.
                                                                                         17     A I believe so.                                        17     Q Well, in fact, in August of 2017 UBS
                                                                                         18     Q In August of 2017 did you have                       18 had just defeated Highland and the other
                                                                                         19 authority to sign the insurance policy on behalf           19 defendants' motion for summary judgment; isn't
                                                                                         20 of Highland CDO Opportunity Fund GP?                       20 that true?
                                                                                         21     A I believe so.                                        21     A Like I said, I don't know. My belief
                                                                                         22     Q In August of 2017 did you have the                   22 was it was dormant.
                                                                                         23 authority to sign the insurance policy on behalf           23     Q Did you believe that you had any
                                                                                         24 of Highland CDO Opportunity Master Fund, LP?               24 fiduciary duties to consider to UBS, as a
                                                                                         25     A I believe so.                                        25 potential creditor of SOHC and CDO Fund, when you
                                                                                                                                                 198                                                          200
                                                                                         1      Q In August of 2017 did you have the                   1 signed this document in August of 2017?
                                                                                         2 authority to sign on behalf of Highland CDO                 2         MR. TAYLOR: Objection. Form.
                                                                                         3 Holding Company?                                            3      Q Okay. I'm going to break it down. In
                                                                                         4      A I believe so.                                        4 August of 2017, did you believe that you owed any
                                                                                         5      Q And fair to say that in August of 2017               5 fiduciary duties at all to UBS as a creditor or
                                                                                         6  you  had the authority to sign off on this                 6 potential creditor of Highland Special
                                                                                         7 insurance policy on behalf of Highland Special              7 Opportunities Holding Company?
                                                                                         8 Opportunities Holding Company, correct?                     8      A I -- I do not -- I do not believe or
                                                                                         9      A I believe so.                                        9 recall believing that I had any fiduciary
                                                                                         10     Q And before you signed off on this                    10 responsibility to UBS.
                                                                                         11 $100 million insurance policy, did you take care           11     Q With respect to its status as a
                                                                                         12 to familiarize yourself with the terms of it?              12 creditor  or potential creditor of SOHC, correct?
                                                                                         13     A No.                                                  13     A Yes.
                                                                                         14     Q Did you have a fiduciary duty at the                 14     Q And the same answer for Highland CDO
                                                                                         15 time to Highland Special Opportunities Holding             15 Opportunity Master Fund?
                                                                                         16 Company when you signed this policy?                       16     A Yes.
                                                                                         17     A I -- fiduciary -- as a registered                    17     Q Same answer for Highland Financial
                                                                                         18 investment advisor, I assume -- I assume we did.           18 Partners?
                                                                                         19 I don't know -- to the extent the fund doesn't             19     A Yes.
                                                                                         20 exist anymore, I -- I don't know the answer. Let           20     Q You now know, sitting here today, that
                                                                                         21 me just say that.                                          21 a Court has found that SOHC and CDO Fund
                                                                                         22     Q Well, when you acted in August 2017 on               22 collectively owe to UBS over $500 million, plus
                                                                                         23 behalf of SOHC, which is the shorthand for Special         23 interest, at the time this insurance policy was
                                                                                         24 Opportunities Holding Company, did you believe             24 signed, correct?
                                                                                         25 that you had fiduciary duties you had to consider          25     A No, I don't know that.
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                                                                                                                                   Transcript of James Dondero                                     51 (201 to 204)

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                                                                                         1       Q Well, you know that there has been a                1 is in favor of UBS?
                                                                                         2  judgment   after a trial that found SOHC and CDO           2      A I have not.
                                                                                         3 Fund liable to UBS for over $500 million, plus              3      Q Do you feel you currently owe any
                                                                                         4 accumulated interest, since 2009, correct?                  4 fiduciary duties to UBS in your capacity as
                                                                                         5       A I don't know the specifics of the                   5 director of SOHC?
                                                                                         6 award, but generally I know there is a significant          6         MR. TAYLOR: Objection. Assumes facts
                                                                                         7 award.                                                      7 not in evidence.
                                                                                         8       Q Well, you know generally that the award             8         MR. CLUBOK: Okay. Strike that.
                                                                                         9 today totals roughly a billion dollars or more,             9 Restate that.
                                                                                         10 correct?                                                   10     Q I take it you have recently resigned
                                                                                         11         MR. TAYLOR: Objection. Form.                       11 your position as director of SOHC?
                                                                                         12      A Again, I don't know the mix, I don't                12     A I believe so.
                                                                                         13 know the specifics. You mentioned a minute ago a           13     Q That was done just within the last week
                                                                                         14 total to 550, and then you said it was a billion.          14 or so?
                                                                                         15 So I don't know -- I don't know the details and            15     A I believe so.
                                                                                         16 the specifics.                                             16     Q Prior to resigning as director of SOHC,
                                                                                         17      Q Okay. Let's make it very simple. As                 17 did you ever consider that you had fiduciary
                                                                                         18 you sit here today, you know that there is a               18 duties owed to UBS in connection with the judgment
                                                                                         19 pending judgment against SOHC and CDO Fund for a           19 entered against SOHC on behalf of UBS?
                                                                                         20 total of over a billion dollars, including                 20     A I -- I don't recall.
                                                                                         21 interest, correct?                                         21     Q Are you currently a director of
                                                                                         22      A I -- I don't know. And I don't know                 22 Highland's -- sorry.
                                                                                         23 if -- a pending judgment, I don't know if it's             23        Do you currently have any role in
                                                                                         24 appealable, I don't know if it is being appealed.          24 Highland CDO Opportunity Master Fund?
                                                                                         25 I have no idea.                                            25     A I don't know.
                                                                                                                                                 202                                                           204
                                                                                         1      Q You have absolutely no idea if there is              1          MR. CLUBOK: We're going to mark as an
                                                                                         2 an outstanding judgment right now against SOHC and          2 exhibit the document that is Bates labeled
                                                                                         3 CDO Fund for approximately a billion dollars in             3 HCMUBS005324, and that will be, I think,
                                                                                         4 favor of UBS? That's your testimony?                        4 Exhibit 29.
                                                                                         5      A You said a minute ago a pending                      5          That must be right. Whoops, sorry, no,
                                                                                         6  judgment.    Now you're saying it's a judgment. I          6  this is the wrong document.
                                                                                         7 have no idea what the legal status is.                      7          Sorry. We'll find the document here in
                                                                                         8      Q Do you know that there was a judgment                8 a second. I'm trying to find the letter that you
                                                                                         9 entered against SOHC and CDO Fund for over a                9 recently sent to the lawyers representing the
                                                                                         10 billion dollars, including interest, in favor of           10 debtor in which you tendered your resignation.
                                                                                         11 UBS in connection with the New York litigation?            11         I think, Alan, you may have pulled the
                                                                                         12     A I don't know the specifics. I don't                  12 wrong   number. Let's try this again. It's
                                                                                         13 know the specific counterparties.                          13 HCMUBS005324.
                                                                                         14     Q Do you know? So is that a no to my                   14         It should be a letter. There we go.
                                                                                         15 question?                                                  15 Thank you. Sorry, maybe I missaw it or something
                                                                                         16     A Yes. I don't know.                                   16 if you had it before.
                                                                                         17     Q Have you made any effort to consider                 17     Q Anyway, let's take a look at this.
                                                                                         18 whether or not SOHC owes any money currently to            18 This is a letter dated --
                                                                                         19 UBS?                                                       19         MR. CLUBOK: And we're going to make
                                                                                         20     A I have not.                                          20 this one Exhibit 29, correct?
                                                                                         21     Q Have you made any effort to consider                 21         Yes. Perfect.
                                                                                         22 whether currently CDO Fund owes any money to UBS?          22         (Deposition Exhibit 29 marked for
                                                                                         23     A I have not.                                          23 identification.)
                                                                                         24     Q Have you ever taken any steps to try to              24     Q Exhibit 29 is a letter dated April 28,
                                                                                         25 satisfy any judgment against SOHC or CDO Fund that         25 2021 from Bonds Ellis to Mr. James Seery, care of
                                                                                                                                      PLANET DEPOS
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                                                                                                                                   Transcript of James Dondero                                   52 (205 to 208)

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                                                                                                                                                205                                                           207
                                                                                         1 Jeffrey Pomerantz. Do you see that?                        1 want to -- it was sometime 2017 or earlier, you
                                                                                         2      A Yes.                                                2 know, essentially.
                                                                                         3      Q And it's "RE: Resignation of James                  3      Q Sorry, you believe that you were no
                                                                                         4 Dondero from Defendant Entities in UBS, et al.             4 longer a director of SOHC earlier than 2017?
                                                                                         5 versus HCMLP, et al., Index No. 650097/2009 (N.Y.          5      A You know what, it's -- I don't want to
                                                                                         6 Sup. Ct.)" Correct?                                        6 agree with that terminology. I just want to say
                                                                                         7      A Yes.                                                7 that the entity was not functioning normally or
                                                                                         8      Q Have you seen this letter before?                   8 routinely as far as corporate governance was
                                                                                         9      A It was prepared by counsel. I have                  9 concerned, and I was probably the last surviving
                                                                                         10 seen it.                                                  10 director who tried to wrap it up responsibly with
                                                                                         11     Q And it was signed by Mr. Clay Taylor,               11 the 2017 policy.
                                                                                         12 who is representing you here today, correct?              12     Q Okay. You were the only director ever
                                                                                         13     A Yes.                                                13 in the history of SOHC; isn't that true?
                                                                                         14     Q And you saw it after it was complete                14     A I don't know. HFP had numerous
                                                                                         15 and either before or after it was sent to the --          15 directors originally --
                                                                                         16 Mr. Seery?                                                16     Q I didn't ask you about HFP, okay? In
                                                                                         17     A Yes.                                                17 the interest of time here, I would like you to
                                                                                         18     Q And you authorized this letter to go                18 answer the questions that I ask. You were the
                                                                                         19 out under your --                                         19 sole director of SOHC from its inception, correct?
                                                                                         20        MR. CLUBOK: Strike that.                           20     A I don't know.
                                                                                         21     Q You authorized this letter to go out?               21     Q When you signed in August of 2017, did
                                                                                         22     A Yes.                                                22 you believe you were still the director of SOHC?
                                                                                         23     Q And in the letter you, in addition to               23     A Yes.
                                                                                         24 Mr. Taylor, are describing a number of things. He         24     Q Did you check with any other -- or were
                                                                                         25 says that you are hereby immediately resigning            25 you aware of any other directors in the world of
                                                                                                                                                206                                                           208
                                                                                         1 from "alleged director position(s) at HFP and SOHC         1 SOHC other than yourself at that time?
                                                                                         2 and/or any other officer positions at those                2      A I don't know. I didn't check. I don't
                                                                                         3 entities."                                                 3 remember.
                                                                                         4        Do you see that?                                    4      Q Okay. So as far as you knew, you were
                                                                                         5      A Yes.                                                5 the sole director of SOHC in August 2017, correct?
                                                                                         6      Q Now, before you sent this letter, did               6      A No. I didn't know is my testimony.
                                                                                         7 you believe that you were a director in SOHC?              7      Q Okay. You didn't check to see if there
                                                                                         8      A No.                                                 8 were other directors when you signed on behalf of
                                                                                         9      Q When did you -- but you used to be a                9 SOHC; is that correct?
                                                                                         10 director at SOHC, correct?                                10     A Correct.
                                                                                         11     A Many years ago.                                     11     Q And were you still a director of SOHC
                                                                                         12     Q Well, you certainly were a director in              12 in August   2017 when you signed that insurance
                                                                                         13 SOHC when you signed on their behalf in August of         13 policy?
                                                                                         14 2017 for the insurance policy, correct?                   14         MR. TAYLOR: Objection. Asked and
                                                                                         15     A Yes.                                                15 answered.
                                                                                         16     Q So when did you stop being a director               16     A I believe so.
                                                                                         17 of SOHC?                                                  17     Q Okay. And when -- and you resigned in
                                                                                         18     A I mean, prior to 2017 it had been                   18 this letter that you sent -- or that Mr. Taylor
                                                                                         19 inactive for a number of years, and, again, my            19 sent -- April 28, 2021, correct?
                                                                                         20 view and recollection is the insurance policy was         20     A Yes.
                                                                                         21 to transition and wrap up the dissolution, so to          21     Q And so fair to say you were a director
                                                                                         22 speak, responsibly.                                       22 of SOHC for August 2017 until this resignation
                                                                                         23     Q When did you stop being a director of               23 letter, as far as you know, correct?
                                                                                         24 SOHC, to the best of your knowledge?                      24         MR. TAYLOR: Objection. Form.
                                                                                         25     A For all intents and purposes -- I don't             25     A I -- maybe in formality, but I can't
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                                                                                                                                   Transcript of James Dondero                                    53 (209 to 212)

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                                                                                         1 remember doing a single activity between 2017 and           1 connection with the UBS litigation. So even if
                                                                                         2 today on behalf of SOHC.                                    2 Mr. Feinstein didn't have a problem with it, this
                                                                                         3      Q Who directed SOHC's litigation strategy              3 has already been waived. But I assume,
                                                                                         4 in 2018 and 2019?                                           4 Mr. Feinstein, you don't have a problem with this
                                                                                         5      A I believe Scott Ellington.                           5 line of questioning?
                                                                                         6      Q Who was ultimately responsible for                   6         MR. FEINSTEIN: I don't, to the extent
                                                                                         7 SOHC, as far as you knew, during those years?               7 that there is some question about whether SAS was
                                                                                         8      A Ultimately Scott Ellington through                   8 involved in the decision making. And, as we said,
                                                                                         9 Sentinel.                                                   9 our waiver extends to Sentinel- and SAS-related
                                                                                         10     Q You're saying Sentinel was responsible               10 matters.
                                                                                         11 for SOHC starting in August 2017 going forward?            11        MR. CLUBOK: Okay.
                                                                                         12     A My general understanding is that the                 12     Q So Mr. Dondero, again, my question is,
                                                                                         13 Sentinel policy took over the transition                   13 did you ever hear about any settlement demands
                                                                                         14 responsibilities for SOHC, meaning the legal               14 from UBS in between August 2017 and the time you
                                                                                         15 strategies or any other legal issues that cropped          15 filed for bankruptcy?
                                                                                         16 up or any tax issues. So if you're talking about           16     A I did not hear of any.
                                                                                         17 the period between the policy and today, I would           17        MR. CLUBOK: The next document I want
                                                                                         18 have guessed that Sentinel was handling them.              18 to put up is the responsive letter that was sent
                                                                                         19     Q Who was able to make the decision as to              19 in response to Exhibit 29. That's going to be
                                                                                         20 whether or not to settle the litigation with UBS           20 Bates number 5322. And that will be marked as
                                                                                         21 on behalf of SOHC after August of 2017, as far as          21 Exhibit 30.
                                                                                         22 you knew?                                                  22        (Deposition Exhibit 30 marked for
                                                                                         23     A That would have been Scott Ellington.                23 identification.)
                                                                                         24     Q Did you have any role at all in the                  24     Q Exhibit 30 is a letter sent via e-mail
                                                                                         25 decision of whether or not SOHC would settle after         25 from Jeffrey Pomerantz to your lawyer, Clay
                                                                                                                                                 210                                                           212
                                                                                         1 August of 2017?                                             1 Taylor, dated May 7, 2021. Do you see that?
                                                                                         2      A Until the -- I had never -- you asked                2      A Uh-huh.
                                                                                         3 me this earlier today. I had never heard of other           3      Q Is that a yes?
                                                                                         4 UBS settlement offers until the August of '19               4      A Yes. I see that.
                                                                                         5 settlement.                                                 5      Q And it's the same Re line, the same
                                                                                         6      Q Did you have any authority to decide                 6  "Resignation   of James Dondero from the Defendant
                                                                                         7 whether or not SOHC would settle between August of          7 Entities" in the New York UBS litigation, correct?
                                                                                         8 2017 and that time of the bankruptcy?                       8      A Yes.
                                                                                         9      A I don't know. Because I haven't read                 9      Q Have you seen a copy of this letter
                                                                                         10 the insurance policy, I don't know where                   10 before today?
                                                                                         11 responsibilities begin and end between SOHC and            11     A Yes.
                                                                                         12 Sentinel.                                                  12     Q Okay. And without reading all of it,
                                                                                         13     Q Did you ever hear about any settlement               13 I'm going to briefly summarize. Mr. Pomerantz
                                                                                         14 demands from UBS in between August 2017 and the            14 says he's in receipt of the letter where James
                                                                                         15 time that you filed for bankruptcy?                        15 Dondero resigned from his positions in connection
                                                                                         16     A So --                                                16 with HFP and SOHC, and then he notes that you're
                                                                                         17        MR. TAYLOR: To the extent that that                 17 also, at least as of the time of writing this
                                                                                         18 asks for him to invade the attorney-client                 18 letter, "a director of Highland CDO Opportunity
                                                                                         19 privilege, I don't believe -- but subject to               19 Fund, the Bermuda feeder fund for the Highland CDO
                                                                                         20 Highland Capital's counsel potentially saying              20 Opportunity Fund," also called "the CDO Fund,"
                                                                                         21 they've waived that, I'm going instruct him not to         21 collectively. And he asks to confirm immediately
                                                                                         22 answer. I understood that to be further than what          22 whether you are "resigning from HCDOF and all
                                                                                         23 they waived.                                               23 other subsidiaries of HCDOF as well." And I
                                                                                         24        MR. CLUBOK: Mr. Dondero has already                 24 believe, as far as I know, there has never been a
                                                                                         25 testified about alleged settlement offers in               25 formal response to that.
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                                                                                                                                     Transcript of James Dondero                                 54 (213 to 216)

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                                                                                         1         But my question is, as you sit here                1 the -- see, I didn't see any -- do you see any
                                                                                         2  today, are you a director of Highland CDO                 2 Ltd. -- any Bermuda funds here? I just didn't see
                                                                                         3 Opportunity Fund?                                          3 it at first glance.
                                                                                         4         MR. TAYLOR: Objection. Form.                       4      Q I don't know. It would have to be
                                                                                         5      A I don't know, and -- I don't know. And              5 Ltd.?
                                                                                         6 when I got this letter, I wasn't sure of its               6      A See, I wasn't sure that any of these
                                                                                         7 relevance relative to the insurance policy. I              7 impacted Bermuda.
                                                                                         8 didn't remember Bermuda entities being relevant to         8      Q Well, in -- okay.
                                                                                         9 the HFP structure.                                         9         How is CDO Opportunity Master Fund
                                                                                         10     Q Okay. Well, are you resigning from CDO              10 connected to CDO Fund that says Ltd. on it?
                                                                                         11 Fund if you are currently a director?                     11     A I have no idea.
                                                                                         12        MR. TAYLOR: Objection as to the form               12     Q Previously you said that you didn't
                                                                                         13 of the question.                                          13 remember signing the insurance policy, correct?
                                                                                         14     A I don't know. I mean, we were going to              14     A Correct.
                                                                                         15 look into it on whether I was a director and we           15     Q Does seeing this now refresh your
                                                                                         16 were going to look into it if it had any relevance        16 recollection that you did sign the insurance
                                                                                         17 or -- any relevance or effect on the rest of it,          17 policy on behalf of three different entities?
                                                                                         18 and we hadn't decided yet.                                18     A No, not really.
                                                                                         19     Q Well, do you know that CDO Fund is one              19     Q But you authorized your signature on
                                                                                         20 of the defendants in the New York litigation?             20 this policy, correct?
                                                                                         21     A Is it one of the entities that was                  21     A Correct.
                                                                                         22 found guilty or owing money?                              22     Q And before you authorized the policy --
                                                                                         23     Q Yes.                                                23        MR. CLUBOK: Well, strike that.
                                                                                         24     A Okay. I didn't know that. So we                     24     Q So when you authorized it, you knew you
                                                                                         25 need -- we needed to look into that.                      25 were authorizing it not just on behalf of SOHC or
                                                                                                                                                214                                                          216
                                                                                         1      Q Okay. I take it you made no effort to               1 CDO Holding Company, but also on behalf of
                                                                                         2 try to satisfy any portion of the judgment that            2 Highland CDO Opportunity Master Fund, LP, correct?
                                                                                         3 was entered against CDO Fund on behalf of UBS?             3      A Again, I delegated and entrusted it to
                                                                                         4      A I don't believe so.                                 4 Scott Ellington and his team.
                                                                                         5      Q And do you have any idea right now if               5      Q So is that a yes?
                                                                                         6  you  have any responsibility for CDO Fund, either         6      A No. I didn't know. I delegated it to
                                                                                         7 as a director, an officer, owner or anything like          7 him. I didn't -- I didn't review the signature
                                                                                         8 that?                                                      8 lines and the appropriateness of the signature
                                                                                         9      A I don't know.                                       9 lines individually or in aggregate. I trusted him
                                                                                         10     Q When was the last time you did -- you               10 to have the appropriate signature lines for what
                                                                                         11 took any actions with respect to CDO Fund?                11 he was trying to accomplish.
                                                                                         12     A Not that I can remember at this moment.             12     Q Going back to the first page here of
                                                                                         13 None that I can remember at this moment.                  13 the insurance policy, it's called the "Legal
                                                                                         14     Q When do you -- well, when do you intend             14 Liability Insurance Policy," correct?
                                                                                         15 to decide whether or not you are going to resign          15     A It appears so, yes.
                                                                                         16 from being a director of CDO Fund?                        16     Q And on the first page, 1.1 -- and I'm
                                                                                         17     A I don't know. Soon, I would imagine.                17 going to expand it so you can read it -- it says,
                                                                                         18     Q Okay. Well, please let us know if you               18 "This policy is between the insured and the
                                                                                         19 intend to resign from CDO Fund.                           19 insurer as declared in the schedule. The
                                                                                         20        Let's go back to Exhibit 1. This is                20 document, together with its schedule and any
                                                                                         21 the insurance policy. We're back on this last             21 attached endorsements, is the policy which sets
                                                                                         22 page, and you can see here there is CDO Fund that         22 out this insurance. It is a legal contract so
                                                                                         23 you signed on behalf of as one of the insureds.           23 please read all of it carefully."
                                                                                         24 Do you see that?                                          24        Do you see that?
                                                                                         25     A I'm sorry, my eyes are so bad, but                  25     A Yes.
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                                                                                                                                       Transcript of James Dondero                                55 (217 to 220)

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                                                                                         1         THE WITNESS: You know, guys, listen, I              1      Q Do you -- is he still the appointed
                                                                                         2  got to jump on this call. I will make it as                2  representative for this insurance policy, as far
                                                                                         3 quickly as possible, hopefully less than a half an          3 as you know?
                                                                                         4 hour. Okay?                                                 4      A I don't -- I don't know. I don't know
                                                                                         5         MR. CLUBOK: Okay. We'll be here at                  5 if it's been changed. He doesn't work -- Lackey
                                                                                         6 6:30. Let's go off the record.                              6 Hershman doesn't exist anymore. It merged with
                                                                                         7         THE VIDEOGRAPHER: Off the record.                   7 another firm.
                                                                                         8  6:59.                                                      8      Q What firm?
                                                                                         9         (A recess was taken.)                               9      A You know what, actually, I think I
                                                                                         10        THE VIDEOGRAPHER: On record. 7:39.                  10 misspoke. I don't think they merged. I think a
                                                                                         11 BY MR. CLUBOK:                                             11 firm called Stinson took four or five of the
                                                                                         12     Q Let's go back to Exhibit 1.                          12 partners into their firm.
                                                                                         13        Exhibit 1 was the e-mail from Isaac                 13     Q Including Paul Lackey?
                                                                                         14 Leventon   claiming privilege and attaching a copy         14     A Yes.
                                                                                         15 of this insurance policy that we have been talking         15     Q Did you fire Mr. Lackey from all the
                                                                                         16 about, correct?                                            16 representation he had of your various entities?
                                                                                         17     A Yes.                                                 17     A No, I don't -- no, I don't believe so.
                                                                                         18     Q So in 1.1 it said that because it's a                18     Q You had Mr. Lackey replaced as the
                                                                                         19 legal contract, you should "please read all of it          19 person in charge of the litigation of the UBS
                                                                                         20 carefully." Did you read all of this carefully,            20 case, correct?
                                                                                         21 ever?                                                      21     A Yes. Yeah, so we -- yes, we use
                                                                                         22     A No.                                                  22 them -- they ran into a lot of personal midlife
                                                                                         23     Q It says the "policy is between the                   23 issues, a couple of partners, and so we started
                                                                                         24 insured and the insurer as declared in the                 24 replacing them on a lot of things.
                                                                                         25 schedule." Let's go look at the schedule, which            25     Q In other words, you fired them from
                                                                                                                                                 218                                                          220
                                                                                         1 is towards the back of the document, I think right          1 most of the cases they were working on for you,
                                                                                         2 before the signature page. And the schedule for             2 correct?
                                                                                         3 the insurance policy says the insurer is Sentinel           3      A From -- yes, from a bunch of them.
                                                                                         4 Reinsurance, Limited. That was your                         4      Q And you don't know if you've appointed
                                                                                         5 understanding, correct?                                     5 another representative to replace Mr. Lackey in
                                                                                         6      A Yes.                                                 6 connection with this insurance policy?
                                                                                         7      Q And then it says the "Insured," and it               7      A I don't know.
                                                                                         8 lists three entities, "Highland CDO Opportunity             8      Q Do you see where it says "Date of
                                                                                         9 Master Fund, LP," "Highland CDO Holding Company"            9 commencement of the Period of Insurance" is
                                                                                         10 and "Highland Special Opportunities Holding                10 August 1st, 2017?
                                                                                         11 Company."                                                  11     A Yes.
                                                                                         12        Do you see that?                                    12     Q And later on it lists the payment date
                                                                                         13     A Yes.                                                 13 for the premium as August 31st, 2017, correct?
                                                                                         14     Q Does this refresh your recollection                  14     A Yes.
                                                                                         15 that there were three insureds specifically                15     Q And that's consistent with your
                                                                                         16 identified in the policy?                                  16 recollection that you were approving this policy
                                                                                         17     A Okay, yeah. I didn't know, but yeah,                 17 in approximately August of 2017, correct?
                                                                                         18 that seems to say it.                                      18     A Yes.
                                                                                         19     Q You're claiming that you never knew                  19     Q And then do you see where it says
                                                                                         20 before today that all three of those entities were         20 "Legal Action"?
                                                                                         21 listed as the insureds?                                    21     A Yes.
                                                                                         22     A Correct.                                             22     Q And it specifically identifies "UBS
                                                                                         23     Q Appointed representative is Paul                     23 Securities LLC and UBS AG, London Branch versus
                                                                                         24 Lackey. Do you see that?                                   24 Highland Capital Management, LP; Highland Special
                                                                                         25     A Yes.                                                 25 Opportunities Holding Company; Highland Financial
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                                                                                                                                     Transcript of James Dondero                                 56 (221 to 224)

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                                                                                         1 Partners, LP; Highland CDO Opportunity Master               1 understood this to be a transitional policy. That
                                                                                         2 Fund, LP; Highland Credit Opportunities CDO, LP;            2 was the original intent and how it was described
                                                                                         3 and Strand Advisors, Inc., Cause Number                     3 to me. If it ended up taking twists and turns and
                                                                                         4 650097/2009."                                               4 being more focused, I wasn't aware of. And then I
                                                                                         5          Do you see that?                                   5 see it's only UBS on the schedule -- on the known
                                                                                         6      A Yes.                                                 6 schedule addendum here. But I haven't seen this
                                                                                         7      Q That's the only legal action identified              7 before. I haven't looked through it. We haven't
                                                                                         8  in this schedule to this insurance policy,                 8 gone through the other pages. Whether or not it
                                                                                         9 correct?                                                    9 references other litigation or tax -- potential
                                                                                         10     A The only one identified on this page,                10 tax or other litigation stuff, I don't know. So I
                                                                                         11 yes.                                                       11 can't -- I can't say that this is the only thing
                                                                                         12     Q Well, the previous page -- I'll go to                12 it represents. I don't know.
                                                                                         13 the previous page so you can see it. The previous          13     Q Right. But as you sit here today, you
                                                                                         14 page was page 16 of 16 that had a blank signature          14 have no basis to say that this policy is directed
                                                                                         15 page after the end of the policy terms. Do you             15 at anything other than UBS other than your pure
                                                                                         16 see that?                                                  16 speculation or wish, correct?
                                                                                         17     A Yep.                                                 17     A Well, as it was described to me, but
                                                                                         18     Q And then there is the schedule, and                  18 also, we haven't gone over the rest of the
                                                                                         19 then the next page after the schedule is the               19 document. And just maybe this was the only action
                                                                                         20 signed signature page. Do you see that?                    20 that was known at the time. I -- I --
                                                                                         21     A Yep.                                                 21     Q Right. And --
                                                                                         22     Q Okay. So are you aware of any other                  22     A If you want to ask me about the four
                                                                                         23 schedule to this policy other than the one that            23 corners of this document, it says what it says,
                                                                                         24 identifies only the UBS litigation as the legal            24 and you're right, it says -- that's the only legal
                                                                                         25 action?                                                    25 action it says, but I can't -- I can't comment on
                                                                                                                                                 222                                                       224
                                                                                         1      A I'm not aware of anything else.                      1 the rest of the policy.
                                                                                         2      Q And it specifically says the opponent                2      Q That wasn't my question, to ask you to
                                                                                         3 is UBS Securities LLC and UBS AG, London Branch,            3 comment. We're going to go through the policy,
                                                                                         4 right?                                                      4 but that's not what I asked you. So please listen
                                                                                         5      A Yes.                                                 5 carefully to my question.
                                                                                         6      Q It says the limit of indemnity is                    6         As you sit here right now, you have no
                                                                                         7 $100 million in the aggregate, correct?                     7 basis to say that this policy is directed at
                                                                                         8      A Yes.                                                 8 anything other than the UBS litigation other than
                                                                                         9      Q And you had remembered it was a                      9 pure speculation or a wish on your part, correct?
                                                                                         10 $100 million insurance policy, correct?                    10        MR. TAYLOR: Objection. Misstates his
                                                                                         11     A Yes.                                                 11 prior testimony.
                                                                                         12     Q Then it says the premium is                          12     A Yeah, I wouldn't say a wish. That's
                                                                                         13 $25 million, right?                                        13 how it was described to me historically. That's
                                                                                         14     A Yes.                                                 14 what I remember.
                                                                                         15     Q Now, fair to say this policy is                      15     Q Described to you by Scott Ellington.
                                                                                         16 directed at potential liability in connection with         16     A Yes.
                                                                                         17 the UBS litigation that's been pending in New York         17     Q And you're saying that Scott Ellington
                                                                                         18 since 2009, correct?                                       18 said that this policy would cover something beyond
                                                                                         19     A I'm sorry, repeat that, please.                      19 the UBS litigation, correct?
                                                                                         20     Q Fair to say that this insurance policy               20     A Yes, I believe that was -- yes, that's
                                                                                         21 is specifically directed at potential liability            21 what I remember, and I think that was the original
                                                                                         22 arising out of the UBS litigation that's been              22 intent.
                                                                                         23 pending in New York since 2009?                            23     Q Yeah, but when you signed it, did
                                                                                         24     A I'm going to stay consistent with my                 24 you --
                                                                                         25 testimony that I have said all day that I                  25        MR. CLUBOK: Strike that.
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                                                                                                                                      Transcript of James Dondero                                   57 (225 to 228)

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                                                                                         1       Q You think it was the original intent,               1          Do you see that?
                                                                                         2  in fact, for the policy to not even have a main            2       A    Yes.
                                                                                         3 purpose as the UBS litigation but to have                   3       Q Now, do you know enough to have a
                                                                                         4 something else, as you previously have stated,              4 general sense of what that means to you? Is that
                                                                                         5 right?                                                      5 gibberish to you or do you have an
                                                                                         6       A Yeah, like I said, to provide                       6 understanding --
                                                                                         7 transition and windup for the HFP funds and                 7       A I mean, I think what it's -- I -- it's
                                                                                         8 subsidiaries.                                               8  not   gibberish, but what it's really saying, I
                                                                                         9       Q Yeah, but as you sit here today, other              9 think, is there's offsets for legal fees, there's
                                                                                         10 than what Mr. Ellington supposedly told you, you           10 offsets for other expenses and other indemnities
                                                                                         11 have no basis to support your statement that this          11 or assets -- I -- yeah, you know what, I don't
                                                                                         12 policy was directed at anything other than the UBS         12 understand. I would need -- I would need an
                                                                                         13 litigation and potential liability related                 13 actuary or whoever decides these things to explain
                                                                                         14 thereto, correct?                                          14 it to me.
                                                                                         15         MR. TAYLOR: Objection to the form of               15      Q Okay. So then we move on. 1.32 just
                                                                                         16 the question.                                              16 says that there is additional -- whoops,
                                                                                         17      A I don't have other knowledge of other               17 "Additional clauses set out terms, exclusions or
                                                                                         18 cases addressed by this insurance.                         18 limitations that may apply to more than one
                                                                                         19      Q Okay. And we're going to go to the                  19 insured section." And it says, "The following
                                                                                         20 first page again of the policy, and picking up             20 general terms apply to each insured section." And
                                                                                         21 where we left off, we now know the policy is               21 it lists general exclusions and limitations,
                                                                                         22 between the insured and the insurer as declared in         22 duties, general terms, and general definitions.
                                                                                         23 the schedule, and that -- we've already covered            23         Then in the next section, sorry, it
                                                                                         24 what the schedule says, correct?                           24 says the "Policy period and premium." It says,
                                                                                         25      A Yep.                                                25 "The policy will provide insurance for a period of
                                                                                                                                                 226                                                           228
                                                                                         1      Q So then it says words in bold have                   1 insurance provided the premium and other charges
                                                                                         2 specific meanings. Then it says the "Policy                 2 are paid." And the premium is $25 million,
                                                                                         3 Structure," and I'm going to make it a little bit           3 correct?
                                                                                         4 bigger here.                                                4      A That's what it said on the schedule,
                                                                                         5         It says, "Each insured section sets out             5 yes.
                                                                                         6  the scope   of the main coverage and the                   6      Q Okay. We're going to skip down to
                                                                                         7 circumstances in which the insurer's liability to           7 "Insured section," where it says, "Legal
                                                                                         8 the insured is limited or may be excluded.                  8 liability," and under "Insured section - Legal
                                                                                         9 Further, each insured section," and that's --               9 liability," it says, "The insurer agrees to
                                                                                         10 "insured section" is in bold, "sets out other              10 indemnify the insured in respect of any legal
                                                                                         11 terms and conditions relevant to that insured              11 liability occurring during the period of insurance
                                                                                         12 section. The cover provided by each insured                12 up to and including but not exceeding the limit of
                                                                                         13 section is only operative if a limit of indemnity          13 indemnity provided that either the Court (or any
                                                                                         14 is shown in the schedule. Where the limit of               14 appellate court to which the Court's judgment in
                                                                                         15 indemnity in respect of any item in the schedule           15 the legal action is appealed) makes an order of
                                                                                         16 is shown as 'n/a,' 'not applicable' or 'not                16 liability relating to the legal action against the
                                                                                         17 insured,' then no cover applies for that item.             17 insured; or the legal action is (with the prior
                                                                                         18 Where the insured comprises more than one person,          18 written agreement of the insured, the appointed
                                                                                         19 the limit of indemnity for all claims made by all          19 representative and the insurer) settled on terms
                                                                                         20 persons comprising the insured shall apply, but as         20 that provide for payment by the insured to the
                                                                                         21 there is no sublimit of indemnity in relation to           21 opponent."
                                                                                         22 each individual person, one or more of those               22         Do you see that?
                                                                                         23 persons will not receive payment of a claim if the         23     A    Yes.
                                                                                         24 limit of indemnity has already been met as a               24     Q And when it talks about the legal
                                                                                         25 result of the payment of other claims."                    25 action, that's a -- "legal action" is a bold
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                                                                                         1 phrase, correct?                                            1 make sure it's a bona fide claim.
                                                                                         2      A Yes.                                                 2      Q When you authorized this policy, did
                                                                                         3      Q And on the schedule that we looked at                3 you expect that it could be difficult to collect
                                                                                         4 before, which I'm going to skip back to, the legal          4 under the terms of the policy, given what you have
                                                                                         5 action lists the UBS legal action and nothing               5 said about insurance companies?
                                                                                         6 else, correct?                                              6      A I don't remember having any thoughts on
                                                                                         7      A Yes.                                                 7 that subject.
                                                                                         8      Q So, do you know if a claim has ever                  8      Q How much total legal fees have been
                                                                                         9 been made under this policy?                                9 paid out pursuant to this policy?
                                                                                         10     A I have no idea.                                      10     A I have no idea.
                                                                                         11     Q Do you know if there has been any                    11        MR. CLUBOK: We're going to turn to
                                                                                         12 payments authorized under this policy?                     12 what's been -- what's behind Tab number 3, and I
                                                                                         13     A I have no idea.                                      13 believe it is Exhibit number --
                                                                                         14     Q You say you have no idea. Isn't it                   14        REMOTE TECH: That would be 31.
                                                                                         15 true you have authorized payments under this               15        MR. CLUBOK: 31. Thank you.
                                                                                         16 policy before?                                             16        (Deposition Exhibit 31 marked for
                                                                                         17     A I'm willing to be refreshed. Do you                  17 identification.)
                                                                                         18 mean payment of legal fees or -- I'm willing to be         18 Q We are going to turn to Exhibit 31,
                                                                                         19 refreshed.                                                 19 which is a letter from McKool Smith dated
                                                                                         20     Q Yeah, have you authorized payment of                 20 October 19th, 2018, from Gary Cruciani to Jim
                                                                                         21 legal fees pursuant to this policy?                        21 Dondero.
                                                                                         22     A I don't remember. I mean, it sounds                  22        Now, do you -- you recall the UBS trial
                                                                                         23 logical, but I don't remember.                             23 occurred in late summer of 20- -- or in the summer
                                                                                         24     Q And you have no idea if a claim has                  24 of 2018, correct?
                                                                                         25 ever been made under this policy?                          25     A Okay.
                                                                                                                                                 230                                                           232
                                                                                         1      A I have no idea.                                      1      Q Did you pay attention to the trial when
                                                                                         2      Q You know that this policy on its face                2 it was going on?
                                                                                         3 applies to legal liability in connection with the           3      A No.
                                                                                         4 UBS litigation in New York, correct?                        4      Q Did you ever get a report of how the
                                                                                         5      A Generally, I guess, or maybe that's                  5 trial went after it was concluded?
                                                                                         6  what  you mean by "on its face." But whether and           6      A Not that I remember.
                                                                                         7 how a claim is paid or whether it's bona fide, you          7      Q But you got a report when the decision
                                                                                         8 know, there's a whole cottage industry that                 8 was handed down by the judge awarding over a
                                                                                         9 develops up around that. We --                              9 billion dollars, including interest, correct?
                                                                                         10     Q Have you made any -- oh, sorry. You                  10     A You mean the more recent case? Is that
                                                                                         11 can continue.                                              11 what you're -- the 2020 case?
                                                                                         12     A No, I was just going to say we've tried              12     Q It was in the end of 2019, I believe.
                                                                                         13 to collect on insurance before too and it's not            13 In November of 2019 there was a decision issued in
                                                                                         14 easy.                                                      14 that case, right after you had gone into
                                                                                         15     Q Insurance companies don't make it easy               15 bankruptcy, a few weeks later, in which a decision
                                                                                         16 sometimes, correct?                                        16 was handed down awarding over a billion dollars,
                                                                                         17     A That's right.                                        17 including interest.
                                                                                         18     Q And is that Sentinel Re's policy, to                 18        Do you remember that?
                                                                                         19 not make it easy for someone to collect on a               19     A Yes.
                                                                                         20 premium -- on a policy?                                    20     Q And before that decision was handed
                                                                                         21       MR. TAYLOR: Objection to the form of                 21 down but after the case was tried, so when people
                                                                                         22 the question.                                              22 didn't know what the result was, Mr. Cruciani
                                                                                         23     A No, I'm not making a comment. I'm just               23 wrote to you and asked you to pay the legal fees
                                                                                         24 saying, especially on a large policy, the                  24 that had been incurred from trying the case. Do
                                                                                         25 insurance company, I think, is always going to             25 you remember that?
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                                                                                         1       A I do not remember, but refresh me. I'm              1      Q Do you remember negotiating this
                                                                                         2  okay.                                                      2  payment  schedule with Mr. Cruciani?
                                                                                         3       Q Okay. So I'm showing you Exhibit 31,                3      A Not specifically.
                                                                                         4 and it lists a number of different actions. It              4      Q Mr. Cruciani was a lawyer that you
                                                                                         5 says, "Re: Redeemer Committee versus Highland               5 hired to help you in these five cases that he
                                                                                         6 Capital, the Delaware Action."                              6 identifies in the Re line in Exhibit 31, right?
                                                                                         7       A Yeah.                                               7      A Yes.
                                                                                         8       Q Then "Redeemer Committee versus                     8      Q And did you think Mr. Cruciani did a
                                                                                         9 Highland Capital, the Crusader Arbitration." Then           9 good job for you?
                                                                                         10 it lists the UBS case, which they call "the UBS            10     A It depends matter by matter. I think
                                                                                         11 Case," in New York. Then they list the case of             11 they know they were weak on the Acis matter, but
                                                                                         12 Highland versus Acis, which they call "the                 12 that might have been Jernigan related.
                                                                                         13 Terry/162 case" -- or "Terry/162nd Case." And              13     Q How about the UBS case?
                                                                                         14 then they list the case against Alvarez and                14     A I don't have an opinion. I don't
                                                                                         15 Marsal, which they call "the A&M Case."                    15 remember.
                                                                                         16         Do you see that?                                   16     Q Okay. But you -- when Mr. Cruciani
                                                                                         17      A Yes.                                                17 sent you this letter, the schedule had already
                                                                                         18      Q The letter that's been marked as                    18 been agreed upon and he is just sending this to
                                                                                         19 Exhibit 31 from Gary Cruciani of McKool Smith              19 confirm it, correct?
                                                                                         20 references five separate actions.                          20     A That's right. It would have been
                                                                                         21         Do you see that?                                   21 negotiated by Ellington and the legal team. I
                                                                                         22      A Yes.                                                22 didn't -- I just signed it.
                                                                                         23      Q And Mr. Cruciani says to you,                       23     Q But you signed off on this schedule
                                                                                         24 "Mr. Dondero, With regard to the fees and expenses         24 that would pay him approximately $6 million
                                                                                         25 that McKool Smith has incurred in the                      25 between October 31st, 2018 and December 31st, 2018
                                                                                                                                                 234                                                         236
                                                                                         1 above-referenced cases, and has billed to Highland          1 for those five cases that he notes at the top of
                                                                                         2 Capital Management, LP and its affiliates                   2 Exhibit 31, correct?
                                                                                         3 (collectively, 'Highland'), Highland agrees to pay          3       A Yes.
                                                                                         4 amounts according to the following schedule                 4       Q And then you -- there's a note. It
                                                                                         5 towards the balances owed by Highland. The                  5 looks like it might have been a Post-it Note that
                                                                                         6 Payment Schedule will apply toward the invoiced             6 got copied that says "50/50 Sentinel." Do you see
                                                                                         7 balances but shall not be in satisfaction of the            7 that?
                                                                                         8 entire amounts. Payments made pursuant to the               8       A Yes.
                                                                                         9 Payment Schedule will be without waiver or                  9       Q Is that your handwriting?
                                                                                         10 prejudice to the entitlement to payment on                 10      A No.
                                                                                         11 remaining unpaid balances" and Highland's right to         11      Q Do you know whose it is?
                                                                                         12 contest it, et cetera.                                     12      A No.
                                                                                         13         And then there is a payment schedule               13      Q Did you ever direct Sentinel to take
                                                                                         14 which says that Highland will pay McKool Smith             14 responsibility for some of this payment schedule
                                                                                         15 $2 million by October 31st, 2018, another                  15 that you agreed to in Exhibit 31 with
                                                                                         16 $2 million by November 30th, 2018, and a third             16 Mr. Cruciani?
                                                                                         17 $2 million by December 31st, 2018.                         17      A No. I wouldn't have been the one that
                                                                                         18         Do you see that?                                   18 decided legal fee allocations.
                                                                                         19      A Yes.                                                19      Q Now, how much of that $6 million was as
                                                                                         20      Q And a little bit farther down it says,              20 a result of the UBS case as opposed to all the
                                                                                         21 "Agreed on behalf of Highland Capital Management,          21 other cases? Any idea?
                                                                                         22 LP by Strand Advisors, its general partner," and           22      A No idea.
                                                                                         23 it's signed by you.                                        23      Q Any idea, rough percentage? Is it half
                                                                                         24         Do you see that?                                   24 the amount? Is it two thirds of the amount? Is
                                                                                         25      A Yes.                                                25 it --
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                                                                                                                                   Transcript of James Dondero                                       60 (237 to 240)

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                                                                                         1      A No idea.                                             1 covered by the insurance policy that we have been
                                                                                         2      Q -- 10 percent?                                       2 talking about today is the UBS case, correct?
                                                                                         3      A No idea.                                             3      A Yes.
                                                                                         4      Q Any clue?                                            4      Q Do you know if Isaac Leventon had
                                                                                         5      A No idea.                                             5 authority to authorize payments from Sentinel Re
                                                                                         6      Q Did you ever make any effort to find                 6 to pay for legal fees or costs associated with the
                                                                                         7 out?                                                        7 UBS litigation?
                                                                                         8      A No. It's not -- it wasn't my job to                  8      A I don't know.
                                                                                         9 allocate legal fees between, you know, items.               9      Q Would Scott Ellington know? Or would
                                                                                         10     Q Do you know if Sentinel ever paid for                10 you expect Scott Ellington to know, I should say?
                                                                                         11 part of the legal fees that McKool Smith agreed to         11     A Yes.
                                                                                         12 under this payment schedule in Exhibit 31?                 12     Q Would J.P. Sevilla have anything to do
                                                                                         13     A If it was allocated, it would have                   13 with arranging for Sentinel Re to pay legal fees
                                                                                         14 paid.  I know McKool -- I know we did pay McKool           14 or expenses associated with the UBS litigation, as
                                                                                         15 according to that schedule.                                15 far as you know?
                                                                                         16     Q What do you mean, "if it was                         16     A I don't know.
                                                                                         17 allocated"? What does that mean?                           17     Q Would you expect Scott Ellington to be
                                                                                         18     A Well, I'm just saying whoever did the                18 aware of whether or not Isaac Leventon and J.P.
                                                                                         19 accounting in legal or accounting, if they said            19 Sevilla had that authority?
                                                                                         20 X percent was going to be paid by one entity and           20     A Yes, I believe Scott would know.
                                                                                         21 Y percent was going to get paid by another and             21     Q Do you know your legal team stayed at
                                                                                         22 Z percent was going to get paid by another, they           22 the Four Seasons for the UBS litigation?
                                                                                         23 would have kept to that schedule. And I know               23     A No, I did not know that.
                                                                                         24 McKool Smith was paid the monies outlined here.            24     Q Did they deserve to stay at the Four
                                                                                         25     Q And who would have had the respons- --               25 Seasons?
                                                                                                                                                 238                                                           240
                                                                                         1 who would have had the authority to tell Sentinel           1      A You know, not based on results to date.
                                                                                         2 they've got to pay a certain allocation of these            2      Q Okay. Let's look at the document
                                                                                         3 fees?                                                       3 behind Exhibit -- I'm sorry, behind Tab 12, which
                                                                                         4      A Whoever was doing legal fee expense                  4 has previously been marked as Exhibit 2.
                                                                                         5 allocations at the time.                                    5          MR. TAYLOR: While we're waiting for
                                                                                         6      Q Who was that?                                        6  that to pull up, can I get a time check, please?
                                                                                         7      A It would have been somebody in -- it                 7 And I'm going to have, like, five minutes of
                                                                                         8 would have either been Ellington or somebody on             8 questions at the end.
                                                                                         9 his team.                                                   9          THE VIDEOGRAPHER: Yes, sir. We're at
                                                                                         10     Q The policy, though -- of these five                  10 5 hours and 9 minutes.
                                                                                         11 actions that are identified here, the only one             11         MR. TAYLOR: Thank you.
                                                                                         12 that's covered by the policy is the UBS case,              12         MR. CLUBOK: Plenty of time.
                                                                                         13 correct?                                                   13         THE WITNESS: You heard me?
                                                                                         14         MR. TAYLOR: Objection to the form of               14         MR. CLUBOK: For what it's worth, I
                                                                                         15 the question.                                              15 don't think I'll use all that time, Jim, but we'll
                                                                                         16     A Okay. Yeah, I -- yes, I can see UBS                  16 keep plugging away. We're making good headway
                                                                                         17 only referenced in the third of the five.                  17 now. Although I reserve the right to respond and
                                                                                         18     Q My question is, is it the case that --               18 ask more questions after I hear what Clay has to
                                                                                         19         MR. CLUBOK: Strike that.                           19 say. So I'll save a little bit of time for that.
                                                                                         20     Q There are five matters listed here on                20     Q This is -- I'm looking at what's been
                                                                                         21 Exhibit 31 that Mr. Cruciani is asking for legal           21 marked as Exhibit 2. And I'm going to show you
                                                                                         22 fees and you're agreeing to pay a total of                 22 first the signature page. And do you see where it
                                                                                         23 $6 million to, correct?                                    23 says "Seller, Highland CDO Opportunity Master
                                                                                         24     A Right.                                               24 Fund, by," several entities and ultimately signed
                                                                                         25     Q And of those five, the only one that is              25 by you as president of Strand Advisors?
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                                                                                         1      A Yep.                                                 1 Reinsurance and each of Highland CDO Opportunity
                                                                                         2  Q    Is that your signature?                               2 Master Fund, LP; Highland CDO Holding Company and
                                                                                         3      A Yep.                                                 3 Highland Special Opportunities Holding Company
                                                                                         4      Q And did you have authority to sign on                4 (together, 'Sellers')."
                                                                                         5 behalf of those entities that are listed there              5          Do you see that?
                                                                                         6 under "Seller"?                                             6      A Yes.
                                                                                         7      A I believe so.                                        7      Q Now, that's what it says up there. And
                                                                                         8      Q And same thing with -- is that also                  8  then  it says that "Sellers are each a party in a
                                                                                         9 your signature for Highland CDO Opportunity Fund,           9 lawsuit styled UBS Securities LLC and UBS AG,
                                                                                         10 Limited and Highland CDO Holding Company on this           10 London Branch versus Highland Capital Management,"
                                                                                         11 same document?                                             11 et cetera. And that's defined as the "Lawsuit."
                                                                                         12     A Yes.                                                 12 Do you see that?
                                                                                         13     Q And you had authority to sign on behalf              13     A Yes.
                                                                                         14 of those  entities as well?                                14     Q And it says, "Whereas, Sellers desire
                                                                                         15     A I believe so.                                        15 to purchase a Legal Liability Insurance Policy
                                                                                         16     Q And then it's also got Highland Special              16 relating to Sellers' potential liability in the
                                                                                         17 Opportunities Holding Company. Same thing? You             17 Lawsuit" -- capital L, Lawsuit -- "in form
                                                                                         18 had authority to sign on behalf of that entity at          18 substantially as set forth in Exhibit A hereto
                                                                                         19 the time?                                                  19 (the 'Policy')."
                                                                                         20     A I believe so.                                        20         Do you see that?
                                                                                         21     Q And then it continues with some other                21     A Yep.
                                                                                         22 entities on this document, including Highland              22     Q Now, does that mention anything about
                                                                                         23 Financial Corp. Do you see that?                           23 any other litigation?
                                                                                         24     A Yep.                                                 24     A No.
                                                                                         25     Q Did you have authority to sign on                    25     Q Does it mention anything about
                                                                                                                                                 242                                                           244
                                                                                         1 behalf of Highland Financial Corp. at this time?            1 transition services of any kind?
                                                                                         2      A I believe so.                                        2      A No.
                                                                                         3      Q And same thing with Highland Financial               3      Q Does it mention anything about dealing
                                                                                         4 Partnership, or HFP?                                        4 with regulators or dealing with the IRS or dealing
                                                                                         5      A I believe so.                                        5 with taxes or anything else like that?
                                                                                         6      Q So you signed on behalf of all these                 6      A No.
                                                                                         7 different entities as the seller for this purchase          7      Q The only reason given for purchasing
                                                                                         8 agreement. Do you see that?                                 8 the legal liability insurance policy is related to
                                                                                         9      A Yes.                                                 9 the Highland affiliated entities' potential
                                                                                         10     Q And then the purchaser was an entity --              10 liability in the UBS lawsuit, correct?
                                                                                         11 was Sentinel Reinsurance. Do you see that?                 11     A Yes.
                                                                                         12     A Yes.                                                 12     Q And the purchaser under this agreement
                                                                                         13     Q And it was signed by Andrew Dean,                    13 is an insurance company that is able to provide
                                                                                         14 right?                                                     14 the sellers insurance coverage pursuant to the
                                                                                         15     A Yes.                                                 15 terms of the requested policy. Do you see that?
                                                                                         16     Q Did you ever talk to Andrew Dean about               16     A Yes.
                                                                                         17 this agreement?                                            17     Q And the policy you understand is the
                                                                                         18     A No.                                                  18 one we have been talking about today, correct?
                                                                                         19     Q Have you ever met Andrew Dean?                       19     A Yes.
                                                                                         20     A I don't believe so.                                  20     Q And then it talks about a payment of
                                                                                         21     Q Have you ever spoken with Andrew Dean?               21 premium, and it says the "Purchaser," which is
                                                                                         22     A Not that I can recall.                               22 Sentinel Reinsurance, "agrees to accept the assets
                                                                                         23     Q Going back to the beginning, this                    23 listed in Schedule A as 100 percent payment of the
                                                                                         24 purchase agreement was dated August 7th, 2017, and         24 Premium" -- capital P -- "including any as yet
                                                                                         25 it was "entered into by and among Sentinel                 25 unpaid or contingent financial proceeds or other
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                                                                                         1 benefits related thereto."                                  1         MR. CLUBOK: Or strike that.
                                                                                         2         Do you see that?                                    2      Q    The Aberdeen asset. Do you recognize
                                                                                         3      A Yes.                                                 3 that asset?
                                                                                         4      Q And, remember, the premium was supposed              4      A I just -- I recognize the name. It's
                                                                                         5 to be $25 million, correct?                                 5 an old CLO.
                                                                                         6      A Yes.                                                 6      Q Do you know what the fair market value
                                                                                         7      Q Then it says this is the entire                      7 was at the time it was transferred as part of
                                                                                         8  agreement.   It says you can only amend it in              8 the --
                                                                                         9 writing. It says you can execute in counterparts.           9      A No.
                                                                                         10 It says the governing law is the Cayman Islands.           10     Q -- sales option, the $25 million
                                                                                         11 And then it says, "Further Assurances," the                11 premium for the insurance policy?
                                                                                         12 parties agree to do the other things necessary to          12     A No.
                                                                                         13 execute this agreement. Do you see that?                   13     Q Did you make any effort to figure out
                                                                                         14     A Yes.                                                 14 the fair market value of the Aberdeen asset at the
                                                                                         15     Q And before you signed on behalf of all               15 time it was transferred?
                                                                                         16 these entities, did you make any effort to figure          16     A No.
                                                                                         17 out what you were signing?                                 17     Q How about the Southfork CLO? Same
                                                                                         18     A No, not beyond that. It was all tied                 18 answer?
                                                                                         19 together, I guess.                                         19     A Yes.
                                                                                         20     Q All tied together with the insurance                 20     Q Same answer for the -- well, there's
                                                                                         21 policy issuance, correct?                                  21 another Aberdeen asset. It looks like it's the
                                                                                         22     A Yes.                                                 22 same one, although it's a different ISIN number.
                                                                                         23     Q And it referenced a schedule of what                 23 What does the ISIN number mean? Is that like a
                                                                                         24 was being purchased, and I'm going to scroll down          24 CUSIP number?
                                                                                         25 in the document to the page that's entitled                25     A Yeah, it's an identification number for
                                                                                                                                                 246                                                           248
                                                                                         1 "Schedule A" of Exhibit 2, and this is -- it will           1 things that aren't CUSIP eligible, I think.
                                                                                         2 be probably a little bit hard to read. I'm going            2      Q If there's different ISINs for the two
                                                                                         3 to scroll down part of the time so we can keep it           3 different Aberdeens, does that mean they're
                                                                                         4 large enough for you to read it on the screen.              4 different tranches or something? Or why would
                                                                                         5 But I can change the size if you want to see the            5 there be different ISINs for the two different
                                                                                         6 whole thing. I'll change the size briefly so you            6 Aberdeen assets?
                                                                                         7 can see the whole page and then I'll make it                7      A That's what I would guess, but I don't
                                                                                         8 smaller so you can -- or make it bigger so you can          8 know.
                                                                                         9 read it more carefully on the screen.                       9      Q Okay. Do you -- so I'm going to go
                                                                                         10         So Schedule A has two pages, and it                10 from the assets from Aberdeen down to Greenbriar.
                                                                                         11 lists a series of assets. Do you see that?                 11 So the first six assets listed here, fair to say
                                                                                         12     A Yes.                                                 12 you have no idea what their fair market values
                                                                                         13     Q And these were the assets that this                  13 were at the time of the transfer?
                                                                                         14 purchase agreement specifically said are being             14     A Correct.
                                                                                         15 transferred from the various Highland affiliates           15     Q And you made no effort to find that
                                                                                         16 as satisfaction of the $25 million premium for the         16 out, correct?
                                                                                         17 insurance policy, correct?                                 17     A Correct.
                                                                                         18     A Yes. Yes.                                            18     Q And then there's two line entries for
                                                                                         19     Q Let me ask you about some of these                   19 Highland Financial Partners LP and Highland
                                                                                         20 assets. Do you know what "Aberdeen LN FDG LTD              20 Financial Partners LP NPV. Do you know what that
                                                                                         21 PFD" is?                                                   21 refers to?
                                                                                         22     A Yeah, some of these are old CLO pieces.              22     A No.
                                                                                         23     Q Okay. Do you know specifically -- I                  23     Q Would those be interests in Highland
                                                                                         24 asked you about the first one, the Aberdeen                24 Financial Partners?
                                                                                         25 entity --                                                  25     A I don't know.
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                                                                                         1       Q Okay. Do you have any idea what the                 1 an entity that's now called Multi Strat, correct?
                                                                                         2  fair  market value of those interests were at that         2      A I don't know.
                                                                                         3 time?                                                       3      Q Do you know if Highland Credit
                                                                                         4       A No.                                                 4 Opportunities changed its name at some point to
                                                                                         5       Q How about Longstreet CDO or NexPoint                5 Multi Strat?
                                                                                         6 C COM? Any idea of the fair market value of those           6      A I don't know. I've heard that
                                                                                         7 assets?                                                     7 recently, but I don't know that to be true.
                                                                                         8       A Nope.                                               8      Q Well, do you know if Highland Credit
                                                                                         9       Q Pam Cap FDG LP? Does that ring a bell?              9 Opportunities ever changed its name?
                                                                                         10      A That was one of our -- that was in '98.             10     A I don't know. I mean, I'm willing to
                                                                                         11 That was one of our first large CLOs. I think              11 be educated, but I don't know.
                                                                                         12 that was 1998.                                             12     Q You've heard of the entity that I've
                                                                                         13      Q Any idea what it was worth at the time              13 shorthand called Multi Strat, right?
                                                                                         14 of  this transfer?                                         14     A Yes.
                                                                                         15      A Cents. Cents on the dollar.                         15     Q Was Multi Strat always called Multi
                                                                                         16      Q How about -- what's FRN?                            16 Strat?
                                                                                         17      A I don't know. Floating rate note, I'm               17     A I -- we tried to clean up a lot of
                                                                                         18 guessing. I don't know.                                    18 funds that were small, and, you know, we tried to
                                                                                         19      Q What's a floating rate note?                        19 aggregate assets and strategies after the '08
                                                                                         20      A Sometimes CLO tranches are referred to              20 crisis, but I don't remember all of the name
                                                                                         21 as floating rate notes.                                    21 changes.
                                                                                         22      Q Okay. Any idea what the fair market                 22     Q Okay. By the way, I should have
                                                                                         23 value of that floating rate note would have been           23 mentioned that all the assets I'm talking about
                                                                                         24 at the time of this transfer?                              24 now on Schedule A of Exhibit 2 are under a big
                                                                                         25      A I don't know which tranche it is. It                25 bold, heading, "Highland CDO Opportunity Master
                                                                                                                                                 250                                                           252
                                                                                         1 says -- is that 0 point -- I don't know. I think            1 Fund, LP." Do you see that?
                                                                                         2 it is the equity tranche, but I don't -- I don't            2      A Yes.
                                                                                         3 know.                                                       3      Q And there's other entities that have
                                                                                         4     Q How come there is no ISIN next to FRN?                4 assets, but we'll get to those in a minute. I'm
                                                                                         5     A I don't know.                                         5 just going to continue through the CDO -- Highland
                                                                                         6     Q Any idea how the value of that asset                  6 CDO Opportunity Master Fund, LP assets.
                                                                                         7 would compare with the par value?                           7          And did you know that Highland CDO
                                                                                         8     A I have no idea.                                       8 Opportunity Master Fund at one point had an
                                                                                         9     Q Tousa Inc.? Any idea about that one?                  9 interest in Highland Credit Opportunities?
                                                                                         10    A No.                                                   10     A I don't know.
                                                                                         11    Q Valhalla or Vertical? Any idea about                  11     Q Look, you -- you've offered settlements
                                                                                         12 those assets, what they were or how much they were         12 in this case that relate to interest in Multi
                                                                                         13 worth at the time of the transfer?                         13 Strat, correct?
                                                                                         14    A No idea. Those are CLOs, but I                        14     A Yeah, but that wasn't because of this.
                                                                                         15 don't -- I mean, I don't know what Vertical is.            15     Q I understand, but just to get the names
                                                                                         16 That wasn't one of our deals. Valhalla was one of          16 straight, you know that Multi Strat was once the
                                                                                         17 our old deals.                                             17 entity that -- without getting all the acronyms at
                                                                                         18    Q Was it -- did it lose value before it                 18 the end exactly right -- was loosely called
                                                                                         19 closed?                                                    19 Highland Credit Opportunities or Highland Credit
                                                                                         20    A I have no idea.                                       20 Opps, right?
                                                                                         21    Q Then we get to Highland Credit                        21     A See, that's what I don't know. I mean,
                                                                                         22 Opportunities CDO Limited Partnership Interest.            22 we have offered settlements out of Multi Strat
                                                                                         23 Do you see that?                                           23 before, but it's because of the life settlements,
                                                                                         24    A Yes.                                                  24 not because of this.
                                                                                         25    Q Now, Highland Credit Opportunities is                 25     Q No, no, but I'm saying -- I'm just
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                                                                                         1 talking about the name. You know -- you have                1 100 percent payment of the Premium," which was
                                                                                         2 recently -- you recently caused people at Highland          2 $25 million, correct?
                                                                                         3 to get you the redeemers from Multi Strat, and              3      A Yes.
                                                                                         4 fair to say that when you did that, you knew that           4      Q Okay. So going back to Schedule A, all
                                                                                         5 what is now called Multi Strat used to be called            5 of these assets together on Schedule A were to
                                                                                         6 an entity that was known as Highland Credit                 6 satisfy the $25 million premium for the insurance
                                                                                         7 Opportunities; isn't that true?                             7 policy we have been talking about today, right?
                                                                                         8      A I don't remember.                                    8      A Yes.
                                                                                         9         MR. TAYLOR: Andy, that's been asked                 9      Q And part of that was $599,000 in cash
                                                                                         10 and answered, like, five times now, in a row.              10 from Highland CDO Opportunity Master Fund, right?
                                                                                         11     Q So continuing on the Schedule A, the                 11     A Yes.
                                                                                         12 Highland CDO Opportunity Master Fund assets that           12     Q And that $599,000 in cash would have
                                                                                         13 were transferred to Sentinel Reinsurance for               13 been a liquid asset that was being transferred as
                                                                                         14 satisfaction, in part, of the $25 million premium,         14 partial payment of the premium, correct?
                                                                                         15 do you see there is an entry for "NexPoint Real            15     A Yes.
                                                                                         16 Estate Strat -Z"?                                          16     Q And how about that $2.4 million
                                                                                         17     A Yes.                                                 17 promissory note from Dugaboy Investment Trust?
                                                                                         18     Q Do you know what that's worth?                       18 Did Dugaboy pay that note, satisfy that note?
                                                                                         19     A Nope. No, I do not.                                  19     A Yes.
                                                                                         20     Q Then there's a Highland Gemini Program               20     Q So -- and Dugaboy -- do you know if
                                                                                         21 $2.4 million promissory note from the Dugaboy              21 Dugaboy is not going to make good on that note?
                                                                                         22 trust as maker and cash of 599,000.                        22     A I don't know.
                                                                                         23        Do you see that?                                    23     Q Has Dugaboy made good on that note?
                                                                                         24     A Yes.                                                 24     A I don't know.
                                                                                         25     Q Now, you know what the cash was worth.               25     Q Do you have any basis to believe that
                                                                                                                                                 254                                                           256
                                                                                         1 The cash was worth $599,999, correct?                       1 they have some excuse for not making good on that
                                                                                         2      A Yes.                                                 2 note, as you sit here today?
                                                                                         3      Q So that's not -- that would be a very                3      A I do not.
                                                                                         4 liquid asset that was held at CDO Opportunity               4      Q So you would expect that 2.4 million to
                                                                                         5 Master Fund prior to the transfer to pay for the            5 be worth $2.4 million?
                                                                                         6 premium, correct?                                           6      A I don't know. I don't know the terms
                                                                                         7      A I don't know.                                        7 of it. I don't know the -- I don't know the
                                                                                         8      Q You don't know if cash is liquid?                    8 terms, the tenor. I don't know -- I don't know.
                                                                                         9      A No, I know cash is liquid. I don't                   9      Q Okay. What's Cambridge 5 times
                                                                                         10 know if that was used to pay the premium. I don't          10 FLOATING?
                                                                                         11 know.                                                      11     A I do not know.
                                                                                         12     Q Oh. Well, this is -- what we're                      12     Q No idea what that asset refers to?
                                                                                         13 looking at here on Exhibit 2 is the purchase               13     A It's not one of our old CLOs. I don't
                                                                                         14 agreement, and it says that the "Purchaser agrees          14 know what it is.
                                                                                         15 to accept the assets listed in Schedule A hereto           15     Q Okay. And then you see there's "Cash,"
                                                                                         16 as 100 percent payment of the premium." It is the          16 and there's another 7.8 -- nearly $7.8 million in
                                                                                         17 document you signed on behalf of all of these              17 cash in addition to the 600,000 previously
                                                                                         18 different entities.                                        18 discussed, right?
                                                                                         19         Do you see that under "1. Payment of               19     A Yep. Sure.
                                                                                         20 Premium" in this purchase agreement which has been         20     Q So that's a total of about $8.4 million
                                                                                         21 marked as Exhibit 2?                                       21 in cash from CDO Opportunity Master Fund as
                                                                                         22     A Yes, I see that.                                     22 partial payment of the $25 million premium, right?
                                                                                         23     Q Okay. And it says that "Purchaser" --                23     A Yes.
                                                                                         24 that's Sentinel Reinsurance -- "agrees to accept           24     Q And that 8.4 million is completely
                                                                                         25 the assets listed in Schedule A hereto as                  25 liquid, right?
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                                                                                         1      A Yes.                                                 1 for the premium, correct?
                                                                                         2      Q So when Highland CDO Opportunity Master              2      A No, I -- Andy, I can't say that, and I
                                                                                         3 Fund had $8.4 million in cash and it gave it to             3 won't say that because we don't know what
                                                                                         4 Sentinel for about a third of the premium, was              4 outstanding bills might have been due. I mean, I
                                                                                         5 that making that 8.4 million more liquid or less            5 doubt they were 30 million of legal expenses, but
                                                                                         6 liquid?                                                     6 if we don't know what they are -- let's say they
                                                                                         7      A I --                                                 7 were 30 million of legal expenses. Then there is
                                                                                         8      Q Was CDO Opportunity Master Fund more or              8 no cash going over, right?
                                                                                         9 less liquid after this transfer of all of its               9      Q Okay. You have no idea, as you sit
                                                                                         10 assets plus $8.5 million in cash?                          10 here today, if it would -- that 30 million is a
                                                                                         11        MR. TAYLOR: Objection to the form.                  11 number you just made up out of thin air; isn't
                                                                                         12     A I -- I --                                            12 that true?
                                                                                         13     Q Yeah, sorry. To be clear, it's                       13     A Well, yeah, but you made up that
                                                                                         14 approximately   $8.4 million in cash. Was CDO              14 there's  zero legal expenses.
                                                                                         15 Opportunity Master Fund more or less liquid after          15     Q No, I haven't said that yet. And I'm
                                                                                         16 transferring all of these assets listed on                 16 not going to get into an argument with you, but
                                                                                         17 Schedule A, including the roughly $8.4 million in          17 that 30 million hypothetical legal fees is a
                                                                                         18 cash?                                                      18 number you made out of totally thin air, correct?
                                                                                         19     A I don't -- I don't know. I don't know                19     A Correct.
                                                                                         20 what  the payables -- I don't know what the legal          20     Q What, roughly, were the legal fees then
                                                                                         21 fees were that were accrued. I don't -- you don't          21 owed by CDO Fund in August of 2017?
                                                                                         22 know enough of what else is happening at the CDO           22     A I have no idea so I don't want to
                                                                                         23 Master Fund or the rest of HFP. I mean, it could           23 speculate.
                                                                                         24 have $10 million of legal expenses. I just don't           24     Q You previously said that the litigation
                                                                                         25 know.                                                      25 had been dormant for a while in August of 2017;
                                                                                                                                                 258                                                           260
                                                                                         1      Q As you sit here today, are you aware of              1 isn't that right?
                                                                                         2 any such legal expenses that CDO Fund transferred           2      A But you -- you helped refresh me that
                                                                                         3 to Sentinel Re?                                             3 it wasn't dormant and there was some significant
                                                                                         4      A No, I don't. But to the extent that we               4 legal expenses due to McKool and other people,
                                                                                         5 don't, we don't know whether the cash is spoken             5 right, so I -- I don't know if it was -- I thought
                                                                                         6 for or not.                                                 6 it had been dormant for a number of years. I was
                                                                                         7      Q Okay. By the way, the Highland CDO                   7 wrong. Like I said, I didn't refresh myself on
                                                                                         8 Opportunity Fund has another 2.3 million in cash.           8 this case before the depo so ...
                                                                                         9 Do you see that?                                            9      Q You're not aware of any legal fees that
                                                                                         10     A Yes.                                                 10 were owed as of the time of this insurance policy,
                                                                                         11     Q So now the total cash that's being                   11 as you sit here today; is that true?
                                                                                         12 transferred  to Sentinel Re is over 10 and a half          12     A I have no awareness, correct, of
                                                                                         13 million dollars, right?                                    13 whether there were zero or 30 million or
                                                                                         14     A Yes.                                                 14 10 million or 5 million.
                                                                                         15     Q So that's higher than the threshold                  15     Q Well, you have no basis -- you know
                                                                                         16 above which you said it would be material as part          16 they weren't 30 million, right?
                                                                                         17 of this transaction, correct?                              17     A I think you -- you charged UBS
                                                                                         18     A I -- obviously, this transaction                     18 45 million. I mean, they could have been. Right?
                                                                                         19 changed a lot. This transaction does not, you              19 I mean, the last time we saw -- the last time we
                                                                                         20 know, correspond with my recollection.                     20 saw Latham's bills to UBS, it was 42 or
                                                                                         21     Q Right. But you would agree that the                  21 44 million, right?
                                                                                         22 fact that there is at least 10 and a half million          22     Q You know, as you sit here today, that
                                                                                         23 dollars in cash being transferred as partial               23 you never paid your lawyers anything like
                                                                                         24 payment of a $25 million premium reflects the fact         24 $30 million for the UBS litigation; isn't that
                                                                                         25 that cash was a very material part of the payment          25 true?
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                                                                                                                                    Transcript of James Dondero                                     66 (261 to 264)

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                                                                                                                                                261                                                            263
                                                                                         1      A I don't know.                                       1 600,000, plus another $539,000, for a total of
                                                                                         2      Q Well, do you think in good faith, under             2 over $11 million just on the first page of
                                                                                         3 oath, that you paid your lawyers something like            3 Schedule A, correct?
                                                                                         4 $30 million for the UBS litigation?                        4     A Yes.
                                                                                         5      A I'm saying, Andy, I have no idea. I                 5     Q And then on the second page we can see
                                                                                         6 think there's been -- I think we've over the years         6 there is another 539,000 of cash that's being
                                                                                         7 had three or four different law firms working on           7 transferred from Highland CDO Holdings Company,
                                                                                         8 UBS. I don't know what they totaled.                       8 right?
                                                                                         9      Q Okay. Let's continue with what was                  9     A Yep.
                                                                                         10 transferred for the insurance policy pursuant to          10    Q And then there is another $300,000 in
                                                                                         11 Schedule A.                                               11 cash from Highland Special Opportunities Holding
                                                                                         12        We now have an entity called "Highland             12 Company, right?
                                                                                         13 CDO Holdings Company." Do you see that?                   13    A Yes.
                                                                                         14     A Uh-huh.                                             14    Q And there is another $80,000 in cash
                                                                                         15     Q Is that a yes?                                      15 from Highland Financial Corp.?
                                                                                         16     A Yes.                                                16    A Yep.
                                                                                         17     Q And did that entity -- that's a                     17    Q And a tax fund receivable?
                                                                                         18 subsidiary of Highland Financial Partners?                18    A Yep.
                                                                                         19     A I don't know.                                       19        THE WITNESS: Hey, Andy, I'm going to
                                                                                         20     Q Was -- okay.                                        20 have to put a break on this. I'm getting tired.
                                                                                         21        Well, you see that there's a number of             21 We can revisit tomorrow but --
                                                                                         22 assets transferred. Fair to say you have no idea          22        MR. CLUBOK: Okay. You want to revisit
                                                                                         23 about the value of "HFT Real Estate," the first           23 tomorrow, huh?
                                                                                         24 asset?                                                    24        Let's go off the record.
                                                                                         25     A Correct.                                            25        THE VIDEOGRAPHER: Off record. 8:35.
                                                                                                                                                262                                                            264
                                                                                         1      Q Or the second asset -- the NexPoint                 1         (A recess was taken.)
                                                                                         2 assets, you have no idea what the value of those           2         THE VIDEOGRAPHER: On record, 8:40.
                                                                                         3 were at the time of this transfer?                         3         MR. CLUBOK: At Mr. Dondero's request,
                                                                                         4      A Correct.                                            4 we have agreed to continue the deposition
                                                                                         5      Q Same with the -- how about the Highland             5 Wednesday morning at 8:30 Central Time, sharp.
                                                                                         6  Park  C 4.93867 asset?                                    6 Mr. Taylor has an appointment he has got to leave
                                                                                         7      A Correct.                                            7 for at about 10:15, but we only have a little less
                                                                                         8      Q What about the 25 November 51 -- or                 8 than an hour and a half left on the record of my
                                                                                         9 25NOV51 FRN? Do you know what that was worth?              9 time, and however much time Mr. Taylor has used,
                                                                                         10     A No.                                                 10 so we should be able to get that done.
                                                                                         11     Q How about a promissory note from CLO                11        But we're agreeing that we're going to
                                                                                         12 Holdco   of $32 million? Do you know what that is         12 start on  the nose at 8:30, meaning people will be
                                                                                         13 all about?                                                13 in their seats a few minutes before with all the
                                                                                         14     A Nope.                                               14 technical issues resolved so that we can get
                                                                                         15     Q Do you know if that is a note that CLO              15 started right at 8:30, correct?
                                                                                         16 Holdco is capable of paying off?                          16        MR. TAYLOR: I fully intend on being in
                                                                                         17     A I don't know. I don't know who CLO                  17 my seat then. I can't promise everything, but
                                                                                         18 Holdco is. Is that the Bermuda entity that we             18 yes.
                                                                                         19 were talking about earlier? I don't know.                 19        MR. CLUBOK: And that's correct,
                                                                                         20     Q Oh, you know what, my colleague has                 20 Mr. Dondero?
                                                                                         21 noted to me that I missed another cash asset of           21        THE WITNESS: Yes, I'll be there.
                                                                                         22 539,000 that's right here. So let's just make             22        MR. CLUBOK: And you understand that
                                                                                         23 sure we've totaled up all the cash that was               23 you  will  not speak to anybody about the substance
                                                                                         24 transferred. It looks like it was 2.3 million,            24 of this deposition between now and then,
                                                                                         25 plus 7.7, is a little over 10 million, plus about         25 correct --
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                                                                                         1         THE WITNESS: Yep.                                   1      CERTIFICATE OF REPORTER - NOTARY PUBLIC
                                                                                         2         MR. CLUBOK: -- or review any other                  2        I, ADRIENNE MIGNANO, the officer before
                                                                                         3 documents related the deposition unless we ask you          3 whom the foregoing deposition was taken, do hereby
                                                                                         4 to through your lawyer?                                     4 certify that the foregoing transcript is a true
                                                                                         5         THE WITNESS: Yep.                                   5 and correct record of the testimony given; that
                                                                                         6         MR. CLUBOK: Okay. Let's go off the                  6 said testimony was taken by me and thereafter
                                                                                         7 record.                                                     7 reduced to typewriting under my direction; that
                                                                                         8         THE VIDEOGRAPHER: The time is                       8 reading and signing was requested; and that I am
                                                                                         9 8:41 p.m. This suspends today's deposition of               9 neither counsel for, related to, nor employed by
                                                                                         10 James Dondero. We're off the record.                       10 any of the parties to this case and have no
                                                                                         11        THE COURT REPORTER: Counsel, are you                11 interest, financial or otherwise, in its outcome.
                                                                                         12 ordering a copy of the transcript?                         12       IN WITNESS WHEREOF, I have hereunto set
                                                                                         13        MS. GEORGE: Yes, we will take a rough               13 my hand and affixed my notarial seal this 13th day
                                                                                         14 and a five-day expedite for the final.                     14 of MAY, 2021.
                                                                                         15        MR. FEINSTEIN: Yes, we would like a                 15 My Commission Expires: June 2022.
                                                                                         16 copy, regular delivery, with a rough to                    16
                                                                                         17 rfeinstein@pszjlaw.com.                                    17
                                                                                         18        MR. TAYLOR: We would like a copy,                   18 ____________________________________
                                                                                         19 regular delivery, and a rough to                           19 Adrienne Mignano
                                                                                         20 clay.taylor@bondsellis.com.                                20
                                                                                         21        (Time noted: 8:42 p.m.)                             21
                                                                                         22                                                            22
                                                                                         23                                                            23
                                                                                         24                                                            24
                                                                                         25                                                            25
                                                                                                                                                 266
                                                                                         1          ACKNOWLEDGMENT OF DEPONENT
                                                                                         2
                                                                                         3            I, JAMES DONDERO, do hereby acknowledge
                                                                                         4    that I have read and examined the foregoing
                                                                                         5    testimony, and the same is a true, correct and
                                                                                         6    complete transcription of the testimony given by
                                                                                         7    me and any corrections appear on the attached
                                                                                         8    Errata sheet signed by me.
                                                                                         9
                                                                                         10   _______________________ _______________________
                                                                                         11       (Date)        (Signature)
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